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                                 Exhibit A to Sale Order

                             Asset Purchase Agreement




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            ASSET PURCHASE AGREEMENT


                      BY AND AMONG


             CASCADES HOLDING US INC.


                              and


         ORCHIDS PAPER PRODUCTS COMPANY,


ORCHIDS PAPER PRODUCTS COMPANY OF SOUTH CAROLINA


                              and


               ORCHIDS LESSOR SC, LLC




                    Dated as of July 1, 2019
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                              ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is dated as of July 1,
2019 (the “Effective Date”), by and among Cascades Holding US Inc., a Delaware corporation
(“Purchaser”), Orchids Paper Products Company, a Delaware corporation (“Orchids”), Orchids
Paper Products Company of South Carolina, a Delaware corporation (“Orchids South Carolina”)
and Orchids Lessor SC, LLC, a South Carolina limited liability company and a wholly owned
subsidiary of Orchids (“Orchids SC”, and collectively with Orchids and Orchids South Carolina
the “Sellers”). Purchaser and Sellers are collectively referred to herein as the “Parties” and
individually as a “Party”. Capitalized terms used herein and not otherwise defined have the
respective meanings set forth in ARTICLE I.

       WHEREAS, Sellers are engaged in the business of, directly or indirectly, producing bulk
tissue paper and converting and manufacturing such bulk tissue paper into consumer tissue
products for sale and distribution (the “Business”);

         WHEREAS, Sellers filed voluntary petitions for relief commencing the cases
(collectively, the “Chapter 11 Cases”) under Chapter 11 of Title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) on or about April 1, 2019 (the date on which such voluntary petitions are
filed, the “Petition Date”);

        WHEREAS, Purchaser desires to purchase and accept, and Sellers desire to sell, convey,
assign, transfer and deliver, or cause to be sold, conveyed, assigned, transferred and delivered, to
Purchaser, all of the Acquired Assets, and Purchaser is willing to assume, and Sellers desire to
assign and delegate to the Purchaser, all of the Assumed Liabilities, all in the manner and subject
to the terms and conditions set forth herein and in accordance with Sections 105, 363, and 365 of
the Bankruptcy Code, subject to Purchaser’s right to assign its rights and obligations hereunder
to one or more of its Designated Purchasers (such sale and purchase of the Acquired Assets and
such assignment and assumption of the Assumed Liabilities, the “Acquisition”);

        WHEREAS, Sellers believe, following consultation with their financial advisors and
consideration of available alternatives, that, in light of the current circumstances, a sale of certain
of Sellers’ assets as provided herein is necessary to preserve and maximize value, and is in the
best interest of Sellers, their creditors, and equity holders;

        WHEREAS, the Parties acknowledge and agree that the purchase by Purchaser of the
Acquired Assets, and the assumption by Purchaser of the Assumed Liabilities, are being made at
arm’s length and in good faith and without intent to hinder, delay, or defraud creditors of Sellers
or their Affiliates;

        WHEREAS, the execution and delivery of this Agreement and Seller’s ability to
consummate the transactions set forth in this Agreement are subject to, among other things, the
entry of the Sale Order under, inter alia, Sections 363 and 365 of the Bankruptcy Code; and

        WHEREAS, the Parties desire to consummate the proposed transactions as promptly as
practicable after the Bankruptcy Court enters the Sale Order.



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        NOW, THEREFORE, in consideration of the foregoing and the respective
representations, covenants, agreements and warranties herein contained, and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
Parties hereto agree as follows:

                                            ARTICLE I

                                    CERTAIN DEFINITIONS

       1.1    Specific Definitions. Unless otherwise defined herein, terms used herein shall
have the meanings set forth below:

          “Accounts Payable” shall have the meaning ascribed thereto in Section 2.3(c) hereof.

          “Accounts Receivable” shall have the meaning ascribed thereto in Section 2.1(c) hereof.

          “Acquired Assets” shall have the meaning ascribed thereto in Section 2.1 hereof.

          “Acquired Avoidance Actions” shall have the meaning ascribed thereto in Section 2.1(y)
hereof.

        “Acquired Owned Real Property” shall have the meaning ascribed thereto in Section
2.1(e) hereof.

          “Acquired Subsidiaries” shall have the meaning ascribed thereto in Section 2.1(a) hereof.

          “Acquisition” shall have the meaning ascribed thereto in the Recitals of this Agreement.

        “Action” means any litigation (in Law or in equity), arbitration, mediation, action,
lawsuit, proceeding, written complaint, written charge, written Claim, written demand, hearing,
investigation or like matter (whether public or private) commenced, brought, conducted, or heard
before or otherwise involving any Governmental Body, whether administrative, judicial or
arbitral in nature.

        “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or
cause the direction of the management and policies of such Person, whether through ownership
of voting securities, by Contract or otherwise.

        “Agreement” means this Asset Purchase Agreement, including all Exhibits and Schedules
hereto, as it may be further amended from time to time in accordance with its terms.

          “Allocation” shall have the meaning ascribed thereto in Section 12.12(e) hereof.

        “Alternative Transaction” means any merger, amalgamation, reorganization,
restructuring, plan of reorganization, liquidation or refinancing, or any other extraordinary


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corporate transaction directly or indirectly involving Sellers or a material portion of Sellers’
Liabilities.

        “Ancillary Documents” means any certificate, agreement, document or other instrument
(other than this Agreement) to be executed and delivered by a Party in connection with the
consummation of the transactions contemplated by this Agreement.

        “Arbitrating Accountant” means (a) a nationally recognized certified public accounting
firm jointly selected by Purchaser and Sellers that is not then engaged to perform accounting, tax
or auditing services for Sellers or Purchaser or (b) if Sellers and Purchaser are unable to agree on
an accountant, then a nationally recognized certified public accounting firm jointly selected by
Sellers’ accounting firm and Purchaser’s accounting firm.

          “Assigned Contracts” shall have the meaning ascribed thereto in Section 2.1(b).

       “Assignment and Assumption Agreement” shall have the meaning ascribed thereto in
Section 10.2(b) hereof.

       “Assignment and Assumption of Leases” shall have the meaning ascribed thereto in
Section 10.2(i).

          “Assumed Leased Real Property” shall have the meaning ascribed thereto in Section
2.1(f).

          “Assumed Liabilities” shall have the meaning ascribed thereto in Section 2.3 hereof.

          “Assumed Plans” shall have the meaning ascribed thereto in Section 7.1(f).

          “Auction” shall have the meaning ascribed to such term by the Bid Procedures Order.

          “Avoidance Actions” shall have the meaning ascribed thereto in Section 2.1(y).

      “Bankruptcy Code” shall have the meaning ascribed thereto in the Recitals of this
Agreement.

      “Bankruptcy Court” shall have the meaning ascribed thereto in the Recitals of this
Agreement.

        “Benefit Plan” means (a) all “employee benefit plans” (as defined in Section 3(3) of
ERISA), whether or not subject to ERISA and (b) any other employee benefit plans, program or
arrangement, including all employee benefit plans which are “pension plans” (including, without
limitation, as defined in Section 3(2) of ERISA), payroll practices, severance, vacation pay,
company awards, salary continuation for disability, sick leave, death benefit, hospitalization,
welfare benefit, group or individual health, dental, medical, life, insurance, fringe benefit,
deferred compensation, profit sharing, retirement, retiree medical, supplemental retirement,
bonus or other incentive compensation, stock purchase, equity-based, stock option, stock
appreciation rights, restricted stock and phantom stock arrangements or policies, employment,
termination, bonus, retention, severance, change in control, collective bargaining or other similar


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plans, programs, policies, contracts, or arrangements (whether written or unwritten), in each
case, adopted, sponsored, entered into, maintained, contributed to, or required to be contributed
to by any Seller or any ERISA Affiliate for the benefit of any current or former employee,
director, officer or independent contractor of any Seller, or under or with respect to which any
Seller or ERISA Affiliate has any Liability.

      “Bid Procedures” shall mean the bidding procedures attached as Exhibit 1 to the Bid
Procedures Order.

       “Bid Procedures Order” shall mean the Order (I) Approving Bid Procedures in
Connection with the Potential Sale of Substantially All of the Debtors’ Assets, (II) Scheduling an
Auction and a Sale Hearing, (III) Approving the Form and Manner of Notice Thereof,
(IV) Authorizing the Debtors to Enter Into the Option Agreement and the Stalking Horse
Agreement, (V) Approving Procedures for the Assumption and Assignment of Contracts and
Leases, and (VI) Granting Related Relief, dated May 20, 2019 (Docket No. 179).

       “Business” shall have the meaning ascribed thereto in the Recitals of this Agreement.

       “Business Day” shall mean any day other than a Saturday, a Sunday, or a day on which
banks in New York City, New York or Montréal, Québec are authorized or obligated by Law or
executive order to close.

        “Cash and Cash Equivalents” means all of Sellers’ cash (including petty cash and checks
received prior to the close of business on the Closing Date), checking account balances,
marketable securities, certificates of deposits, time deposits, bankers’ acceptances, commercial
paper, security entitlements, securities accounts, commodity Contracts, commodity accounts,
government securities and any other cash equivalents, whether on hand, in transit, in banks or
other financial institutions, or otherwise held, and any security, collateral or other deposits.

       “Cash Portion” shall have the meaning ascribed thereto in Section 3.1(a).

      “Chapter 11 Cases” shall have the meaning ascribed thereto in the Recitals of this
Agreement.

       “Claims” means any and all claims, charges, lawsuits, demands, suits, inquires made,
hearings, investigations, notices of violation, litigation, proceedings, arbitration, or other
disputes, whether civil, criminal, administrative or otherwise.

       “Closing” shall have the meaning ascribed thereto in Section 10.1 hereof.

       “Closing Date” means the date on which the Closing shall occur.

      “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, as
amended.

       “Code” means the United States Internal Revenue Code of 1986, as amended.

       “Confidentiality Agreement” shall have the meaning ascribed thereto in Section 6.5


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hereof.

       “Contract” means any written or oral contract, purchase order, service order, sales order,
indenture, note, bond, lease, sublease, license, understanding, instrument or other agreement,
arrangement or commitment, whether express or implied.

       “Conveyance Documents” means any and all (a) deeds with respect to the Acquired
Owned Real Property, (b) Bill(s) of Sale, (c) Assignment and Assumption Agreement(s), (d) IP
Assignment and Assumption Agreement(s) and (e) Assignment and Assumption(s) of Leases, in
each case, executed in connection herewith.

       “Creditors’ Committee” means the official committee of unsecured creditors appointed in
the Chapter 11 Cases by the Office of the United States Trustee.

          “Cure Amount” shall have the meaning ascribed thereto in Section 2.3(b) hereof.

          “Deposit” shall have the meaning ascribed thereto in Section 3.2(a) hereof.

          “Designated Purchaser” shall have the meaning ascribed thereto in Section 12.10 hereof.

          “DIP Amount” shall have the meaning ascribed thereto in Section 3.1(a)(ii) hereof.

      “DIP Facility” means Sellers’ debtor-in-possession financing facility provided for in the
DIP Order.

          “DIP Lenders” means the lenders under the DIP Facility.

      “DIP Order” means, collectively, the interim and final orders to be entered by the
Bankruptcy Court approving the DIP Credit Agreement (as defined therein).

        “Documents” means all of Sellers’ and the Acquired Subsidiaries’ files, documents,
instruments, papers, books, reports, records, tapes, microfilms, photographs, letters, budgets,
forecasts, plans, operating records, safety and environmental plans and reports, data, Permits and
Permit applications, studies and documents, Tax Returns, ledgers, journals, title policies,
customer lists, regulatory filings, operating data and plans, research material, technical
documentation (design specifications, engineering information, test results, maintenance
schedules, functional requirements, operating instructions, logic manuals, processes, flow charts,
etc.), user documentation (installation guides, user manuals, training materials, release notes,
working papers, etc.), marketing documentation (sales brochures, flyers, pamphlets, web pages,
etc.), and other similar materials, in each case, whether in electronic, paper or other form, but
excluding Sellers’ corporate charter, minute and stock record books, and corporate seal.

      “Dollars” means the currency of the United States, and all references to monetary
amounts herein shall be in Dollars unless otherwise specified herein.

          “Effective Date” shall have the meaning ascribed thereto in the Preamble hereof.

          “Employee” means an individual who, as of the applicable date, is employed by Sellers in


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connection with the Business.

          “Employee Census” shall have the meaning ascribed thereto in Section 4.14(a) hereof.

        “Encumbrance” means any lien (including a “lien” as defined in Section 101(37) of the
Bankruptcy Code), encumbrance, Claim, right, demand, charge, mortgage, deed of trust, lease,
option, pledge, security interest or similar interest, title defect, hypothecation, easement, right of
way, restrictive covenant, encroachment, right of first refusal, preemptive right, proxy, voting
trust or agreement, transfer restriction under any shareholder agreement or similar agreement,
judgment, conditional sale or other title retention agreement or other imposition, imperfection or
defect of title or restriction on transfer or use of any nature whatsoever.

         “Environmental Law” means any Regulation which is related to or otherwise imposes
liability or standards of conduct concerning discharges, releases or threatened releases of
Hazardous Materials into ambient air, water or land, or otherwise relating to the manufacture,
processing, generation, distribution, use, treatment, storage, disposal, cleanup, transport or
handling of Hazardous Materials.

        “Environmental Liabilities and Obligations” means all Liabilities arising from any
impairment, impact or damage to the environment, health or safety, arising under any, or arising
from any failure to comply with Environmental Law, including Liabilities related to: (a) the
handling, generation, treatment, recycling, transportation, storage, use, arrangement for disposal
or disposal of, or exposure to, Hazardous Materials; (b) the Release of Hazardous Materials,
including migration onto or from the Acquired Owned Real Property and Assumed Leased Real
Property; (c) any other pollution or contamination of the surface, substrata, soil, air, ground
water, surface water or marine environments; (d) any other obligations imposed under
Environmental Law including pursuant to any applicable Permits issued pursuant to under any
Environmental Law; (e) Orders, notices to comply, notices of violation, alleged non-compliance
and inspection reports with respect to any Liabilities pursuant to Environmental Law; and (f) all
obligations with respect to personal injury, property damage, wrongful death and other damages
and losses arising under applicable Environmental Law but only as a result of any of the matters
identified in clauses (a)-(e) of this definition.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and
the regulations promulgated thereunder.

       “ERISA Affiliate” means any entity which is a member of (a) a controlled group of
corporations (as defined in Section 414(b) of the Code), (b) a group of trades or businesses under
common control (as defined in Section 414(c) of the Code), (c) an affiliated service group (as
defined under Section 414(m) of the Code) or (d) any group specified in Treasury Regulations
promulgated under Section 414(o) of the Code, any of which includes or included any Seller.

          “Escrow Agent” means Kurtzman Carson Consultants, LLC.

          “Escrow Obligations” shall have the meaning ascribed thereto in Section 3.1(a)(ii)
hereof.

          “Exchange Act” means the Securities Exchange Act of 1934, as amended, and the rules


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and regulations promulgated thereunder.

       “Excluded Assets” shall have the meaning ascribed thereto in Section 2.2 hereof.

       “Excluded Liabilities” shall have the meaning ascribed thereto in Section 2.4 hereof.

        “Final Order” means an order of the Bankruptcy Court or any other court of competent
jurisdiction, in a form reasonably acceptable to Purchaser: (a) as to which the time to appeal shall
have expired and as to which no appeal shall then be pending or (b) if a timely appeal shall have
been filed or sought, either (i) no stay of the Order shall be in effect, (ii) no motion or application
for a stay of the Order shall be filed or pending or such motion or application shall have been
denied, or (iii) if such a stay shall have been granted, then (A) the stay shall have been dissolved
or (B) a final order of the district court or circuit court having jurisdiction to hear such appeal
shall have affirmed the Order and the time allowed to appeal from such affirmance or to seek
review or rehearing (other than a motion pursuant to Rule 60(b) of the Federal Rules of Civil
Procedure) thereof shall have expired and the taking or granting of any further hearing, appeal or
petition for certiorari shall not be permissible, and if a timely appeal of such district court or
circuit court Order or timely motion to seek review or rehearing of such Order shall have been
made, any appellate court having jurisdiction to hear such appeal or motion shall have affirmed
the lower court’s order upholding the Order of the Bankruptcy Court and the time allowed to
appeal from such affirmance or to seek review or rehearing thereof shall have expired and the
taking or granting of any further hearing, appeal or petition for certiorari shall not be permissible;
provided, however, that Purchaser and Sellers, each in their reasonable discretion, may treat any
Order for which a motion or application for a stay is filed or pending as a Final Order by
affirmatively agreeing to such treatment in a writing signed by Purchaser.

       “Financial Statements” shall have the meaning ascribed thereto in Section 4.17 hereof.

        “GAAP” means United States generally accepted accounting principles as in effect from
time to time.

        “Governmental Body” means any government, quasi-governmental entity, or other
governmental or regulatory body, agency or political subdivision thereof of any nature, whether
national, international, multi-national, supra-national, foreign, federal, state or local, or any
agency, branch, department, official, entity, instrumentality or authority thereof, or any court or
arbitrator (public or private) of applicable jurisdiction.

        “Guarantee” means any guarantee or other contingent liability, direct or indirect, with
respect to any Indebtedness or obligations of another Person, through a Contract or otherwise.

        “Hazardous Material” means any substance, material or waste which is regulated by any
Governmental Body, including petroleum and its by-products, asbestos, polychlorinated
biphenyls and any material, waste or substance which is defined or identified as a “hazardous
waste,” “hazardous substance,” “hazardous material,” “restricted hazardous waste,” “industrial
waste,” “solid waste,” “contaminant,” “pollutant,” “toxic waste” or “toxic substance” or words or
similar import or otherwise regulated under or subject to any provision of Environmental Law.

       “Health Care Amount” shall have the meaning ascribed thereto in Section 3.1(a)(iii)


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hereof.

      “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended, and the regulations promulgated thereunder.

          “Holdback Amount” shall have the meaning ascribed thereto in Section 3.3 hereof.

         “Indebtedness” with respect to any Person means any obligation of such Person for
borrowed money, and in any event shall include (i) any obligation incurred for all or any part of
the purchase price of property or other assets or for the cost of property or other assets
constructed or of improvements thereto, other than accounts payable included in current
liabilities and incurred in respect of property purchased in the Ordinary Course of Business,
(ii) the face amount of all letters of credit issued for the account of such Person, (iii) obligations
(whether or not such Person has assumed or become liable for the payment of such obligation)
secured by Liens, (iv) capitalized lease obligations, (v) all Guarantees of such Person, (vi) all
accrued interest, fees and charges in respect of any Indebtedness, (vii) all prepayment premiums
and penalties, and any other fees, expenses, indemnities and other amounts payable as a result of
the prepayment and/or discharge of any Indebtedness, (vii) any obligations with respect to
Transferred Employees, as of the Closing, with respect to any cash retention, transaction or other
similar compensatory payments that become payable to such Transferred Employees, including
the employer portion of any Taxes in respect of such obligations, (viii) severance and other
termination costs with respect to Employees terminated prior to the Closing Date, to the extent
such costs become obligations of Purchaser or any of its Affiliates, including the employer
portion of any Taxes in respect of any such obligations and (ix) earned and unpaid deferred
compensation obligations payable to any Transferred Employee which relates to periods of
service prior to the Closing, including the employer portion of any Taxes in respect of any such
obligations.

          “Initial Allocation” shall have the meaning ascribed thereto in Section 12.12(e) hereof.

        “Intellectual Property” means all intellectual property and proprietary rights of any kind,
including the following: (a) trademarks, service marks, trade names, slogans, logos, designs,
symbols, trade dress, internet domain names, uniform resource identifiers, rights in design, brand
names, any fictitious names, d/b/a’s or similar filings related thereto, or any variant of any of
them, and other similar designations of source or origin, together with all goodwill, registrations
and applications related to the foregoing; (b) copyrights and copyrightable subject matter
(including any registration and applications for any of the foregoing); (c) trade secrets and other
confidential or proprietary business information (including manufacturing and production
processes and techniques, research and development information, technology, intangibles,
drawings, specifications, designs, plans, proposals, technical data, financial, marketing and
business data, pricing and cost information, business and marketing plans, customer and supplier
lists and information), know how, proprietary processes, formulae, algorithms, models, industrial
property rights, and methodologies; (d) computer software, computer programs, and databases
(whether in source code, object code or other form); (e) patents (including all reissues,
divisionals, provisionals, continuations and continuations-in-part, re-examinations, renewals,
substitutions and extensions thereof), patent applications, and other patent rights and any other
Governmental Entity-issued indicia of invention ownership (including inventor’s certificates,


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petty patents and patent utility models); and (f) all rights to sue for past, present and future
infringement, misappropriation, dilution or other violation of any of the foregoing and all
remedies at law or equity associated therewith.

       “Inventory” means all inventory (including finished goods, supplies, raw materials, work
in progress and spare, replacement and component parts) related to the Business owned,
maintained or held by, stored by or on behalf of, or in transit to or from, any Seller.

       “IP Assignment and Assumption Agreement” shall have the meaning ascribed thereto in
Section 10.2(j).

       “IRS” means the United States Internal Revenue Service.

       “KERP Amount” shall have the meaning ascribed thereto in Section 3.1(a)(viii).

        “Knowledge of Sellers” or “Sellers’ Knowledge” means, with respect to any matter, the
actual knowledge, after due inquiry, of each of the individuals set forth on Schedule 1.1(a).

       “Latest Balance Sheet” shall have the meaning ascribed thereto in Section 4.17 hereof.

        “Law” means any federal, state, local, municipal, foreign or international, multinational
or other law, treaty, statute, constitution, principle of common law, resolution, ordinance, code,
edict, decree, rule, regulation, ruling or requirement issued, enacted, adopted, promulgated,
implemented or otherwise put into effect by or under the authority of any Governmental Body.

       “Lease” shall have the meaning ascribed thereto in Section 4.6(a) hereof.

       “Lease Deposits” means any security deposits held or required under any Assigned
Contract concerning any Assumed Leased Real Property.

        “Leased Real Property” means all of the real property leased, subleased, used or
occupied by Sellers or the Acquired Subsidiaries, together with all buildings, structures, fixtures
and improvements erected thereon, and any and all rights privileges, easements, licenses,
hereditaments and other appurtenances relating thereto, and used, or held for use, in connection
with the operation of the Business.

       “Leave Employee” shall have the meaning ascribed thereto in Section 7.1(a) hereof.

        “Liability” means, as to any Person, any debt, Claim, liability (including any liability that
results from, relates to or arises out of tort or any other product liability Claim), duty,
responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
penalty, fine, contribution or premium of any kind or nature whatsoever, whether known or
unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred
or asserted or when the relevant events occurred or circumstances existed.

       “Lien” means any security interest, lien, charge, mortgage, deed, assignment, pledge,
hypothecation, encumbrance, easement, restriction or interest of another Person of any kind or


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nature.

          “Manufacturers” shall have the meaning ascribed thereto in Section 4.14(n) hereof.

         “Material Adverse Effect” means any event, occurrence, fact, condition, or change that is,
or would reasonably be expected to become, individually or in the aggregate, materially adverse
to: (a) the Business, results of operations, condition (financial or otherwise), Acquired Assets or
Assumed Liabilities of Sellers and their respective Subsidiaries, taken as a whole; or (b) the
ability of Sellers to consummate the transactions contemplated hereby on a timely basis;
provided, however, that, for the purposes of clause (a), a Material Adverse Effect shall not be
deemed to include events, occurrences, facts, conditions or changes arising out of, relating to or
resulting from: (i) changes generally affecting the economy or credit, financial, or securities
markets; (ii) any outbreak or escalation of war or any act of terrorism; (iii) changes in applicable
Law; (iv) changes in GAAP; (v) Sellers’ failure to meet internal or published projections,
forecasts, or revenue or earnings predictions for any period (but, for the avoidance of doubt, not
the underlying cause(s) of any such failure to the extent such underlying cause is not otherwise
excluded from the definition of Material Adverse Effect); (vi) changes in the price or trading
volume of Orchids’ common stock; (vii) changes in political conditions; (viii) general conditions
in the industry in which Sellers and their respective Subsidiaries operate; (ix) the announcement
of the transactions contemplated by this Agreement; or (x) the commencement or pendency of
the Chapter 11 Cases; provided further, however, that any event, change, and effect referred to in
clauses (i), (ii), (iii), (iv), (vii) and (viii) immediately above shall be taken into account in
determining whether a Material Adverse Effect has occurred or would reasonably be expected to
occur to the extent that such event, change, or effect has a disproportionate effect on Sellers and
their respective Subsidiaries, taken as a whole, compared to other participants in the industries in
which Sellers and their respective Subsidiaries conduct their businesses.

          “Material Contract” shall have the meaning ascribed thereto in Section 4.12(a) hereof.

          “Material Customer” shall have the meaning ascribed thereto in Section 4.26(a) hereof.

          “Material Supplier” shall have the meaning ascribed thereto in Section 4.26(b) hereof.

       “Mexican Antitrust Act” means the Mexican Federal Law on Economic Competition of
2014, published on May 23, 2014 and effective on July 7, 2014.

       “Mexican Antitrust Approval” means any antitrust approval required under the Mexican
Antitrust Act, to the extent applicable.

          “NLRB Amount” shall have the meaning ascribed thereto in Section 3.1(a)(iv) hereof.

       “NMTC Arrangements” means (a) the Credit Agreement, dated as of December 29, 2015,
by and among Orchids SC, RDP 27 LLC and USBCDE SUB-CDE 146, LLC, (b) the Fund Loan
Agreement, dated as of December 29, 2015, by and between USBCDC Investment Fund 158,
LLC and Orchids and (c) the Loan Agreement, dated as of December 29, 2015, between Orchids
and U.S. Bank National Association (the “Source Loan”), in each case, together with
amendments, assignments, and other documents, instruments and agreements related thereto,
including as set forth on the structure chart set forth on Schedule 1.1(b).


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          “Objection Notice” shall have the meaning ascribed thereto in Section 12.12(e) hereof.

          “Offer Employees” shall have the meaning ascribed thereto in Section 7.1(a) hereof.

          “Orchids” shall have the meaning ascribed thereto in the Preamble hereof.

          “Orchids SC” shall have the meaning ascribed thereto in the Preamble hereof.

          “Orchids SEC Documents” shall have the meaning ascribed thereto in Section 4.22.

          “Orchids South Carolina” shall have the meaning ascribed thereto in the Preamble
hereof.

       “Order” means any decree, order, injunction, rule, judgment, consent, ruling, writ,
assessment or arbitration award of or by any court or Governmental Body.

        “Ordinary Course of Business” means, with respect to any Person, actions that (i) are
taken in the ordinary and usual course of normal day to day operations of the Business consistent
with past practice in effect prior to filing of the Chapter 11 Cases, (ii) are taken in accordance
with all applicable Laws and (iii) do not result from or arise out of and were not caused by, any
breach of Contract, breach of warranty, tort, infringement or violation of Law by such Person or
any Affiliate of such Person.

       “Organizational Documents” means, with respect to a particular entity Person, (a) if a
corporation, the articles or certificate of incorporation and bylaws, (b) if a general partnership,
the partnership agreement and any statement of partnership, (c) if a limited partnership, the
limited partnership agreement and certificate of limited partnership, (d) if a limited liability
company, the articles or certificate of organization or formation and any limited liability
company or operating agreement, (e) if another type of Person, all other charter and similar
documents adopted or filed in connection with the creation, formation or organization of the
Person, and (f) all amendments or supplements to any of the foregoing.

          “Overbid” shall have the meaning ascribed thereto in the Bid Procedures Order.

          “Owned Real Property” shall have the meaning ascribed thereto in Section 4.6(b) hereof.

          “Party” shall have the meaning ascribed thereto in the Preamble hereof.

          “Pension Plan” shall have the meaning ascribed thereto in Section 4.14(f).

        “Permits” means all notifications, licenses, permits (including environmental,
construction and operation permits), franchises, certificates, approvals, consents, waivers,
clearances, exemptions, classifications, registrations, variances, orders, tariffs, rate schedules and
other similar documents and authorizations issued by any Governmental Body.

       “Permitted Encumbrances” means (a) Encumbrances for current Taxes not yet due and
payable or being contested in good faith and for which adequate reserves have been established
in accordance with GAAP, (b) easements, rights of way, restrictive covenants, encroachments


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and similar non-monetary encumbrances against any of the Acquired Assets which do not,
individually or in the aggregate, adversely affect the operation of the Business and, in the case of
the Owned Real Property and Leased Real Property, which do not, individually or in the
aggregate, adversely affect the use or occupancy of such Owned Real Property or Leased Real
Property as it relates to the operation of the Business in the ordinary course or materially detract
from the value of the Owned Real Property or Leased Real Property, (c) applicable zoning Laws,
building codes, land use restrictions and other similar restrictions imposed by Law which are not
violated by the current use and occupancy of the Owned Real Property or Leased Real Property,
(d) materialmans’, mechanics’, artisans’, shippers’, warehousemans’ or other similar common
law or statutory liens incurred in the Ordinary Course of Business with respect to amounts that
are not yet due and payable or being contested in good faith and for which adequate reserves
have been established in accordance with GAAP, (e) solely with respect to Orchids SC, Liens or
Encumbrances under the Security Agreement, dated as of December 29, 2015, by and among
Orchids SC, RDP 27 LLC and USBCDE SUB-CDE 146, LLC, and (f) such other Encumbrances
or title exceptions as Purchaser may approve in writing in its sole discretion.

       “Person” means any corporation, partnership, joint venture, limited liability company,
organization, entity, authority or natural person.

          “Personal Property Leases” shall have the meaning ascribed thereto in Section 4.7
hereof.

          “Petition Date” shall have the meaning ascribed thereto in the Recitals of this Agreement.

          “Post-Closing Plans” shall have the meaning ascribed thereto in Section 7.1(b) hereof.

        “Pre-Closing Period” means the period commencing on the Effective Date and ending on
the earlier of the date upon which this Agreement is validly terminated pursuant to ARTICLE XI
or the Closing Date.

        “Pre-Closing Tax Period” means any taxable period (or portion thereof) ending on or
before the Closing Date and any portion of any Straddle Period ending on the Closing Date.

        “Prepetition Credit Agreements” means, collectively, (a) that certain Second Amended
and Restated Credit Agreement, dated as of June 25, 2015, among Orchids, the lenders party
thereto and U.S. Bank National Association, as LC issuer, Swing Line Lender (as defined
therein) and Prepetition Administrative Agent, together with amendments and other documents,
instruments, and agreements related thereto and (b) the Loan Agreement, dated as of December
29, 2015, between Orchids and U.S. Bank National Association, together with amendments,
assignments, and other documents, instruments and agreements related thereto.

        “Previously Omitted Contract” shall have the meaning ascribed thereto in Section
2.6(b)(i) hereof.

       “Previously Omitted Contract Designation” shall have the meaning ascribed thereto in
Section 2.6(b)(i) hereof.

          “Previously Omitted Contract Notice” shall have the meaning ascribed thereto in Section


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2.6(b)(ii) hereof.

          “Property Tax Amount” shall have the meaning ascribed thereto in Section 3.1(a)(v)
hereof.

          “Purchase Price” shall have the meaning ascribed thereto in Section 3.1(b) hereof.

          “Purchased Intellectual Property” shall have the meaning ascribed thereto in Section 4.8
hereof.

       “Purchaser” means Cascades Holding US Inc., or any Designated Purchaser thereof as
permitted under this Agreement.

          “Qualified Bids” shall have the meaning ascribed thereto in the Bid Procedures Order.

          “Real Property” shall have the meaning ascribed thereto in Section 4.6(b) hereof.

       “Regulation” means any Law, statute, regulation, ruling, rule or Order of, administered or
enforced by or on behalf of any Governmental Body.

          “Rejected Contracts” shall have the meaning ascribed thereto in Section 2.6(a)(i) hereof.

        “Release” means any release, spill, emission, leaking, pumping, disposal, discharge,
dispersal or migration into the indoor or outdoor environment or into or out of any property or
assets (including the Acquired Assets) owned or leased by any Seller as at the Closing Date,
including the movement of Hazardous Materials through or in the air, soil, surface water,
groundwater or property.

        “Remedial Action” means all actions required under any applicable Environmental Law
to (1) clean up, remove, treat or in any other way address Hazardous Materials in the
environment; (2) prevent the Release or threat of Release or minimize the further Release of
Hazardous Materials so they do not migrate or endanger or threaten to endanger public health or
welfare or the indoor or outdoor environment; (3) perform pre-remedial studies and
investigations and post-remedial monitoring and care; or (4) otherwise address or respond to a
Release of Hazardous Materials.

          “Removal Amount” shall have the meaning ascribed thereto in Section 3.1(a)(vi) hereof.

       “Representatives” means the officers, employees, legal counsel, accountants and other
authorized representatives, agents and contractors of any Person.

          “Restructuring Fee Escrow” shall have the meaning ascribed thereto in Section 3.1(a)(ii)
hereof.

        “Sale Hearing” means the hearing conducted by the Bankruptcy Court to approve the
transactions contemplated by this Agreement.

          “Sale Order” means one or more orders, acceptable to Purchaser in its sole discretion and



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Sellers in their reasonable discretion, entered by the Bankruptcy Court, as described in Section
8.7 of this Agreement. A form of sale order acceptable to Purchaser and Sellers is attached as
Exhibit E hereto.

       “Schedules” means, collectively, the various disclosure schedules hereto.

       “SEC” means the Securities and Exchange Commission.

        “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations promulgated thereunder.

       “Sellers” shall have the meaning ascribed thereto in the Preamble hereof.

       “Sellers Benefit Plans” shall have the meaning ascribed thereto in Section 7.1(b) hereof.

       “Shortfall Amount” shall have the meaning ascribed thereto in Section 3.1(a)(vii) hereof.

      “Source Loan” shall have the meaning ascribed thereto in the definition of NMTC
Arrangements.

       “Straddle Payroll” shall have the meaning ascribed thereto in Section 2.3(e).

       “Straddle Period” shall have the meaning ascribed thereto in Section 12.12(b).

        “Subsidiary” means, with respect to any Person, any corporation, limited liability
company, joint venture or partnership of which such Person (a) beneficially owns, either directly
or indirectly, more than fifty percent (50%) of (i) the total combined voting power of all classes
of voting securities of such entity, (ii) the total combined equity interests, or (iii) the capital or
profit interests, in the case of a partnership; or (b) otherwise has the power to vote or to direct the
voting of sufficient securities to elect a majority of the board of directors or similar governing
body.

       “Successful Bidder” shall mean the successful bidder at the Auction.

        “Tax Return” means any report, return or other information required to be supplied to a
taxing authority in connection with Taxes.

        “Taxes” means all taxes, charges, fees, duties, levies or other assessments, including,
without limitation, income, gross receipts, net proceeds, ad valorem, turnover, real and personal
property (tangible and intangible), sales, use, franchise, excise, value added, capital, license,
payroll, unemployment, environmental, customs duties, capital stock, disability, stamp, leasing,
lease, user, transfer, fuel, excess profits, occupational and interest equalization, windfall profits,
severance and employees’ income withholding and Social Security taxes imposed by the United
States or any other country or by any state, municipality, subdivision or instrumentality of the
United States or of any other country or by any other tax authority, and unemployment insurance
contributions, including all applicable penalties and interest, and such term shall include any
interest, penalties or additions to tax attributable to such Taxes.



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        A “third party” means any Person other than any Seller, Purchaser or any of their
respective Affiliates.

          “Title Policies” shall have the meaning ascribed thereto in Section 8.12 hereof.

          “Transfer Taxes” shall have the meaning ascribed thereto in Section 12.12(a) hereof.

          “Transferred Employees” shall have the meaning ascribed thereto in Section 7.1(a)
hereof.

       “Treasury Regulations” means the regulations promulgated under the Code by the United
States Department of the Treasury (whether in final, proposed or temporary form), as the same
may be amended from time to time.

        “WARN Act” means the Worker Adjustment and Retraining Notification Act of 1988, and
the rules and regulations promulgated thereunder, or similar Laws.

          “Wind-Down Account” shall have the meaning ascribed thereto in Section 6.20(a).

          “Wind-Down Amount” shall have the meaning ascribed thereto in Section 6.20(a).

        “Wind-Down Budget” means an amount equal to $500,000, as set forth in a budget
setting forth priority claims, administrative expenses, and other costs incurred from and after the
Closing Date to be paid from the Wind-Down Account for the post-Closing administration and
wind-down of Sellers’ estates, including, without limitation, costs relating to the confirmation of
a liquidating plan for the Sellers, as agreed to by the Sellers and the Creditors’ Committee or as
otherwise approved by Order of the Bankruptcy Court.

       1.2     Other Terms. Other terms may be defined elsewhere in the text of this Agreement
and, unless otherwise indicated, shall have such meaning through this Agreement.

          1.3    Other Definitional Provisions.

               (a)     The words “hereof,” “herein,” and “hereunder” and words of similar
import, when used in this Agreement shall refer to this Agreement as a whole and not to any
particular provision of this Agreement.

               (b)      The terms defined in the singular shall have a comparable meaning when
used in the plural, and vice versa.

                (c)    References herein to a specific Section, Subsection, Exhibit or Schedule
shall refer, respectively, to Sections, Subsections, Exhibits or Schedules of this Agreement,
unless the express context otherwise requires.

              (d)     Accounting terms which are not otherwise defined in this Agreement have
the meanings given to them under GAAP consistently applied. To the extent that the definition of
an accounting term defined in this Agreement is inconsistent with the meaning of such term
under GAAP, the definition set forth in this Agreement will control.


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              (e)     Any reference to any agreement or contract will be a reference to such
agreement or contract, as amended, modified, supplemented or waived.

               (f)     Wherever the word “include,” or “includes,” or “including” is used in this
Agreement, it shall be deemed to be followed by the words “without limitation.”

                                           ARTICLE II

          PURCHASE AND SALE; ASSUMPTION OF CERTAIN LIABILITIES

        2.1    Acquired Assets. Subject to the terms and conditions set forth in this Agreement
and, subject to approval of the Bankruptcy Court, pursuant to Sections 105, 363 and 365 of the
Bankruptcy Code, at the Closing, Sellers shall sell, assign, transfer and deliver to Purchaser, and
Purchaser shall purchase, acquire and take assignment and delivery of, the following assets
owned by Sellers on the Closing Date (wherever located), and all of Sellers’ right, title and
interest therein and thereto on the Closing Date, free and clear of all Liens, Claims and
Encumbrances of whatever kind or nature, other than Permitted Encumbrances, but not including
those assets specifically excluded in Section 2.2 hereof (all of the assets to be sold, assigned,
transferred and delivered to Purchaser hereunder shall be deemed included in the term “Acquired
Assets” as used herein):

                (a)    all of the equity interests that any Seller owns in the Subsidiaries set forth
on Schedule 2.1(a) (collectively, the “Acquired Subsidiaries”); provided, however, if Purchaser
elects to exclude the entities listed in Items 1 and 2 on Schedule 2.1(a) as Acquired Subsidiaries,
(i) Purchaser shall have the right to designate such entities as Sellers, (ii) such entities shall
execute this document by signing a joinder hereto and be designated as Sellers hereunder and
(iii) OPP Acquisition Mexico, S. de R.L. de C.V. may be designated by Purchaser an Acquired
Subsidiary hereunder.

               (b)    subject to Section 2.6, to the extent assignable pursuant to Section 365 of
the Bankruptcy Code or as otherwise provided in the Bid Procedures Order, all of the Contracts
set forth on Schedule 2.6(a) (the “Assigned Contracts”) and all rights thereunder, including the
two (2) collective bargaining agreements by and between the Debtors and the United
Steelworkers that are designated as “To Be Assumed, Not Deleted”, but excluding any Excluded
Assets;

               (c)     all trade and non-trade accounts receivable, notes receivable and
negotiable instruments of Sellers (the “Accounts Receivable”), including all intercompany
receivables, notes, rights and Claims from any Acquired Subsidiary and payable or in favor of a
Seller;

               (d)     [Reserved.];

              (e)     the Owned Real Property listed on Schedule 2.1(e) (the “Acquired Owned
Real Property”) and all fixtures, improvements and appurtenances thereto;




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               (f)    pursuant to Section 365 of the Bankruptcy Code or as otherwise provided
in the Bid Procedures Order, the Leased Real Property listed on Schedule 2.1(f) (the “Assumed
Leased Real Property”), including any security deposits or other deposits delivered in connection
therewith;

               (g)     all cash deposits of clients or customers held by Sellers as security for
receivables or obligations;

                (h)    all deposits of Sellers as security for rent, electricity, telephone, bonds or
other sureties or otherwise (except for retainers held by any professional in the Chapter 11 Cases
as of the Petition Date), and prepaid charges and expenses, including all prepaid rent and all
prepaid charges, expenses and rent under any personal property leases;

                (i)    all tangible assets of Sellers other than any Excluded Assets, including the
tangible assets of Sellers located at any Assumed Leased Real Property or at the locations listed
on Schedule 2.1(i);

              (j)    all personnel files for Transferred Employees except as prohibited by Law;
provided, however, that Sellers have the right to retain copies at Sellers’ expense to the extent
required by Law;

             (k)      any chattel paper owned or held by Sellers relating to the Business, the
Assumed Liabilities or the Acquired Assets, other than any Excluded Assets ;

                (l)    any lock boxes to which account debtors of any Seller remit payment
relating to the Business, the Assumed Liabilities or the Acquired Assets, other than any Excluded
Assets;

               (m)   all other or additional assets, properties, privileges, rights (including
prepaid expenses) and interests of Sellers relating to the Business, the Assumed Liabilities or the
Acquired Assets (other than any Excluded Assets) of every kind and description and wherever
located, whether known or unknown, fixed or unfixed, accrued, absolute, contingent or
otherwise, and whether or not specifically referred to in this Agreement;

                (n)  all Permits and all pending applications therefor, including those set forth
on Schedule 2.1(n), in each case, to the extent such Permits and pending applications therefor
are transferrable;

                (o)   all demands, allowances, prepaid expenses, deposits and refunds, express
or implied guarantees, warranties, representations, covenants, indemnities, rights, Claims,
counterclaims, defenses, credits, causes of action or rights of set off against third parties relating
to the Acquired Assets (including, for the avoidance of doubt, those arising under, or otherwise
relating to the Assigned Contracts), the Assumed Liabilities or the Business, including rights
under vendors’ and manufacturers’ warranties, indemnities, guaranties and avoidance Claims and
causes of action under the Bankruptcy Code or applicable Law that are possessed by any Seller,
but not including Avoidance Actions which are not Acquired Avoidance Actions as set forth in
Section 2.1(y);



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              (p)     the Intellectual Property owned or purported to be owned by Sellers,
including without limitation, the Purchased Intellectual Property;

                (q)    all goodwill, payment intangibles and general intangible assets and rights
of Sellers to the extent associated with the Business, the Assumed Liabilities or the Acquired
Assets, other than any Excluded Assets;

                (r)      all Inventory, including raw materials, works in process, parts,
subassemblies and finished goods, wherever located and whether or not obsolete or carried on
Sellers’ books of account, in each case, with any transferable warranty and service rights of
Sellers related thereto;

                (s)    except to the extent prohibited by Law and identified on Schedule 2.1(s),
Sellers’ and the Acquired Subsidiaries’ Documents, and the Organizational Documents of the
Acquired Subsidiaries, and, without limiting the foregoing, each of the following: financial
accounting and other books and records, Tax Returns filed by Sellers relating to the Business,
checkbooks and canceled checks, correspondence, and all customer sales, marketing, advertising,
packaging and promotional materials, files, data, software (whether written, recorded or stored
on disk, film, tape or other media, and including all computerized data), drawings, engineering
and manufacturing data and other technical information and data, and all other business and
other records, in each case, arising under or relating to the Acquired Assets, the Assumed
Liabilities or the Business, and, as to the Acquired Subsidiaries only, corporate charters, minute
and stock record books, and corporate seals, provided, however, that Sellers have the right to
retain copies of all of the foregoing at Sellers’ expense to the extent required by Law or as is
necessary to wind-down Sellers;

               (t)      to the extent transferable, all rights and obligations under or arising out of
all insurance policies (except as set forth in Section 2.2(f)) relating to the Business or any of the
Acquired Assets or Assumed Liabilities (including returns and refunds of any premiums paid, or
other amounts due back to any Seller, with respect to any cancelled insurance policies);

               (u)    all rights and obligations under non-disclosure, confidentiality, non-
competition, non-solicitation and similar arrangements with (or for the benefit of) former or
current employees and agents of Sellers or with third parties (including any non-disclosure,
confidentiality agreements or similar arrangements entered into in connection with or in
contemplation of the filing of the Chapter 11 Cases and the Auction contemplated by the Bid
Procedures Order), including, without limitation, such arrangements as are set forth on Schedule
2.1(u);

               (v)      all Assumed Plans, together with any funding arrangements relating
thereto (including but not limited to all assets, trusts, insurance policies and administration
service contracts related thereto) and all rights and obligations thereunder;

                (w)    all fixed assets and other personal property and interests related to the
Business, the Assumed Liabilities or Acquired Assets, wherever located, including all vehicles,
tools, parts and supplies, fuel, machinery, equipment, furniture, furnishing, appliances, fixtures,
office equipment and supplies, owned and licensed computer hardware and related



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documentation, stored data, communication equipment, trade fixtures and leasehold
improvements, in each case, with any freely transferable warranty and service rights of any
Seller related thereto;

               (x)  telephone, fax numbers and email addresses, as well as the right to receive
mail and other communications addressed to Sellers;

               (y)     all avoidance Claims or causes of action under Chapter 5 of the
Bankruptcy Code or applicable Law (including, without limitation, any preference or fraudulent
conveyance) and all other avoidance Claims or causes of action under any other provision of the
Bankruptcy Code or applicable Law (“Avoidance Actions”) relating to the Business, the
Acquired Assets and/or Assumed Liabilities, including avoidance Actions relating to vendors
and service providers used in the Business that are counterparties to Assigned Contracts, relating
to Assumed Liabilities (along with any Claims described in Section 2.1(o), in each case against
the Persons set forth on Schedule 2.1(o), “Acquired Avoidance Actions”);

              (z)      any Claim, right or interest of Sellers in or to any refund, rebate, credit,
abatement or recovery for Taxes together with any interest due thereon or penalty rebate arising
therefrom, except to the extent designated an Excluded Asset in Section 2.2(n);

               (aa)    to the extent transferable, all prepaid Taxes and Tax credits of Sellers;

             (bb) the Fund Loan Agreement, dated as of December 29, 2015, by and
between USBCDC Investment Fund 158, LLC and Orchids, along with the other NMTC
Arrangements, in all respects subject to the provisions of Section 8.9; and

               (cc)    all of Sellers’ bank accounts.

       2.2   Excluded Assets. Notwithstanding anything in this Agreement to the contrary, the
Acquired Assets shall not include any of the following (collectively, the “Excluded Assets”):

               (a)     all Rejected Contracts;

                (b)     all shares of capital stock or other equity interests issued by any Seller or
securities convertible into, exchangeable or exercisable for any such shares of capital stock or
other equity interests, if any, other than equity interests in the Acquired Subsidiaries;

               (c)     all Avoidance Actions that are not Acquired Avoidance Actions;

              (d)    all Claims that any Seller may have against any Person solely with respect
to any Excluded Assets or any Excluded Liabilities;

               (e)     Sellers’ rights under this Agreement, the Purchase Price hereunder, any
agreement, certificate, instrument or other document executed and delivered by Purchaser to
Sellers in connection with the transactions contemplated hereby;

                (f)     all current and prior director and officer insurance policies of Sellers and
all rights of any nature with respect thereto running in favor of any Seller, including all insurance


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recoveries thereunder and all rights to assert Claims with respect to any such insurance
recoveries and all rights to assert Claims under such insurance policies, in each case, as the same
may run in favor of any Seller and arising out of actions taking place prior to the Closing Date;

                  (g)   the properties and assets set forth on Schedule 2.2(g);

                (h)     all Benefit Plans, together with all funding arrangements relating thereto
(including but not limited to all assets, trusts, insurance policies and administration service
contracts related thereto), except for the Assumed Plans and any funding arrangements relating
thereto (including but not limited to all assets, trusts, insurance policies and administration
service contracts related thereto) and all rights and obligations thereunder;

                  (i)   all Pension Plans;

                  (j)   all assets that are removed from the Acquired Assets pursuant to
Section 6.9(b);

               (k)    Sellers’ Organizational Documents, corporate charter, minute and stock
record books, income tax returns and corporate seal; provided that Purchaser shall have the right
to reasonably request, and Sellers shall reasonably cooperate to provide, copies of any portions
of such documents solely as they relate to the Acquired Assets;

                (l)    any and all Claims, deposits, prepayments, refunds, rebates, causes of
action, rights of recovery, rights of set-off and rights of recoupment relating solely to or solely in
respect of an Excluded Asset (other than returns and refunds of any premiums paid, or other
amounts due back to any Seller, with respect to any cancelled insurance policies);

               (m)   all of Sellers’ privileges, protections, and immunities for communications,
documents, or materials, including without limitation, any attorney-client privilege, work product
doctrine, common interest, or joint defense privilege, and electronic and tangible documents
reflecting such communications and materials relating to Sellers (but not the Acquired Assets);

                  (n)   all of Sellers’ net operating loss tax attributes under applicable Law; and

                  (o)   all of Sellers’ Cash and Cash Equivalents.

       2.3     Assumed Liabilities. At the Closing, except as provided in Section 2.2 and/or in
Section 2.4 hereof, Purchaser shall assume, and agree to pay, perform, fulfill and discharge only
the following Liabilities of Sellers (and only the following Liabilities) (collectively, the
“Assumed Liabilities”):

              (a)     all Liabilities arising from the ownership and operation of the Acquired
Assets by Purchaser after the Closing Date;

              (b)     all Liabilities and obligations of any Seller under the Assigned Contracts,
including, without limitation, (i) all pre-petition cure costs required to be paid pursuant to
Section 365 of the Bankruptcy Code (or as otherwise provided in the Bid Procedures Order) in
connection with the assumption and assignment of the Assigned Contracts including the cost of


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obtaining consents in respect of the Assigned Contracts (such pre-petition cure costs are,
collectively, the “Cure Amount”); and (ii) any post-Closing Liabilities thereunder (other than
Liabilities related to or arising out of a breach, default, violation or non-compliance by any Seller
or any Affiliate thereof prior to the Closing);

               (c)    all (i) trade payables arising on or after the Petition Date, (ii) all amounts
outstanding pursuant to open purchase orders as set forth on Schedule 2.3(c) and (iii) Claims
arising under Section 503(b)(9) of the Bankruptcy Code allowed by agreement of Purchaser and
the claimant thereunder or by Final Order of the Bankruptcy Court (collectively, and in any event
excluding all Cure Amounts, the “Accounts Payable”);

             (d)     the Liabilities with respect to Transferred Employees under the terms of
Assumed Plans to the extent arising following the Closing;

               (e)    all payroll liabilities arising in the Ordinary Course of Business and
otherwise in accordance with Section 6.1 during the payroll period which includes the Closing
Date (the “Straddle Payroll”);

            (f)     the amount of Transfer Taxes required to be paid by Purchaser in
consummating this Agreement, as set forth in Section 12.12(a);

               (g)      so long as consent is obtained as contemplated by Section 8.9 below, all
obligations of Orchids under clause (c) of the NMTC Arrangements and Orchids SC under
clauses (a) and (b) of the NMTC Arrangements; and

             (h)    The payment obligation of the “Transaction Fee” described in that certain
Engagement Agreement by and between Orchids and Houlihan Lokey Capital, Inc., dated
November 13, 2018, as amended March 13, 2019.

        The assumption by Purchaser of the Assumed Liabilities shall not, in any way, enlarge
the rights of any third parties relating thereto.

        2.4     Excluded Liabilities. Notwithstanding anything in this Agreement to the contrary,
the Purchaser is not assuming, and shall not be obligated to pay, perform or otherwise discharge
in any manner or have any Liability in respect of, any Liability that is not an Assumed Liability
(collectively, the “Excluded Liabilities”), including the following:

             (a)    any and all Liabilities arising out of, relating to or otherwise in respect of
the Acquired Assets and/or Business arising prior to the Closing, other than the Assumed
Liabilities;

              (b)   any and all Liabilities of any Seller relating to or otherwise arising,
whether before, on or after the Closing, out of, or in connection with, any of the Excluded
Assets;

              (c)    any and all Liabilities of any Seller for Indebtedness, including (i) all
intercompany Indebtedness among any Seller and its Subsidiaries and (ii) all Guarantees;



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               (d)     except as set forth in Section 2.3(f), any and all (i) Liabilities of any Seller
for any Taxes (including, without limitation, Taxes payable by reason of contract, assumption,
transferee or successor Liability, operation of Law, pursuant to Treasury Regulation Section
1502-6 (or any similar provision of any state or local Law) or otherwise and any Taxes owed by
any Seller and arising in connection with the consummation of the transactions contemplated by
this Agreement) arising or related to any period(s) on or prior to the Closing Date, and (ii) Taxes
arising from or in connection with an Excluded Asset;

              (e)    any and all Liabilities of any Seller in respect of the Rejected Contracts
and any other Contracts to which such Seller is party or is otherwise bound that are not Assigned
Contracts;

                (f)      except for the Straddle Payroll and as provided in Section 2.3(d), any and
all Liabilities with respect to employment or other provision of services, compensation,
severance, benefits or payments of any nature owed to any job applicant, current or former
employee, officer, director, member, partner or independent contractor of any Seller or any
ERISA Affiliate (or any beneficiary or dependent of any such individual), whether or not
employed by Purchaser or any of its Affiliates after the Closing, that (i) arises out of or relates to
the employment, service provider or other relationship between any Seller or any ERISA
Affiliate and any such individual, including but not limited to the termination of such
relationship, (ii) arises out of or relates to any Benefit Plan, (iii) arises out of or relates to events
or conditions occurring on or before the Closing Date, or (iv) that are expressly retained by
Sellers pursuant to Sections 6.7 and 7.1; provided, however, it is agreed that this Section 2.4(f) is
not in conflict with and does not supersede or otherwise limit the Purchaser’s obligations set
forth in Sections 3.1 and 3.2;

                (g)     drafts or checks outstanding at the Closing;

             (h)     any and all Liabilities under any futures contracts, options on futures,
swap agreements or forward sale agreements;

               (i)     any and all Liabilities related to the WARN Act, to the extent applicable,
for any action resulting from Employees’ separation of employment prior to or on the Closing
Date;

               (j)     any and all Liabilities of any Seller to its equity holders respecting
dividends, distributions in liquidation, redemptions of interests, option payments or otherwise,
and any and all Liability of any Seller pursuant to any agreement with an Affiliate of such Seller;

             (k)    any and all Liabilities arising out of or relating to any business or property
formerly owned or operated by any Seller, any Affiliate or predecessor thereof, but not presently
owned and operated by such Seller;

                (l)    any and all Liabilities relating to Claims, Actions, suits, arbitrations,
litigation matters, proceedings, investigations or other Actions (in each case, whether involving
private parties, Governmental Bodies, or otherwise) involving, against, or affecting any Acquired
Asset, the Business, any Seller, or any assets or properties of any Seller, whether commenced,



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filed, initiated, or threatened before or after the Closing and whether relating to facts, events, or
circumstances arising or occurring before or after the Closing;

              (m)      any and all Liabilities of any Seller arising and to be performed prior to
the Closing Date;

               (n)     any and all Environmental Liabilities and Obligations;

               (o)    any and all Liabilities of any Seller or its predecessors arising out of any
contract, agreement, Permit, franchise or Claim that is not transferred to Purchaser as part of the
Acquired Assets or, is not transferred to Purchaser because of any failure to obtain any third
party or governmental consent required for such transfer;

               (p)     any and all Liability for: (i) costs and expenses incurred by Sellers or
owed in connection with the administration of the Chapter 11 Cases (including the U.S. Trustee
fees, the fees and expenses of attorneys, accountants, financial advisors, consultants and other
professionals retained by Sellers, and any official or unofficial creditors’ or equity holders’
committee and the fees and expenses of the post-petition lenders or the pre-petition lenders
incurred or owed in connection with the administration of the Chapter 11 Cases); (ii) all costs
and expenses of Sellers incurred in connection with the negotiation, execution and
consummation of the transactions contemplated under this Agreement; and (iii) all costs and
expenses arising out of or related to any third party Claims against Sellers, pending or
threatened, including any warranty or product Claims;

               (q)     any and all Liabilities set forth on Schedule 2.4(q);

              (r)    any and all Liabilities with respect to change or control or similar
arrangements with any officer, employee or contractor of any Seller;

               (s)     all Liabilities relating to any withdrawal from a “multiemployer plan”, if
any, as defined in Section 3(37) of ERISA;

               (t)     any and all Liabilities arising out of, relating to or otherwise in respect of
any violation of Law by, or any Action against, any Seller or any breach, default or violation by
any Seller of or under any Assigned Contracts occurring prior to the Closing, other than the Cure
Amount;

              (u)     any Liabilities of Sellers not in the Ordinary Course of Business arising in
the Chapter 11 Cases;

               (v)     any and all Liabilities of Sellers under this Agreement;

               (w)    any and all Liabilities of Sellers resulting from the failure to comply with
any applicable “bulk sales,” “bulk transfer” or similar Law;

               (x)     except as set forth in Section 2.3(h), any and all Liabilities to any broker,
finder or financial advisor for Sellers in connection with the transactions contemplated by this
Agreement;


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               (y)    any and all Liabilities for any Tax or Taxes arising out of or relating to the
operation of the Business (as currently or formerly conducted) or the ownership of the Acquired
Assets for any Pre-Closing Tax Period, including any and all property Taxes with respect to any
Pre-Closing Tax Period; provided, however, it is agreed that this Section 2.4(y) is not in conflict
with and does not supersede or otherwise limit the Purchaser’s obligations set forth in Sections
3.1 and 3.2;

               (z)    any Liability for any Tax or Taxes of Sellers or their Affiliates for any
taxable period; provided, however, it is agreed that this Section 2.4(z) is not in conflict with and
does not supersede or otherwise limit the Purchaser’s obligations set forth in Sections 3.1 and
3.2;

               (aa) any Liability for any withholding Tax or Taxes imposed as a result of the
transactions contemplated by this Agreement; and

               (bb)    any and all Liabilities arising under Section 6.9(b).

        2.5     Post-Closing Liabilities. Except as provided in Section 2.4, Purchaser
acknowledges that Purchaser shall be responsible for all Liabilities and obligations relating to
Purchaser’s ownership or use of, or right to use, the Acquired Assets and the Assumed Liabilities
after the Closing Date, including all Taxes arising out of or related to the Acquired Assets or the
operation or conduct of the Business acquired pursuant to this Agreement for all Tax periods
beginning on the day after the Closing Date.

       2.6     Assumption/Rejection of Certain Contracts.

               (a)     Assignment and Assumption at Closing.

                       (i)    Schedule 2.6(a) sets forth a list of all executory Contracts
       (including all Leases) to which any Seller is party as of the Effective Date. Schedule
       2.6(a) shall set forth with respect to each Contract listed therein Sellers’ good-faith
       estimate of the Cure Amount as of the Effective Date. Until fourteen (14) days prior to
       Closing, Sellers shall make such deletions to Schedule 2.6(a) as Purchaser shall, in its
       sole discretion, request in writing; provided, however, that Purchaser shall not delete, and
       shall therefore assume, those Contracts so designated under the heading “To Be
       Assumed, Not Deleted”. Any such deleted Contract shall be deemed to no longer be an
       Assigned Contract. All Contracts of Sellers that are not listed on Schedule 2.6(a) as of
       the Closing Date shall not be considered an Assigned Contract or Acquired Asset and
       shall be deemed “Rejected Contracts.”

                      (ii)    Sellers shall take all actions required to assume and assign the
       Assigned Contracts to Purchaser (other than payment of the Cure Amount, which Cure
       Amount constitutes an Assumed Liability), including taking all actions required to
       facilitate any negotiations with the counterparties to such Assigned Contracts and to
       obtain an Order containing a finding that the proposed assumption and assignment of the
       Assigned Contracts to Purchaser satisfies all applicable requirements of Section 365 of
       the Bankruptcy Code. Prior to the Sale Hearing, Sellers shall commence appropriate
       proceedings before the Bankruptcy Court and otherwise take all reasonably necessary


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actions in order to determine the Cure Amount with respect to any Assigned Contract
entered into prior to the Petition Date, including the right to negotiate in good faith and
litigate, if necessary, with any Contract counterparty the Cure Amount needed to cure all
monetary defaults under such Assigned Contract.

                (iii) At Closing, (x) Sellers shall, pursuant to the Sale Order and the
Assignment and Assumption Agreement or the Assignment and Assumption of Leases, as
applicable, assume and assign to Purchaser (the consideration for which is included in the
Purchase Price) each of the Assigned Contracts that is capable of being assumed and
assigned, and (y) Purchaser shall pay promptly the Cure Amount (if any) (which shall be
in addition to the amount stated in Section 3.1(a) and which shall be part of the Purchase
Price hereunder), in connection with such assumption and assignment (as agreed to
among the various counterparties, Purchaser and Sellers, or as determined by the
Bankruptcy Court) and assume and perform and discharge the Assumed Liabilities (if
any) under the Assigned Contracts, pursuant to the Assignment and Assumption
Agreement or the Assignment and Assumption of Leases, as applicable.

               (iv)   Purchaser may request, in its reasonable business judgment, certain
modifications and amendments to any Contract as a condition to such Contract becoming
an Assigned Contract, and Sellers shall use commercially reasonable efforts to obtain
such modifications or amendments. If Sellers are unable to obtain such modifications or
amendments, Purchaser may, in its sole discretion, designate the Contract as a Rejected
Contract.

       (b)     Previously Omitted Contracts.

               (i)     If prior to Closing, (A) it is discovered that a Contract should have
been listed on Schedule 2.6(a) but was not listed on Schedule 2.6(a), (B) a Contract is
entered into after the Effective Date that would have been listed on Schedule 2.6(a) if
any Seller had entered into such Contract on or before the Effective Date or (C) if
Purchaser desires in its sole discretion to acquire any Contract to which any Seller is
party (including any Rejected Contract prior to the entry by the Bankruptcy Court of an
order with respect thereto) (any such Contract, a “Previously Omitted Contract”),
Sellers shall, promptly following the discovery thereof or receipt of notice from
Purchaser of its desire to acquire any such Contract (but in no event later than two (2)
Business Days following the discovery thereof or receipt of such notice), notify
Purchaser in writing of such Previously Omitted Contract and any Cure Amount for
such Previously Omitted Contract. Purchaser shall thereafter deliver written notice to
Sellers, no later than five (5) Business Days following notification of such Previously
Omitted Contract from Sellers, designating such Previously Omitted Contract as
“Assumed” or “Rejected” (a “Previously Omitted Contract Designation”). A Previously
Omitted Contract designated in accordance with this Section 2.6(b)(i) as “Rejected,” or
with respect to which Purchaser fails to timely deliver a Previously Omitted Contract
Designation, shall be a Rejected Contract.

             (ii)   If Purchaser designates a Previously Omitted Contract as
“Assumed” in accordance with Section 2.6(b)(i), (i) Schedule 2.6(a) shall be amended to


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       include such Previously Omitted Contract and (ii) Sellers shall serve a notice (the
       “Previously Omitted Contract Notice”) on the counterparties to such Previously Omitted
       Contract notifying such counterparties of the Cure Amount with respect to such
       Previously Omitted Contract and Sellers’ intention to assume and assign such Previously
       Omitted Contract in accordance with this Section 2.6. The Previously Omitted Contract
       Notice shall provide the counterparties to such Previously Omitted Contract with seven
       (7) days to object, in writing to Sellers and Purchaser, to the Cure Amount or the
       assumption of its Contract. If the counterparties, Sellers and Purchaser are unable to
       reach a consensual resolution with respect to the objection, Sellers will seek an expedited
       hearing before the Bankruptcy Court to determine the Cure Amount required to be paid
       (to the extent disputed) and approve the assumption. If no objection is timely served on
       Sellers and Purchaser, Sellers shall obtain an order of the Bankruptcy Court fixing the
       Cure Amount at the amount set forth in the Previously Omitted Contract Notice and
       approving the assumption of the Previously Omitted Contract.

                 (c)    Post-Petition Contracts. Schedule 2.6(c) sets forth a list of all Contracts to
which to Sellers’ Knowledge, any Seller is party and which were entered into following the
Petition Date. Such Contracts shall be subject to assignment in accordance with the procedures
set forth in this Section 2.6.

     2.7  Disclaimer. PURCHASER HEREBY ACKNOWLEDGES AND AGREES
THAT, EXCEPT AS PROVIDED IN THIS AGREEMENT OR ANY CERTIFICATE
DELIVERED HEREUNDER, SELLERS MAKE NO REPRESENTATIONS OR
WARRANTIES WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO ANY
MATTER RELATING TO THE ACQUIRED ASSETS. WITHOUT LIMITING THE
FOREGOING, PURCHASER AND SELLERS HEREBY DISCLAIM ANY WARRANTY,
EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR
PURPOSE AS TO ANY PORTION OF THE ACQUIRED ASSETS. PURCHASER FURTHER
ACKNOWLEDGES THAT PURCHASER HAS CONDUCTED AN INDEPENDENT
INVESTIGATION OF THE CONDITION OF THE ACQUIRED ASSETS AND ALL SUCH
OTHER MATTERS RELATING TO OR AFFECTING THE ACQUIRED ASSETS AS
PURCHASER DEEMED NECESSARY OR APPROPRIATE AND THAT IN PROCEEDING
WITH ITS ACQUISITION OF THE ACQUIRED ASSETS, EXCEPT FOR ANY
REPRESENTATIONS AND WARRANTIES SET FORTH IN THIS AGREEMENT OR ANY
CERTIFICATE DELIVERED HEREUNDER, PURCHASER IS DOING SO BASED SOLELY
UPON SUCH INDEPENDENT INSPECTIONS AND INVESTIGATIONS.

                                           ARTICLE III

                             PURCHASE PRICE AND PAYMENT

        3.1   Purchase Price. Subject to the terms and conditions of this Agreement, the
aggregate consideration to be paid by Purchaser in respect of, inter alia, the Acquired Assets,
shall be comprised of the items set forth in subsections (a) and (b) below:

             (a)    $207,000,000, plus the DIP Amount (as defined below), plus the Health
Care Amount (as defined below), plus the NLRB Amount (as defined below), plus the Property


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Tax Amount (as defined below), plus the Removal Amount (as defined below), plus the Shortfall
Amount (as defined below), plus the KERP Amount (as defined below), in cash (the “Cash
Portion”) consisting of:

                      (i)    $207,000,000;

                      (ii)   the outstanding balance of the DIP Facility at Closing, to the extent
       drawings thereunder are consistent with the Approved Budget annexed as Exhibit A to
       the DIP Order entered by the Bankruptcy Court on June 17, 2019 (or, with Purchaser’s
       consent, the Approved Budget applicable under the DIP Order as of the Closing Date),
       including a draw immediately prior to Closing to be placed in escrow (such escrow to be
       on terms reasonably acceptable to Purchaser, Sellers and the Creditors’ Committee) in
       favor of estate professionals and U.S. Trustee quarterly fees equal to the aggregate
       projected accrued but unpaid amounts for total professional costs, expenses and fees (or
       US Trustee quarterly fees, as applicable) under the category “Restructuring Fees” in such
       Approved Budget (excluding the “Lender Fees”, “Utility Adequate Assurance Deposit”
       and “Critical Vendor Payments” line items) from the Petition Date to the Closing Date
       (such total unpaid professional costs, expenses and fees and U.S. Trustee quarterly fees,
       the “Escrow Obligations”), not to exceed the total amount for the “Restructuring Fees”
       category (excluding the “Lender Fees”, “Utility Adequate Assurance Deposit” and
       “Critical Vendor Payments” line items) set forth in such Approved Budget (the
       “Restructuring Fee Escrow”), except to the extent paid pursuant to Section 6.20(b) (the
       “DIP Amount”), with any portion of the Restructuring Fee Escrow not used to pay the
       Escrow Obligations ultimately approved by the Bankruptcy Court to be returned to
       Purchaser;

                     (iii) the incurred but not reported (as of the Closing Date) post-petition
       employee health care insurance claims of the Sellers, up to a maximum of $400,000 (the
       “Health Care Amount”);

                     (iv)    the Liabilities of the Sellers in respect of the matter set forth on
       Schedule 6.7(c), up to a maximum of $135,000 (the “NLRB Amount”);

                      (v)   the real estate, personal property, and franchise Taxes of the
       Sellers for calendar year 2019, up to a maximum of $450,000 (the “Property Tax
       Amount”);

                    (vi)    the costs of removal or disposal of any assets removed from the
       Acquired Assets pursuant to Section 6.9(b) (the “Removal Amount”);

                    (vii) the positive difference, if any, of (x) $500,000 minus (y) the
       amount of Cash and Cash Equivalents as of the Closing (the “Shortfall Amount”); and

                     (viii) the aggregate amount set forth on Schedule 7.1(g) (as such
       schedule exists as of the Effective Date, and without regard to any changes to such
       schedule following the Effective Date) under the “Buyer KERP” and “Buyer Consulting
       Agreement” columns (collectively, the “KERP Amount”); plus



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               (b)    Purchaser’s assumption of the Assumed Liabilities (the value of which,
together with the Cash Portion, the “Purchase Price”) to include the following:

                      (i)     Cure Amount;

                     (ii)   (A) trade payables arising on or after the Petition Date and
       (B) Claims arising under Section 503(b)(9) of the Bankruptcy Code allowed by
       agreement of Purchaser and the claimant thereunder or by Final Order of the Bankruptcy
       Court;

                      (iii)   amounts outstanding pursuant to open purchase orders;

                     (iv)  the Liabilities with respect to Transferred Employees under the
       terms of Assumed Plans to the extent arising following the Closing;

                      (v)     the Straddle Payroll;

                      (vi)    NMTC Arrangements; and

                      (vii) the “Transaction Fee” described in that certain Engagement
       Agreement by and between Orchids and Houlihan Lokey Capital, Inc., dated November
       13, 2018, as amended March 13, 2019.

       3.2    Payment of Cash Portion; Deposit.

               (a)     Purchaser has delivered by wire transfer of immediately available funds,
the sum of $10,645,920, as supplemented by an additional payment of $1,890,023, for an
aggregate amount of $12,535,943 (the “Deposit”) to the Escrow Agent to be held in escrow and
deposited in an interest bearing account pursuant to the terms and provisions hereof and in
accordance with the terms and conditions of that certain Fund Management Agreement, dated as
of June 19, 2019, by and between Orchids and the Escrow Agent. Subject to the terms and
conditions of ARTICLE XI, Orchids shall direct the Escrow Agent to either release the Deposit
and all interest accruing thereon from escrow and pay it to or for the account of Sellers at
Closing, to be credited against the Purchase Price, or immediately return it to Purchaser.

                (b)    At the Closing, the Cash Portion shall be paid in cash by wire transfer of
immediately available funds, in each case to one or more bank accounts as designated by Sellers
in writing no fewer than 5 Business Days prior to the Closing, less, and notwithstanding anything
else contained herein, (i) the Health Care Amount, (ii) the NLRB Amount, (iii) the Property Tax
Amount, (iv) the Removal Amount, and (v) the KERP Amount.

               (c)    Subsequent to the Closing, but as soon as practicable thereafter, Purchaser
shall pay, on behalf of Sellers, the Health Care Amount, the NLRB Amount, the Property Tax
Amount and the Removal Amount directly to the Persons entitled thereto, promptly after such
amounts become due and payable.

           (d)     At the Closing or as soon as practicable thereafter, Purchaser shall pay the
KERP Amount to the Persons entitled thereto.


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        3.3     Cash Portion Holdback. Notwithstanding anything to the contrary contained
herein, at the time of the payment of the Cash Portion hereunder, an amount (the “Holdback
Amount”) shall be withheld by Purchaser therefrom for the purpose of funding any amounts that
may be due to Purchaser subsequent to the Closing Date on account of any reductions made to
the Purchase Price as a result of the prorations contemplated in Section 3.4. The Holdback
Amount shall be in an amount agreed to by Sellers and Purchaser, each acting reasonably and in
good faith, five (5) days prior to the Closing Date. As soon as the foregoing determinations and
prorations are made, if any amount is due to Purchaser, such amount shall be retained by
Purchaser from the Holdback Amount with any balance paid to Sellers, and if no amounts are
due to Purchaser the entirety of the Holdback Amount shall be paid to Sellers. The foregoing
shall accomplished as soon as reasonably practicable subsequent to the Closing Date.

         3.4    Prorations. Except as otherwise provided in this Agreement with respect to items
allocable exclusively to Sellers or Purchaser and Purchaser’s obligation to make the payment of
the Property Tax Amount pursuant to Section 3.2, to the extent that any of the items listed below
in this Section 3.4 are paid by Sellers prior to the Closing or are payable by Purchaser or Sellers
after the Closing Date, such items shall be apportioned as of the Closing Date such that
(i) Sellers shall be liable for (and shall reimburse Purchaser to the extent that Purchaser shall
pay) that portion of such of the foregoing relating or attributable to periods prior to the Closing
Date; and (ii) Purchaser shall be liable (and shall reimburse Sellers, to the extent Sellers shall
have paid) that portion of the foregoing relating or attributable to periods on or after the Closing
Date. Should any amounts to be prorated not have been finally determined on the Closing Date,
a mutually satisfactory estimate of such amounts made on the basis of Sellers’ records shall be
used as a basis for settlement at Closing, and the amount finally determined will be prorated as of
the Closing Date and appropriate settlement made as soon as practicable after such final
determination, with final settlement to be made no later than sixty (60) days after the Closing
Date. The items to be prorated in accordance with this Section 3.4 shall include, without
limitation: (a) personal property, real estate, retail sales, occupancy and use Taxes, if any, on or
with respect to the Business, the Acquired Assets and/or the Assumed Liabilities,
notwithstanding the date of the assessment of such Taxes; (b) lease payments under any
Assigned Contract regarding any Assumed Leased Real Property for the month in which the
Closing occurs; and (c) insurance premiums of any policies acquired by Purchaser at Closing.
Sellers and Purchaser agree to furnish each other with such documents and other records as each
Party reasonably requests in order to confirm all adjustment and proration calculations made
pursuant to this Section 3.4. The proration and adjustment process provided in this Section 3.4
shall also include an adjustment of cash received by Purchaser or Sellers (as the case may be) to
which the other is entitled pursuant to the provisions of Sections 2.1 and 2.2 above, but shall not
include an adjustment for security and other deposits heretofore paid by any Seller to third
parties.

        3.5    Further Assurances. From time to time after the Closing and without further
consideration, (a) Sellers, upon the request of Purchaser and at Sellers’ expense, shall execute
and deliver such documents and instruments of conveyance and transfer as Purchaser may
reasonably request in order to consummate more effectively the purchase and sale of the
Acquired Assets as contemplated hereby and to vest in Purchaser title to the Acquired Assets
transferred hereunder, provided that (i) Sellers shall not be required to execute or deliver any
document or instrument pursuant to this Section 3.5 which includes any provision(s) which


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impose(s) obligations upon Sellers which are greater than those imposed upon Sellers under the
other provisions of this Agreement or the documents executed pursuant hereto and (ii) in no
event shall Sellers be required to incur any material cost or expense in the performance of its
obligations under this Section 3.5 (it being understood that Purchaser shall in any event be
entitled to require Sellers to take such action as Sellers would otherwise be required to take
pursuant to this Section 3.5 but for the cost thereof by providing to Sellers the amount Sellers
reasonably anticipate incurring in excess of immaterial costs and expenses of taking such action),
and (b) Purchaser, upon the request of Sellers and at Purchaser’s expense, shall execute and
deliver such documents and instruments of assumption as Sellers may reasonably request in
order to confirm Purchaser’s liability for the obligations under the Assumed Liabilities or
otherwise more fully consummate the transactions contemplated by this Agreement; provided
that (i) Purchaser shall not be required to execute or deliver any document or instrument pursuant
to this Section 3.5 which includes any provision(s) which impose(s) obligations upon Purchaser
which are greater than those imposed upon Purchaser under the other provisions of this
Agreement or the documents executed pursuant hereto, and (ii) in no event shall Purchaser be
required to incur any material cost or expense in the performance of its obligations under this
Section 3.5 (it being understood that notwithstanding the foregoing, Sellers shall in any event be
entitled to require Purchaser to take such action as Purchaser would otherwise be required to take
pursuant to this Section 3.5 but for the cost thereof by providing to Purchaser the amounts
Purchaser reasonably anticipates incurring in excess of immaterial costs and expenses in taking
the action).

                                         ARTICLE IV

                REPRESENTATIONS AND WARRANTIES OF SELLERS

        Sellers represent and warrant to Purchaser as of the Effective Date and the Closing Date,
as follows:

        4.1    Due Incorporation; Good Standing. Each Seller is a corporation or limited liability
company duly incorporated under the laws of the State of Delaware, and is in good standing
thereunder as of the Effective Date and the Closing. Subject to the Bankruptcy Code, each Seller
has full power and authority to own, use and lease its properties and to conduct its Business as
such properties are owned, used or leased and as such Business is currently conducted. Each
Seller has previously delivered to Purchaser true, complete and correct copies of its
Organizational Documents, as amended and in effect on the Effective Date. Each Seller is duly
qualified to do business as a foreign corporation and is in good standing in each jurisdiction
where the character of the Business or the nature of its properties makes such qualification or
licensing necessary, except for such failures to be so qualified or licensed or in good standing as
would not, individually or in the aggregate, be material to the conduct of the Business.

        4.2    Authority; No Violation. Subject to the entry of the Sale Order, each Seller has all
requisite corporate or limited liability company power and authority, as applicable, to enter into
this Agreement and to carry out the transactions contemplated hereby, and the execution,
delivery and performance of this Agreement by each Seller shall be duly and validly authorized
and approved by all necessary corporate or limited liability company action, as applicable.
Subject to the approval and entry of the Sale Order by the Bankruptcy Court (and assuming the


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due authorization, execution and delivery by the other Parties hereto), this Agreement shall
constitute the legal and binding obligation of each Seller, enforceable against each Seller in
accordance with its terms, except that the enforceability hereof may be subject to bankruptcy,
insolvency, reorganization, moratorium or other similar Laws now or hereafter in effect relating
to creditors’ rights generally and that the remedy of specific performance and injunctive and
other forms of equitable relief may be subject to equitable defenses and to the discretion of the
court before which any proceeding may be brought. Subject to the approval and entry of the Sale
Order by the Bankruptcy Court, the entering into of this Agreement, and the consummation by
Sellers of the transactions contemplated hereby, will not (a) violate the provisions of any
applicable federal, state or local Laws, (b) violate any provision of Sellers’ Organizational
Documents, or (c) except as set forth in Schedule 4.2, violate any provision of, or result in a
default or acceleration of any obligation under, or result in any change in the rights or obligations
of any Seller under, any Lien, contract, agreement, license, lease, instrument, indenture, order,
arbitration award, judgment, or decree to which any Seller is a party or by which it is bound, or
to which any property of any Seller is subject that will not otherwise be stayed or discharged
upon entry of the Sale Order by the Bankruptcy Court or otherwise pursuant to the Chapter 11
Cases.

       4.3     Consents.

                (a)    Except as set forth on Schedule 4.3(a), the execution, delivery and
performance by Sellers of this Agreement or any Ancillary Document to which it is a party, the
compliance by Sellers with any of the provisions hereof or thereof, the consummation of the
transactions contemplated hereby or thereby and the taking by Sellers of any other action
contemplated hereby or thereby, do not and will not (with or without notice or the passage of
time): (i) contravene, violate or conflict with any term or provision of Sellers’ Organizational
Documents; (ii) violate any material Law applicable to Sellers or any of their Subsidiaries or by
which any property or asset of Sellers or any of their Subsidiaries is bound; or (iii) result in any
breach of, constitute a default (or an event that, with notice or lapse of time or both, would
become a default) under, create in any party thereto the right to terminate or cancel, or require
any consent under, or result in the creation or imposition of any Encumbrance (other than a
Permitted Encumbrance) on any property or asset of Sellers or any of its Subsidiaries under any
Permit, Lease or Material Contract, except in each case described in this clause (iii) to the extent
that any such breach, default, right or requirement would be cured and the applicable Permit,
Lease or Material Contract would be assignable upon payment of the applicable cure amount
hereunder.

                (b)     Except (i) for the entry of the Sale Order, (ii) for compliance as may be
required with the HSR Act or the Mexican Antitrust Act, and (iii) as set forth on Schedule
4.3(b), no filing with, notice to or consent from any Person is required in connection with the
execution, delivery and performance by Sellers of this Agreement or the Ancillary Documents to
which it is a party, the compliance by Sellers with any of the provisions hereof or thereof, the
consummation of the transactions contemplated hereby or thereby, or the taking by any Seller of
any other action contemplated hereby or thereby, other than such filings, notices or consents, the
failure of which to make or obtain would not, individually or in the aggregate, reasonably be
expected to be material to the Acquired Assets, the Assumed Liabilities or the Business, except
for any such filing, notice or consent required pursuant to a Rejected Contract.


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        4.4     Brokers and Finders. Except as set forth on Schedule 4.4, no Person has acted,
directly or indirectly, as a broker, finder or financial advisor for Sellers in connection with the
transactions contemplated by this Agreement and Purchaser is not and will not become obligated
to pay any fee or commission or like payment to any broker, finder or financial advisor as a
result of the consummation of the transactions contemplated by this Agreement based upon any
arrangement made by or on behalf of Sellers.

        4.5     Title to Acquired Assets. Other than the Leased Real Property and the personal
property subject to the Personal Property Leases and except for Permitted Encumbrances, Sellers
have good and valid title to the Acquired Assets and, at the Closing, Purchaser, pursuant to the
Sale Order, shall acquire good and marketable title in, and under all of such Acquired Assets, in
each case, free and clear of all Encumbrances to the fullest extent permitted under Section 363(f)
of the Bankruptcy Code. The Acquired Assets include all of the properties and assets required to
operate, in all material respects, the Business in the Ordinary Course of Business. For the sake of
clarity, the right to use any assets included in the Acquired Assets in which Sellers have
leasehold or non-ownership rights to use shall be assigned to Purchaser only through the
assumption and assignment of the Assigned Contracts in accordance with and subject to this
Agreement.

       4.6     Real Property.

                (a)     Schedule 4.6(a) contains a list and brief description of all Leased Real
Property and of all leases, subleases or similar use or occupancy agreements with respect to such
Leased Real Property, together with all amendments thereto and all related guaranties
(individually, a “Lease” and collectively, the “Leases”). Sellers have made available to Purchaser
true and complete copies of each of the Leases. Other than as set forth on Schedule 4.6(a),
Sellers are not, and to Sellers’ Knowledge no other party to a Lease is, in breach of any material
term or in “default” under any Lease and no party to any Lease has given Sellers written notice
of or made a Claim with respect to any breach or default thereunder. There are no conditions that
currently exist or, with the giving of notice or passage of time, will (i) result in a default or
breach of any material term by any Sellers, or to Sellers’ Knowledge, any other party, under a
Lease or (ii) give rise to the right of the lessor under any Lease to accelerate the obligations
thereunder or modify the terms thereof. Other than as noted on Schedule 4.6(a), none of the
Leased Real Property is subject to any sublease or grant to any Person by Sellers of any right to
the use, occupancy or enjoyment of the Leased Real Property or any portion thereof. To Sellers’
Knowledge, the Leased Real Property is not subject to any Encumbrances other than Permitted
Encumbrances. To Sellers’ Knowledge, the Leased Real Property is not subject to any use
restrictions, exceptions, reservations or limitations which in any material respect interfere with or
impair the present and continued use thereof in the Ordinary Course of Business. To Sellers’
Knowledge, there are no pending or threatened condemnation proceedings or other Actions
relating to any of the Leased Real Property. The Leases with respect to the Assumed Leased Real
Property are, and after Closing will continue to be, legal, valid, binding, and enforceable on
Sellers and in full force and effect on the same material terms as immediately prior to the
consummation of the transactions contemplated hereby.

             (b)    Schedule 4.6(b) sets forth a true, correct and complete list of all real
property owned by any Seller which is related to, used, useful or held for use in the conduct of


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the Business (the “Owned Real Property” and together with the Leased Real Property, the “Real
Property”), specifying the street address, the current owner and the current use of each parcel of
Owned Real Property. Sellers have good and marketable title to the Owned Real Property,
subject only to Permitted Encumbrances. Other than as noted on Schedule 4.6(b), none of the
Owned Real Property is subject to any lease or grant to any Person of any right to the use,
purchase, occupancy or enjoyment of such Owned Real Property or any portion thereof. Except
for Permitted Encumbrances, the Owned Real Property is not subject to any Encumbrances or to
any use restrictions, exceptions, reservations or limitations, which in any material respect
interfere with or impair the present and continued use thereof in the Ordinary Course of Business
and in the same manner after the Closing as conducted by Sellers prior to Closing. Except as set
forth on Schedule 4.6(b), there are no pending or, to Sellers’ Knowledge, threatened
(i) condemnation proceedings or other Actions relating to any of the Owned Real Property,
(ii) Actions to change the zoning classification of any portion of the Real Property or
(iii) impositions by any Governmental Body of any special assessments affecting the Real
Property. Except as set forth on Schedule 4.6(b), the present uses of the Real Property by Sellers
are in compliance, in all material respects, with all building, zoning, land use, public health,
public safety, sewage, water, sanitation or other comparable Laws.

               (c)    The Real Property is all of the real property that is required to operate the
Business in the Ordinary Course of Business.

        4.7    Tangible Personal Property. Schedule 4.7 sets forth all leases of personal property
(“Personal Property Leases”) relating to personal property used by Sellers or to which any Seller
is a party or by which the properties or assets of any Seller are bound, in each case, relating to
the Business. Sellers have a good and valid title to, or a valid and enforceable leasehold interest
in (under each such Personal Property Lease under which it is a lessee), all personal property
used by Sellers relating to the Business, in each case, free and clear of all Encumbrances other
than Permitted Encumbrances.

        4.8     Intellectual Property. Schedule 4.8 sets forth an accurate and complete list of all
registered and applied-for Intellectual Property owned by Sellers and used or held for use in the
Business (the “Purchased Intellectual Property”). Sellers own all right, title and interest to the
Purchased Intellectual Property, and, at Closing, will convey the Purchased Intellectual Property
to Purchaser free and clear of Encumbrances pursuant to the Sale Order. To Sellers’ Knowledge,
(i) no Person is engaging in any activity that infringes, dilutes, misappropriates or violates any
Purchased Intellectual Property and (ii) no Claim has been asserted to any Seller that the use of
any Purchased Intellectual Property or the operation of the Business infringes, dilutes,
misappropriates or violates the Intellectual Property of any third party. The Purchased
Intellectual Property and the rights under the Assigned Contracts include the rights to use all
Intellectual Property required to operate the Business as currently conducted.

        4.9    Litigation. Except as set forth on Schedule 4.9 and other than in connection with
the Chapter 11 Cases, there is no Action, including appeals and applications for review, in
progress, pending or, to Sellers’ Knowledge, threatened against or relating to any Seller, the
Acquired Assets, the Assumed Liabilities or the Business or judgment, decree, injunction,
deficiency, rule or order of any court, governmental department, commission, agency,
instrumentality or arbitrator which, in any case, might adversely affect the ability of any Seller to


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enter into this Agreement or to consummate the transactions contemplated hereby or otherwise
would, individually or in the aggregate, reasonably be expected to be material to the Acquired
Assets, the Assumed Liabilities or the Business, and, to Sellers’ Knowledge, there is no existing
ground on which any such Action may be commenced with any reasonable likelihood of success.

       4.10    Permits; Compliance with Laws.

               (a)     Except as set forth on Schedule 4.10(a), Sellers and their Subsidiaries are,
and have been during the past three (3) years, in compliance in all material respects with the
terms of, and, to the extent applicable, have filed timely applications to renew, all material
Permits used by Sellers in the Business (including all Permits that are necessary in connection
with Sellers’ occupancy, ownership or leasing of the Real Property), all of which are set forth on
Schedule 2.1(n), and all such Permits are valid and in full force and effect, and no Action is
pending or, to Sellers’ Knowledge, threatened, which seeks to revoke, limit or otherwise affect
any such Permit.

               (b)     Except as set forth on Schedule 4.10(b), to Sellers’ Knowledge, Sellers
and their Subsidiaries are, and have been during the past three (3) years, in compliance, in all
material respects, with all applicable Laws and during the past three (3) years neither Sellers nor
any of their Subsidiaries has received any written notice of any Action against it alleging any
failure to comply in any material respect with any such Laws. No investigation by any
Governmental Body with respect to Sellers or any of its Subsidiaries is pending or, to Sellers’
Knowledge, threatened, and during the past three (3) years neither Sellers nor any of their
Subsidiaries has received any written notice of any such investigation, except, in each case, for
any such investigation that would not reasonably be expected to be material to the Acquired
Assets, the Assumed Liabilities or the Business.

               (c)     None of Sellers or the Acquired Subsidiaries, nor any director, officer or,
to the Knowledge of Sellers, employee or agent of Sellers or any of the Acquired Subsidiaries
has: (i) used any funds for unlawful contributions, gifts, entertainment, or other unlawful
payments relating to an act by any Governmental Body; (ii) made any unlawful payment to any
foreign or domestic government official or employee or to any foreign or domestic political party
or campaign or violated any provision of the U.S. Foreign Corrupt Practices Act of 1977, as
amended; or (iii) made any other unlawful payment under any applicable Law relating to anti-
corruption, bribery, or similar matters. Neither Sellers nor any of the Acquired Subsidiaries have
disclosed to any Governmental Body that it violated or may have violated any Law relating to
anti-corruption, bribery, or similar matters. To the Knowledge of Sellers, no Governmental Body
is investigating, examining, or reviewing any of Sellers’ or the Acquired Subsidiaries’
compliance with any applicable provisions of any Law relating to anti-corruption, bribery, or
similar matters.

       4.11    Inventory.

                (a)    Except as set forth on Schedule 4.11(a), to Sellers’ Knowledge, no
Inventory is materially damaged in any significant way, or obsolete, except for any such damage
or obsolescence which would not, individually or in the aggregate, reasonably be expected to be
material to the Acquired Assets, the Assumed Liabilities or the Business.


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               (b)     Except as set forth on Schedule 4.11(b), to Sellers’ Knowledge, the
Inventory is not part of a current or past recall.

             (c)      Except as set forth on Schedule 4.11(c), Sellers do not hold any Inventory
on consignment.

               (d)      The consolidated inventory of Sellers set forth in the Financial Statements
was stated therein in accordance with GAAP applied on a consistent basis throughout the periods
indicated therein (except as may be indicated in the notes thereto) and presents fairly, in all
material respects, the consolidated inventory as of the respective dates thereof.

       4.12    Contracts.

                (a)    Schedule 4.12(a) sets forth each of the following Contracts to which any
Seller or their Subsidiaries is party or is otherwise bound (each, a “Material Contract” and,
collectively, the “Material Contracts”) and except as set forth on Schedule 4.12(a), the Assigned
Contracts include all of the Contracts material to the ownership and/or operation of the Business.

                      (i)     collective bargaining agreement or Contract with any labor union;

                       (ii)   Contract for the employment of any officer, individual employee
       or other person on a full-time or consulting basis providing for base compensation in
       excess of $80,000 per annum that is not terminable by a Seller or such Subsidiary upon
       notice of sixty (60) days or less for a cost of $20,000 or less;

                      (iii) Contract under which Sellers or any of their Subsidiaries is party to
       a capitalized lease, has borrowed any money or issued any note, indenture or other
       evidence of similar Indebtedness or guaranteed such indebtedness of others, in each case,
       having an outstanding principal amount in excess of $100,000;

                      (iv)    capitalized lease, operating lease or other lease or Contract under
       which Sellers or any of their Subsidiaries is lessee of, or holds or operates any personal
       property owned by any third party, for which the annual rental exceeds $100,000 that is
       not terminable by Sellers or such Subsidiary upon notice of sixty (60) days or less for a
       cost of $100,000 or less;

                       (v)     lease or other Contract under which Sellers or any of their
       Subsidiaries is lessor of or permits any third party to hold or operate any property, real or
       personal, for which the annual rental exceeds $200,000 that is not terminable by Sellers
       or such Subsidiary upon notice of sixty (60) days or less for a cost of $200,000 or less;

                      (vi)    Contract or group of related Contracts with the same party for the
       purchase of products or services, in either case, under which the aggregate undelivered
       balance of such products and services has a selling price in excess of $200,000 and which
       is not terminable by Sellers or such Subsidiary upon notice of sixty (60) days or less for a
       cost of $200,000 or less;




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                      (vii) Contract that materially prohibits or restricts Sellers or any of their
       Subsidiaries from freely engaging in business anywhere in the world;

                      (viii) Contract relating to any acquisition or disposition by Sellers of any
       business (whether by asset or stock purchase or otherwise) or any merger, consolidation
       or similar business combination transaction;

                       (ix)    Contract   that   involves    any   take-or-pay    or     requirements
       arrangement;

                       (x)     Contract relating to any joint venture, partnership or strategic
       alliance;

                     (xi)   Contract that provides for the indemnification of any Person or the
       assumption of any Tax, environmental or other Liability of any Person;

                       (xii)   Contract with any Governmental Body;

                      (xiii) Contract that can be terminated or modified based on a change of
       control provision or any similar provision as a result of the consummation of the
       transactions contemplated by this Agreement;

                       (xiv)   Contract with any Material Customer or Material Supplier;

                       (xv)    power of attorney with respect to the Business or any Acquired
       Asset; or

                       (xvi)   Contract in writing to enter into any of the foregoing.

                (b)    Each Material Contract is a valid and binding obligation of Sellers or their
Subsidiaries and, to Sellers’ Knowledge, the other parties thereto, enforceable against each of
them in accordance with its terms, except, in each case, as such enforceability may be limited by
applicable bankruptcy, insolvency or other similar Laws affecting or relating to enforcement of
creditor’s rights generally or general principles of equity. Sellers and their Subsidiaries have not,
and, to Sellers’ Knowledge, no other party to any Material Contract has, commenced any Action
against any of the parties to any Material Contract or given or received any written notice of any
default or violation under any Material Contract that has not been withdrawn or dismissed except
to the extent any such default or violation will be cured or dismissed as a result of the entry of
the Sale Order and the payment of the applicable Cure Amount.

        4.13 Tax Returns; Taxes. Sellers and each Subsidiary of any Seller have filed all Tax
Returns required to be filed. All such Tax Returns were, when filed, correct and complete in all
material respects. All Taxes due and payable by Sellers currently have been paid (whether or not
shown on any Tax Return). No Claim has been made by an authority in a jurisdiction where
Sellers or any Subsidiary of any Seller do not file Tax Returns that any Seller or any Subsidiary
of any Seller is or may be subject to the imposition of any Tax by that jurisdiction. Sellers and
each Subsidiary of Sellers have withheld and paid all Taxes required to have been withheld and
paid in connection with amounts paid or owing to any employee, consultant, independent


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contractor, creditor, shareholder, or other third party. There are no disputes or Claims concerning
any liability for Taxes to Sellers’ Knowledge. Sellers and each Subsidiary of Sellers have not
waived any statute of limitations in respect of Taxes or agreed to any extension of time with
respect to a tax assessment or deficiency. Schedule 4.13 sets forth the proper entity classification
of each of the Acquired Subsidiaries of the Sellers for U.S. federal income tax purposes.

       4.14    Employees; Sellers Benefit Plans. Except as set forth on Schedule 4.14,

                 (a)     Sellers have provided Purchaser with a true, complete and correct list of
the Employees as of the Effective Date, specifying for each his or her employing entity, location,
job title/position, salary or wage rate, exempt or non-exempt status, full-time or part-time status,
active or inactive status, temporary or permanent status and date of hire (the “Employee
Census”). For any Employee who requires a visa to work in the United States, the list further
specifies the visa category, visa expiration date, work authorization expiration date and total
duration of time in the visa category.

               (b)    Sellers are in compliance in all material respects with all Laws respecting
employment and employment practices including, without limitation, all Laws respecting terms
and conditions of employment, health and safety, wages and hours, classification, termination of
employment, child labor, immigration, employment discrimination, disability rights or benefits,
equal opportunity, plant closures and layoffs, affirmative action, workers’ compensation, labor
relations, employee leave issues and unemployment insurance.

              (c)    there are no material Claims pending or, to Sellers’ Knowledge,
threatened, against Sellers by, with respect to or relating to any Employee or any former
employee, contingent worker, current or former service provider or job applicant of Sellers.

                (d)     Set forth on Schedule 4.14(d) is a true, correct and complete list of each
Benefit Plan. As applicable with respect to each Benefit Plan (including each non-U.S. Benefit
Plan), Sellers have delivered to Purchaser true and complete copies of (i) the most recent plan
document, including all amendments thereto, and in the case of an unwritten plan, a written
description thereof, (ii) all current trust documents, investment management contracts, custodial
agreements and insurance contracts and other funding vehicles relating thereto, (iii) the current
summary plan description and each summary of material modifications thereto, (iv) the most
recently filed annual report (Form 5500 and all schedules thereto), (v) the most recent IRS
determination or opinion letter (vi) the most recent summary annual report, actuarial report,
financial statement and trustee report and (vii) any material correspondence with a Governmental
Body.

               (e)     each Benefit Plan has been maintained, operated and administered in
compliance in all material respects with its terms and any related documents or agreements and
the applicable provisions of ERISA, the Code and all other Laws.

                 (f)    each Benefit Plan which is an “employee pension benefit plan” within the
meaning of Section 3(2) of ERISA (each, a “Pension Plan”) and which is intended to meet the
qualification requirements of Section 401(a) of the Code has received a favorable determination
letter or is the subject of a favorable opinion letter from the IRS to the effect that such Benefit



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Plan is qualified and exempt from federal income taxes under Sections 401(a) and 501(a) of the
Code, respectively, and there are no facts or circumstances that would reasonably be expected to
adversely affect the qualification of such Benefit Plan.

               (g)     during the previous six (6) years, none of Sellers or any of their respective
ERISA Affiliates has adopted, maintained, sponsored, contributed to (or has been required to
adopt, maintain sponsor or contribute to), or has any Liability with respect to any
(i) “multiemployer plan” (within the meaning of Section 3(37) of ERISA); (ii) employee benefit
plan or arrangement subject to Title IV or Section 302 of ERISA, (iii) “multiple employer plan”
(within the meaning of Section 210 of ERISA or Section 413(c) of the Code) or (iv) “defined
benefit plan” (within the meaning of Section 3(35) of ERISA).

              (h)   no Benefit Plan provides any health or other welfare benefits to any
current or former employee of Sellers other than health continuation coverage required to be
provided under COBRA.

               (i)     there are no pending audits or investigations by any Governmental Body
involving any Benefit Plan, and no pending or, to Sellers’ Knowledge, threatened Claims (except
for individual Claims for benefits payable in the normal operation of the Benefit Plans (including
any Benefit Plans primarily covering current and former employees located outside of the United
Sates)), Actions involving any Benefit Plan, any fiduciary thereof or service provider thereto, nor
to Sellers’ Knowledge is there any reasonable basis for any such Action.

               (j)     each Benefit Plan that constitutes a “non-qualified deferred compensation
plan” within the meaning of Section 409A of the Code, complies in both form and operation with
the requirements of Section 409A of the Code so that no amounts paid pursuant to any such
Benefit Plan is subject to Tax under Section 409A of the Code.

                (k)    neither the execution nor delivery of this Agreement nor the
consummation of the transactions contemplated under this Agreement (either alone or in
combination with another event) will (i) entitle any current Employee to any material payment or
benefit, (ii) increase the amount or value of any compensation, benefit or other obligation
payable or required to be provided to any Employee, (iii) accelerate the time of payment or
vesting of amounts due any such Employee or accelerate the time of any funding (whether to a
trust or otherwise) of compensation or benefits under any Benefit Plan, or (iv) result in the
payment of any amounts that would not be deductible for federal income tax purposes by reason
of Code Section 280G or would be subject to excise tax under Code Section 4999. No Benefit
Plan provides for the reimbursement of any penalty or excise tax under Section 409A or 4999 of
the Code.

               (l)     the employment of each Employee of Sellers is at will. Schedule 4.14 sets
forth a true, complete and correct list of all material written (and includes a summary of all
legally binding oral) employment and consulting agreements to which any Seller is a party or by
which it is bound. True, complete and correct copies of the agreements or arrangements listed
and summarized on Schedule 4.14 have been provided or made available to Purchaser, together
with all amendments thereto.




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              (m)    Sellers are not and have not been: (i) a “contractor” or “subcontractor” (as
defined by Executive Order 11246), (ii) required to comply with Executive Order 11246 or any
other applicable Law requiring affirmative action or other employment related actions for
government contractors or subcontractors, or (iii) otherwise required to maintain an affirmative
action plan.

               (n)     To Sellers’ Knowledge, the manufacturers, contractors and subcontractors
engaged in the manufacturing of products for the Business (“Manufacturers”) are in material
compliance with all applicable Laws respecting employment and employment practices. To
Sellers’ Knowledge, no Manufacturer has engaged in the utilization of forced labor, prison labor,
convict labor, indentured labor, child labor, corporal punishment or other forms of mental or
physical coercion in connection with the manufacture of the products for the Business.

                (o)     Each individual who is currently providing services to any Seller through
a third party service provider, or who during the previous three (3) years provided services to any
Seller through a third party service provider, is not or was not an employee of any Seller. No
Seller has a single employer, joint employer, alter ego or similar relationship with any other
company except for the other Sellers and their respective Subsidiaries.

               (p)     Sellers are not party to any settlement agreement with a current or former
officer, employee or independent contractor of Sellers that involves allegations relating to sexual
harassment by any officer or employee of any Sellers. In the last five (5) years, no allegations of
sexual harassment have been made against any officer or employee of any Seller.

       4.15    Labor Matters.

                (a)    Other than as set forth on Schedule 4.15(a), (i) Sellers are not a party to or
bound by any labor agreement, collective bargaining agreement or any other labor-related
agreement or arrangement with any labor union or organization with respect to the Employees,
(ii) no Employee is represented by any labor union or organization with respect to his or her
employment with any Seller, (iii) no labor union, labor organization or group of Employees has
made a pending demand for recognition or request for certification and there have not been any
such demands or requests in the last three (3) years, (iv) there are no representation or
certification proceedings or petitions seeking a representation election presently pending or, to
Sellers’ Knowledge, threatened to be brought or filed, with the National Labor Relations Board
and there have not been any such proceedings in the last three (3) years, and (v) to Sellers’
Knowledge there have been no labor union organizing activities with respect to any Employee.

                (b)     Except as set forth on Schedule 4.15(b), from January 1, 2017, there has
been no actual or, to Sellers’ Knowledge, threatened unfair labor practice charges, material
grievances, material arbitrations, strikes, lockouts, work stoppages, slowdowns, picketing, hand
billing or other labor disputes against or affecting any Seller.

               (c)   The execution of this Agreement and the consummation of the
transactions contemplated by this Agreement will not result in any breach or other violation of
any labor agreement, collective bargaining agreement or any other labor-related agreement or




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arrangement with any labor union or organization with respect to the Employees and to which
any Seller is a party to or bound by.

        4.16 Bank Accounts. Schedule 4.16 sets forth a complete list of all bank accounts
(including any deposit accounts, securities accounts and any sub-accounts) of Sellers.

        4.17 Financial Statements; Undisclosed Liabilities. Sellers have delivered to Purchaser
true, correct and complete copies of: (i) the audited consolidated balance sheet of Sellers and
their respective Subsidiaries as of, and consolidated statements of comprehensive income (loss),
cash flows, redeemable common stock, accumulated deficit and accumulated other
comprehensive income for the fiscal year ended December 31, 2017; and (ii) the unaudited
consolidated balance sheet of Sellers and their respective Subsidiaries as of, and consolidated
statements of comprehensive income (loss), cash flows, redeemable common stock, accumulated
deficit and accumulated other comprehensive income for, the nine (9) month periods ended on
September 30, 2018 and September 30, 2017 (the September 30, 2018 unaudited consolidated
balance sheet, the “Latest Balance Sheet” and, collectively with the other financial statements set
forth in this Section 4.17, the “Financial Statements”). The Financial Statements have been
prepared in accordance GAAP consistently applied in accordance with Sellers’ past practice
throughout the periods indicated and present fairly, in all material respects, the consolidated
financial position of Sellers as of the respective dates thereof and for the periods indicated
therein (subject to normal and recurring year-end adjustments and the absence of footnotes).
Sellers and their Subsidiaries have no Liabilities with respect to the Business that would be
required to be set forth in audited financial statements (including the notes thereto) prepared in
accordance with GAAP, except (i) those which are adequately reflected or reserved against in the
Financial Statements as of the date thereof, and (ii) those which have been incurred in the
Ordinary Course of Business since the date of the Latest Balance Sheet and which are not,
individually or in the aggregate, material in amount.

        4.18 WARN Act. Sellers (a) are and have been in compliance with all notice and other
requirements under the WARN Act and (b) have not, within the ninety (90) days immediately
prior to the Closing Date, in whole or in part, taken any action or actions which would,
independently of the transaction contemplated hereby, result in a plant closing or mass layoff,
temporary or otherwise, within the meaning of the WARN Act.

        4.19 Environmental Matters. Schedule 2.1(n) sets forth an accurate and complete list
of all Permits required or issued under Environmental Law to operate the Business and the
Acquired Assets. Except as set forth on Schedule 4.19, (a) with respect to the Business and the
Acquired Assets, there is no pending or, to Sellers’ Knowledge, threatened suit, verbal or written
notice, investigation, Claim, litigation, proceeding or other Action by any Governmental Body or
any other Person that could reasonably be expected to result in any material Environmental
Liabilities and Obligations, and Sellers are not subject to, or in default of, any Order applicable
to the Business or the Acquired Assets and issued under or pursuant to any Environmental Law,
(b) there has been no Release of Hazardous Materials in connection with the Business, or at,
from, on or under the Acquired Owned Real Property or the Assumed Leased Real Property
(including, in each case, all buildings, structures, fixtures and improvements erected thereon) that
could reasonably be expected to result in any material Environmental Liabilities and Obligations,
or require any material Remedial Action pursuant to any Environmental Law, (c) Sellers have


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obtained and are in material compliance with and, to the extent applicable, have filed timely
applications to renew, all Permits that are required pursuant to any Environmental Law for the
operation of the Acquired Assets and all such Permits are valid and in full force and effect, and
no Action is pending or, to Sellers’ Knowledge, threatened, which seeks to revoke, limit or
otherwise affect any such Permit; (d) Sellers have no material financial assurance, escrow,
bonding or similar obligation under or pursuant to any Environmental Law, and (e) Sellers have
delivered or made available to Purchaser copies of the following non-privileged records in
Sellers’ or their respective representatives’ possession, custody or control: (i) all material Permits
issued pursuant to any Environmental Law for the Business or the operation of the Acquired
Assets and any pending applications for such Permits; (ii) all material documents with respect to
any pending or threatened material Claim, litigation, proceeding or other Action relating to or
bearing on the Business or the Acquired Assets and arising under or relating to any
Environmental Law, or with respect to any Environmental Liabilities and Obligations; and
(iii) all material written environmental reports, audits and assessments (including Phase I
environmental site assessment reports) for the Business, the Acquired Assets, Acquired Owned
Real Property and Assumed Leased Real Property (including, in each case, all buildings,
structures, fixtures and improvements erected thereon).

          4.20 Absence of Changes. Except as set forth on Schedule 4.20 or as reasonably
necessary as a result of or in connection with the Chapter 11 Cases, since July 1, 2018, (a) there
has not been or occurred any Material Adverse Effect and (b) Sellers have not taken any action
that, if taken following the Effective Date, would have violated Section 6.1.

       4.21 Compliance with Bankruptcy Laws. Subject to the entry of the Sale Order, Sellers
have complied in all material respects with all requirements of the Bankruptcy Code and the
Federal Rules of Bankruptcy Procedure in connection with obtaining approval of the sale of the
Acquired Assets (including the assumption and assignment to the Purchaser of any Assigned
Contracts) to the Purchaser pursuant to this Agreement.

        4.22 Orchids SEC Documents. Orchids has filed with the SEC all material reports,
schedules, forms, statements and other documents required to be filed by Orchids with the SEC
pursuant to the Securities Act or the Exchange Act (together with any documents or information
furnished by Orchids to the SEC on a voluntary basis on Current Reports on Form 8-K and any
reports, schedules, forms, registration statements and other documents filed with the SEC
subsequent to the Effective Date and prior to the Closing Date, collectively, the “Orchids SEC
Documents”). As of their respective effective dates (in the case of Orchids SEC Documents that
are registration statements filed pursuant to the requirements of the Securities Act) and as of their
respective SEC filing dates (in the case of all other Orchids SEC Documents), the Orchids SEC
Documents complied as to form in all material respects with the requirements of the Securities
Act or the Exchange Act, as the case may be, applicable to such Orchids SEC Documents. Each
of the Orchids SEC Documents, as amended prior to the date of this Agreement, complied in all
material respects with, to the extent in effect at the time of filing or furnishing, the requirements
of the Securities Act and the Exchange Act applicable to such Orchids SEC Documents, and
none of the Orchids SEC Documents when filed or furnished or, if amended prior to the date of
this Agreement, as of the date of such amendment, contained any untrue statement of a material
fact, omitted to state a material fact required to be stated therein or necessary in order to make
the statements therein, other than with respect to registration statements, in light of the


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circumstances under which they were made, not misleading. As of the Effective Date, there are
no outstanding written comments from the SEC with respect to the Orchids SEC Documents.

        4.23 Internal Controls. Orchids maintains a system of internal control over financial
reporting (within the meaning of Rules 13a-15(f) and 15d-15(f) of the Exchange Act) sufficient
to provide reasonable assurances regarding the reliability of financial reporting and the
preparation of financial statements for external purposes in accordance with GAAP. Orchids
(i) maintains disclosure controls and procedures (within the meaning of Rules 13a-15(e) and 15d-
15(e) of the Exchange Act) reasonably designed to ensure that all material information required to
be disclosed by Orchids in the reports that it files or submits under the Exchange Act is recorded,
processed, summarized and reported within the time periods specified in the SEC’s rules and
forms, including that information required to be disclosed by Orchids in the reports that it files
and submits under the Exchange Act is accumulated and communicated to management of
Orchids, as appropriate, to allow timely decisions regarding required disclosure, and (ii) has
disclosed, based upon the most recent (prior to the date of this Agreement) evaluation by the chief
executive officer and chief financial officer of Orchids of Orchids’ internal control over financial
reporting, to its auditors and the audit committee of Orchids’ Board of Directors (A) all
significant deficiencies and material weaknesses in the design or operation of Orchids’ internal
control over financial reporting which are reasonably likely to adversely affect in any material
respect its ability to record, process, summarize and report financial information and data and
(B) any fraud, whether or not material, that involves management or other employees who have a
significant role in Orchids’ internal control over financial reporting.

        4.24 Affiliate Transactions. Except as set forth in the Orchids SEC Documents filed in
the last 18 months, no Affiliate of Sellers (other than any Seller or any of their Subsidiaries), or
any officer or director of Sellers or any of its Subsidiaries (a) is a party to any Contract or
transaction with Sellers or its Subsidiaries having a potential or actual value or a contingent or
actual liability exceeding $120,000, other than (i) loans and other extensions of credit to directors
and officers of Sellers and their Subsidiaries for travel, business or relocation expenses or other
employment-related purposes in the Ordinary Course of Business, (ii) employment arrangements
in the Ordinary Course of Business and (iii) Sellers Benefit Plans, (b) has any interest in any
Acquired Asset or (c) owns, directly or indirectly, any material interest in any Person that is, or is
engaged in business as, a material supplier or customer of Sellers or any of their Subsidiaries.

        4.25 Accounts Receivable. The Accounts Receivable reflected on the Latest Balance
Sheet and the Accounts Receivable arising after the date thereof (a) have arisen from bona fide
transactions entered into by Sellers and their Subsidiaries involving the sale of goods or the
rendering of services in the Ordinary Course of Business; and (b) constitute only valid,
undisputed Claims of Sellers and their Subsidiaries not subject to Claims of set-off or other
defenses or counterclaims other than normal cash discounts accrued in the Ordinary Course of
Business.

       4.26    Customers and Suppliers.

              (a)     Schedule 4.26(a) sets forth with respect to the Business (i) the top twenty
(20) customers by amount of aggregate consideration paid to Sellers for goods or services
rendered for each of the two most recent fiscal years (collectively, the “Material Customers”);


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and (ii) the amount of consideration paid by each Material Customer during such periods. Except
as set forth on Schedule 4.26(a), Sellers have not received any written notice, or to Sellers’
Knowledge, oral notice, and have no reason to believe, that any of the Material Customers has
ceased, or intends to cease after the Closing, to use the goods or services of the Business or to
otherwise terminate or materially reduce its relationship with the Business.

                (b)    Schedule 4.26(b) sets forth with respect to the Business (i) the top
twenty (20) suppliers, contractors and/or vendors by amount of aggregate consideration Sellers
have paid for goods or services rendered for each of the two most recent fiscal years
(collectively, the “Material Suppliers”); and (ii) the amount of purchases from each Material
Supplier during such periods. Except as set forth on Schedule 4.26(b), Sellers have not received
any written notice, or to Sellers’ Knowledge, oral notice, and have no reason to believe, that any
of the Material Suppliers has ceased, or intends to cease, to supply goods or services to the
Business or to otherwise terminate or materially reduce its relationship with the Business.

        4.27 Insurance. Schedule 4.27 lists, as of the Effective Date, each material insurance
policy, including each title insurance policy or commitment, maintained by or in the possession
or control of Sellers and their Subsidiaries on their properties, assets, products, business or
personnel and Sellers have delivered true, correct and complete copies of each policy to
Purchaser. Each policy is legal, valid, binding, enforceable on Sellers or their Subsidiaries, as
applicable, and in full force and effect, and all premiums with respect thereto covering all
periods up to and including the Effective Date and the Closing Date have been paid, and no
notice of cancellation, termination or denial of coverage for any Claim has been received with
respect to any such insurance policy, and none of Sellers or their Subsidiaries has received a
notice of non-renewal from any of its insurers.

        4.28 Equity Interests of Acquired Subsidiaries. The authorized and outstanding capital
stock or other equity interests of each of the Acquired Subsidiaries are as set forth on
Schedule 4.28. All of the outstanding capital stock or other equity interests of the Acquired
Subsidiaries have been validly issued and have not been issued in violation of preemptive or
similar rights. There are no outstanding options, warrants, convertible or exchangeable securities,
“phantom” stock rights, stock appreciation rights, stock-based performance units, rights to
subscribe to, purchase rights, calls or commitments made by the Acquired Subsidiaries relating
to the issuance, purchase, sale or repurchase of any capital stock or other equity interests issued
by the Acquired Subsidiaries containing any equity features, or contracts, commitments,
understandings or arrangements by which any of the Acquired Subsidiaries is bound to redeem,
issue, deliver or sell, or cause to be redeemed, issued, delivered or sold, capital stock or other
equity interests, or options, warrants, rights to subscribe to, purchase rights, calls or
commitments made by the Acquired Subsidiaries relating to any capital stock or other equity
interests of the Acquired Subsidiaries. Sellers own all of the outstanding capital stock or other
equity interests of the Acquired Subsidiaries free and clear of all Encumbrances other than
Encumbrances arising by reason of federal or state securities or “blue sky” Laws. No Seller has
any Subsidiaries other than, or otherwise holds an equity interest or right to acquire any equity
interest in any Person other than, the other Sellers and the Subsidiaries set forth on
Schedule 4.28.




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       4.29 Holdcos. Other than equity interests of OPP Acquisition Mexico, S. de R.L. de
C.V., neither Orchids Mexico DE Holdings, LLC nor Orchids Mexico DE Member, LLC own
any assets. Other than the aforementioned ownership of equity interests of OPP Acquisition
Mexico, S. de R.L. de C.V., neither Orchids Mexico DE Holdings, LLC nor Orchids Mexico DE
Member, LLC has incurred any Liability, engaged in any business or activity of any type or kind
whatsoever nor entered into any agreement or arrangement with any Person.

       4.30    Acquired Subsidiaries.

                (a) Orchids Mexico DE Holdings, LLC is a limited liability company duly
formed under the laws of the State of Delaware, and is in good standing thereunder as of the date
hereof and as of the Closing. Orchids Mexico DE Holdings, LLC is duly qualified to do business
as a foreign entity and is in good standing in each jurisdiction where the character of the
Business or the nature of its properties makes such qualification or licensing necessary, except
for such failures to be so qualified or licensed or in good standing as would not, individually or
in the aggregate, have a Material Adverse Effect. Orchids Mexico DE Holdings, LLC has
previously delivered to Purchaser true, complete and correct copies of its Organizational
Documents, as amended and in effect on the Effective Date.

                (b) Orchids Mexico DE Member, LLC is a limited liability company duly
formed under the laws of the State of Delaware, and is in good standing thereunder as of the date
hereof and as of the Closing. Orchids Mexico DE Member, LLC is duly qualified to do business
as a foreign entity and is in good standing in each jurisdiction where the character of the
Business or the nature of its properties makes such qualification or licensing necessary, except
for such failures to be so qualified or licensed or in good standing as would not, individually or
in the aggregate, have a Material Adverse Effect. Orchids Mexico DE Member, LLC has
previously delivered to Purchaser true, complete and correct copies of its Organizational
Documents, as amended and in effect on the Effective Date.

                (c) OPP Acquisition Mexico, S. de R.L. de C.V. is a company duly established
and validly existing under the laws of the United Mexican States, as evidenced in the public deed
No. 42,090, granted before Mr. José Luis Villavicencio Castañeda, Public Notary number 218 in
the Federal District, and is in good standing thereunder as of the date hereof and as of the
Closing. OPP Acquisition Mexico, S. de R.L. de C.V. is duly qualified to do business as a
foreign entity and is in good standing in each jurisdiction where the character of the Business or
the nature of its properties makes such qualification or licensing necessary, except for such
failures to be so qualified or licensed or in good standing as would not, individually or in the
aggregate, have a Material Adverse Effect. OPP Acquisition Mexico, S. de R.L. de C.V. has
previously delivered to Purchaser true, complete and correct copies of its Organizational
Documents, as amended and in effect on the Effective Date

               (d) Since its date of formation, and except as set forth on Schedule 4.30(d),
Orchids Mexico DE Holdings, LLC has had no assets (including bank accounts) and Liabilities
(including for Taxes), or conducted any activities.




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               (e) Since its date of establishment, and except as set forth on Schedule 4.30(e),
Orchids Mexico DE Member, LLC has had no assets (including bank accounts) and Liabilities
(including for Taxes), or conducted any activities.

              (f) Since its date of establishment, and except as set forth on Schedule 4.30(f),
OPP Acquisition Mexico, S. de R.L. de C.V. has had no material assets (including bank
accounts), material Liabilities (including for Taxes), or conducted any material activities.

               (g) Subject to the approval and entry of the Sale Order by the Bankruptcy
Court, the entering into of this Agreement, and the consummation the transactions contemplated
hereunder, will not (a) violate any provision of the Acquired Subsidiaries’ Organizational
Documents or (b) except as set forth in Schedule 4.30(g), violate any provision of, or result in a
default or acceleration of any obligation under, or result in any change in the rights or obligations
of any Acquired Subsidiary under, any Lien, contract, agreement, license, lease, instrument,
indenture, order, arbitration award, judgment, or decree to which any Acquired Subsidiary is a
party or by which it is bound, or to which any property of any Acquired Subsidiary is subject that
will not otherwise be stayed or discharged upon entry of the Sale Order by the Bankruptcy Court
or otherwise pursuant to the Chapter 11 Case.

               (h) Except as set forth on Schedule 4.30(h) and other than in connection with
the Bankruptcy Cases, there is no Action, including appeals and applications for review, in
progress, pending or, to Sellers’ Knowledge, threatened against or relating to any Acquired
Subsidiary, or judgment, decree, injunction, deficiency, rule or order of any court, governmental
department, commission, agency, instrumentality or arbitrator which, in any case, might
adversely affect any Acquired Subsidiary as a result of the Parties’ entering into this Agreement
or consummating the transactions contemplated hereby or otherwise would, individually or in the
aggregate, reasonably be expected to be material to any Acquired Subsidiary, and, to Sellers’
Knowledge, there is no existing ground on which any such Action may be commenced with any
reasonable likelihood of success.

       4.31 No Other Representations or Warranties. Except for the representations,
warranties and covenants of Sellers expressly contained herein or any certificate delivered
hereunder, neither Sellers nor any of their respective representatives, nor any other Person,
makes any other express or implied warranty (including, without limitation, any implied
warranty of merchantability or fitness for a particular purpose) on behalf of Sellers, including,
without limitation, as to (a) the probable success or profitability of ownership, use or operation
of the Acquired Assets by Purchaser after the Closing, (b) the probable success or results in
connection with the Bankruptcy Court and the Sale Order, or (c) the value, use or condition of
the Acquired Assets, which are being conveyed hereby on an “As-Is”, “Where-Is” condition at
the Closing Date, without any warranty whatsoever (including, without limitation, any implied
warranty of merchantability or fitness for a particular purpose).

                                           ARTICLE V

              REPRESENTATIONS AND WARRANTIES OF PURCHASER

       Purchaser represents and warrants to Sellers as of the Effective Date as follows:


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       5.1      Purchaser’s Organization; Good Standing. Purchaser is a corporation duly
organized, validly existing and in good standing under the laws of the State of Delaware, with
full power and authority to own, use or lease its properties and to conduct its business as such
properties are owned, used or leased and as such business is currently conducted.

        5.2     Purchaser’s Authority; No Violation. Purchaser has all requisite corporate power
and authority to enter into this Agreement and to carry out the transactions contemplated hereby,
and the execution, delivery and performance of this Agreement by Purchaser shall be duly and
validly authorized and approved by all necessary corporate action. This Agreement shall
constitute the legal and binding obligation of Purchaser, enforceable against Purchaser in
accordance with its terms, except that the enforceability hereof may be subject to bankruptcy,
insolvency, reorganization, moratorium or other similar Laws now or hereafter in effect relating
to creditors’ rights generally and that the remedy of specific performance and injunctive and
other forms of equitable relief may be subject to equitable defenses and to the discretion of the
court before which any proceeding may be brought. Subject to the approval and entry of the Sale
Order by the Bankruptcy Court and subject to compliance with the applicable requirements of
the HSR Act and the Mexican Antitrust Act, the entering into of this Agreement, and the
consummation by Purchaser of the transactions contemplated hereby will not (a) violate the
provisions of any applicable federal, state or local Laws or (b) violate any provision of
Purchaser’s Organizational Documents, violate any provision of, or result in a default or
acceleration of any obligation under, or result in any change in the rights or obligations of
Purchaser under, any Lien, contract, agreement, license, lease, instrument, indenture, order,
arbitration award, judgment, or decree to which Purchaser is a party or by which it is bound, or
to which any property of Purchaser is subject that will not otherwise be stayed or discharged
upon entry of the Sale Order by the Bankruptcy Court or otherwise pursuant to the Chapter 11
Cases.

       5.3      Consents, Approvals or Authorizations. Except (a) for compliance as may be
required with the HSR Act or (b) for compliance as may be required with the Mexican Antitrust
Act, no consent, waiver, approval, order or authorization of, or registration, qualification,
designation or filing with any Person or Governmental Body is required in connection with the
execution, delivery and performance by Purchaser of this Agreement or the Ancillary Documents
to which it is a party, the compliance by Purchaser with any of the provisions hereof or thereof,
the consummation of the transactions contemplated hereby or thereby, the assumption and
performance of the Assumed Liabilities or the taking by Purchaser of any other action
contemplated hereby or thereby, other than such filings, notices or consents, the failure of which
to make or obtain would not reasonably be expected to have, individually or in the aggregate, a
material adverse effect on Purchaser’s ability to perform its obligations under this Agreement and
the Ancillary Documents to which it is a party, or to consummate the transactions contemplated
hereby or thereby, including the assumption of the Assumed Liabilities.

        5.4     Brokers. Except as set forth on Schedule 5.4, no Person has acted, directly or
indirectly, as a broker, finder or financial advisor for Purchaser in connection with the
transactions contemplated by this Agreement, and Sellers are not and will not become obligated
to pay any fee or commission or like payment to any broker, finder or financial advisor as a
result of the consummation of the transactions contemplated by this Agreement based upon any
arrangement made by or on behalf of Purchaser


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       5.5     Litigation. To Purchaser’s knowledge, there are no material Actions, suits,
Claims, investigations, hearings, or proceedings of any type pending (or, to the knowledge of
Purchaser, threatened) instituted against Purchaser challenging the legality of the transactions
contemplated in this Agreement (other than with respect to any objection, adversary proceeding
or other contested matter which may be filed or otherwise arise in connection with the Chapter
11 Cases).

       5.6     Financial Ability to Perform. Purchaser has available cash funds sufficient to
consummate the transactions contemplated by this Agreement in accordance with the terms and
conditions hereof and with no financing contingencies.

       5.7    Due Diligence.

            (a)   EXCEPT AS OTHERWISE PROVIDED IN ARTICLE IV OR THIS
ARTICLE V, IT IS UNDERSTOOD AND AGREED THAT, UNLESS EXPRESSLY STATED
HEREIN, SELLERS ARE NOT MAKING AND HAVE NOT AT ANY TIME MADE AND
PURCHASER EXPRESSLY DISCLAIMS ANY WARRANTIES OR REPRESENTATIONS
OF ANY KIND OR CHARACTER, EXPRESS OR IMPLIED, WITH RESPECT TO THE
ACQUIRED ASSETS, INCLUDING BUT NOT LIMITED TO, ANY WARRANTIES OR
REPRESENTATIONS AS TO MERCHANTABILITY OR FITNESS FOR A PARTICULAR
PURPOSE.

           (b)  EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS
AGREEMENT, PURCHASER ACKNOWLEDGES AND AGREES THAT, UPON THE
CLOSING, SELLER SHALL SELL AND CONVEY TO PURCHASER, AND PURCHASER
SHALL ACCEPT, THE ACQUIRED ASSETS PURSUANT TO THE SALE ORDER.
PURCHASER HAS NOT RELIED AND WILL NOT RELY ON, AND SELLERS ARE NOT
LIABLE FOR OR BOUND BY, ANY EXPRESS OR IMPLIED WARRANTIES,
GUARANTEES, STATEMENTS, REPRESENTATIONS OR INFORMATION PERTAINING
TO THE ACQUIRED ASSETS OR RELATING THERETO MADE OR FURNISHED BY
SELLERS OR THEIR RESPECTIVE REPRESENTATIVES, TO WHOMEVER MADE OR
GIVEN, DIRECTLY OR INDIRECTLY, ORALLY OR IN WRITING, EXCEPT AS
EXPRESSLY STATED HEREIN. PURCHASER ALSO ACKNOWLEDGES THAT THE
TOTAL PURCHASE PRICE REFLECTS AND TAKES INTO ACCOUNT THAT THE
ACQUIRED ASSETS ARE BEING SOLD “AS-IS, WHERE-IS, WITH ALL FAULTS.”

                                        ARTICLE VI

                   COVENANTS OF SELLERS AND/OR PURCHASER

        6.1     Conduct of Business of Sellers. During the Pre-Closing Period, (a) Sellers shall
use reasonable best efforts, except as required, authorized or restricted pursuant to this
Agreement, the Bankruptcy Code or an Order of the Bankruptcy Court, (i) to operate the
Business in the Ordinary Course of Business in all material respects and (ii) to (A) preserve
intact its business organizations, (B) maintain the Business and the Acquired Assets (normal
wear and tear excepted), (C) keep available the services of its officers and Employees,
(D) maintain satisfactory relationships with licensors, licensees, suppliers, contractors,


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distributors, consultants, customers, vendors and others having business relationships with
Sellers in connection with the operation of the Business (other than payment of pre-petition
Claims), (E) pay all post-petition obligations in the Ordinary Course of Business, (F) continue to
operate the Business and Acquired Assets in all material respects in compliance with all Laws
applicable to the Business and Sellers, (G) comply in all material respects with the budget and
other obligations set forth by the DIP Facility, in each case, taking into account Sellers’ status as
debtors in possession, and (H) pay all applicable Taxes that Sellers are required to pay, and
(b) except (i) as required by Law, (ii) as expressly contemplated by this Agreement or (iii) as
consented to in writing by Purchaser (such consent not to be unreasonably withheld, delayed or
conditioned), Sellers shall not do any of the following: (A) sell, lease, exchange, transfer or
otherwise dispose of, or agree to sell, lease, exchange, transfer or otherwise dispose of, any
Acquired Assets other than Inventory in the Ordinary Course of Business; (B) settle or
compromise any litigation or Claims relating to the Business or the Acquired Assets; (C) permit,
allow or suffer any assets that would be Acquired Assets to be subjected to any Encumbrance
other than Permitted Encumbrances; (D) enter into any Material Contract or terminate, amend,
restate, supplement, extend or waive (partially or completely) any rights under any Material
Contract; (E) cancel or compromise any material debt or Claim that would be included in the
Acquired Assets or waive or release any material right of Sellers that would be included in the
Acquired Assets; (F) recognize any labor organization as a collective bargaining representative
of any Persons employed by Sellers or their Subsidiaries, or enter into a collective bargaining
agreement with any labor organization affecting any such Persons; (G) grant any increase in the
compensation or benefits of any employee, including the grant, increase or acceleration in any
severance, change in control, termination or similar compensation or benefits payable to any
employee; (H) take any action that would reasonably be expected to prevent or significantly
impede or materially delay the completion of the transactions contemplated hereunder; (I) make,
revoke or change any election relating to Taxes, file any amended Tax Return, request, enter into
or obtain any Tax ruling with or from a Governmental Body, or execute or file, or agree to
execute or file, with any Governmental Body any agreement or other document extending, or
having the effect of extending, the period of assessment or collection of any Taxes, in each case,
that could reasonably be expected to have any adverse effect on the Purchaser or any of their
Affiliates, for any taxable period, or portion thereof, beginning after the Closing Date; or
(J) agree in writing to do any of the foregoing.

        6.2     Consents and Approvals. Subject to the provisions of Section 3.5 above, Sellers
and Purchaser shall each use their reasonable best efforts (i) to obtain all consents and approvals,
as reasonably requested by Purchaser and Sellers, to more effectively consummate the purchase
and sale of the Acquired Assets and the assumption and assignment of the Assigned Contracts
and Assumed Liabilities, as applicable, together with any other necessary consents and approvals
to consummate the transactions contemplated hereby (including, for the avoidance of doubt, as
required to convey the NMTC Arrangements on the same economic terms as currently
contemplated to transfer the Acquired Assets of Orchids Lessor SC to Purchaser or a Designated
Purchaser), (ii) to make, as reasonably requested by Purchaser and Sellers, all filings,
applications, statements and reports to all authorities which are required to be made prior to the
Closing Date by or on behalf of Purchaser and/or Sellers or any of their respective affiliates
pursuant to any applicable Regulation in connection with this Agreement and the transactions
contemplated hereby, and in such regard Purchaser agrees that it shall bear the sole cost of the
filing fee under the HSR Act, and (iii) to obtain, as reasonably requested by Purchaser and


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Sellers, all required consents and approvals (if any) to assign and transfer the Permits to
Purchaser at Closing and, to the extent that one or more of the Permits are not transferable, to
obtain replacements therefor; provided that Sellers shall not be required to make any filing in
connection with the transfer of a Permit or take any other action required by this sentence unless
Purchaser advances any and all fees and other charges imposed by any applicable authority or
other Person in connection with such filing, transfer or other requested action. Subject to the
provisions of Section 3.5 and this Section 6.2, in the event that certain Permits are not
transferable or replacements therefor are not obtainable on or before the Closing, but such
Permits are transferable or replacements therefor are obtainable after the Closing, Purchaser and
Sellers shall continue to use such reasonable efforts in cooperation with the other after the
Closing as may be required to obtain all required consents and approvals to transfer, or obtain
replacements for, such Permits after Closing and shall do all things reasonably necessary to give
Purchaser the benefits which would be obtained under such Permits.

       6.3     Assignability of Certain Contracts.

               (a)     In connection with and without limiting the foregoing, Sellers shall give
any notices to third parties required under the Assigned Contracts, and each of Sellers shall use
reasonable best efforts to obtain third party consents to any Assigned Contracts that are set forth
on Schedule 2.6(a) or otherwise necessary to consummate the Acquisition.

                (b)     If, (i) notwithstanding the applicable provisions of Sections 363 and 365
of the Bankruptcy Code and the Sale Order and the reasonable best efforts of Sellers, any
consent is not obtained prior to Closing and as a result thereof the Purchaser shall be prevented
by a third party from receiving the rights and benefits with respect to an Acquired Asset intended
to be transferred hereunder, (ii) any attempted assignment of an Acquired Asset would adversely
affect the rights of Sellers thereunder so that the Purchaser would not in fact receive all of the
rights and benefits contemplated or (iii) any Acquired Asset is not otherwise capable of sale
and/or assignment (after giving effect to the Sale Order and the Bankruptcy Code), then, in each
case, Sellers shall, subject to any approval of the Bankruptcy Court that may be required, at the
request of the Purchaser cooperate with Purchaser in any lawful and commercially reasonable
arrangement under which the Purchaser would, to the extent practicable, obtain the economic
Claims, rights and benefits under such asset and assume the economic burdens and obligations
with respect thereto in accordance with this Agreement, including by subcontracting,
sublicensing or subleasing to the Purchaser; provided, however, that the Parties will use their
commercially reasonable efforts, before the Closing, to obtain all necessary consents.

       6.4    Rejected Contracts. Sellers shall not reject or seek to reject any Assigned Contract
in any bankruptcy proceeding following the Effective Date without the prior written consent of
Purchaser, which Purchaser may withhold, condition or delay, in its sole discretion.

       6.5     Confidentiality. Purchaser acknowledges that the confidential information
provided to them in connection with this Agreement, including under Section 6.8, and the
consummation of the transactions contemplated hereby, is subject to the Confidentiality and
Nondisclosure Agreement, dated May 3, 2018, between Cascades Inc. and Orchids (the
“Confidentiality Agreement”) and the Clean Room Agreement, dated March 8, 2019, between
Cascades Inc. and Orchids. The Parties agree that the provisions regarding confidentiality


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contained in the Confidentiality Agreement shall survive the termination of this Agreement and
the Confidentiality Agreement in accordance with the terms set forth therein.

        6.6     Change of Name. Promptly following the Closing, Sellers shall, and shall cause
their respective direct and indirect Subsidiaries to, discontinue the use of the “Orchids Paper
Products” and “Orchids” name (and any other trade names or “d/b/a” names currently utilized by
Sellers or their respective direct or indirect Subsidiaries) and shall not subsequently change its
name to or otherwise use or employ any name which includes the words Orchids, Orchids
Supreme, Clean Scents, Tackle, Colortex, My Size, Velvet, and Big Mopper, Virtue, Truly
Green, Golden Gate Paper, Big Quality or any other similar name or mark confusingly similar
thereto without the prior written consent of Purchaser, and Sellers shall cause the name of Sellers
in the caption of the Chapter 11 Cases to be changed to the new name of Sellers as provided in
the last sentence of this Section 6.6; provided, however, that Sellers and their respective
Subsidiaries may continue to use their current names (and any other names or DBAs currently
utilized by Sellers or their respective Subsidiaries) included on any business cards, stationery and
other similar materials following the Closing for a period of up to seventy-five (75) days solely
for purposes of winding down the affairs of Sellers; provided that when utilizing such materials,
other than in incidental respects, Sellers and each of their respective direct and indirect
Subsidiaries shall use commercially reasonable efforts to indicate its new name and reference its
current name (and any other trade names or “d/b/a” names currently utilized by each). The new
names of Sellers shall be OPP Liquidating Company, Inc., OPP Liquidating Company of South
Carolina, Inc., and OLSC Liquidating Company, LLC, or such other names as Purchaser and
Sellers each may agree in its reasonable discretion.

       6.7     Sellers’ Employees.

              (a)    Sellers shall update the Employee Census as of thirty (30) days prior to the
Closing Date and again immediately prior to the Closing Date.

              (b)     Sellers shall provide reasonable assistance to facilitate Purchaser’s hire of
Sellers’ Employees, subject to Purchaser’s standard hiring practices and policies, at or prior to
the Closing, including, without limitation, providing Purchaser access to such Employees
personnel records and such other information regarding the Employees as Purchaser may
reasonably request, consistent with Section 7.1 hereof.

                (c)     Notwithstanding the foregoing, Sellers shall not (i) enter into, establish,
adopt, materially amend or terminate any Benefit Plan (or any plan or arrangement that would be
a Benefit Plan if in existence on the date of this Agreement), other than as required by Law,
(ii) increase the compensation and benefits payable or to become payable to Employees,
(iii) grant any extraordinary bonuses, benefits or other forms of directors’ or consultants’
compensation, (iv) promote, hire or terminate the employment of (other than for cause) any
Employee or (v) transfer the employment of any individual such that such individual becomes an
Employee or transfer the employment of any Employee such that such individual no longer
qualifies as an Employee; provided, however that nothing in this Agreement shall prohibit or
otherwise limit Sellers’ ability to implement any remedial steps, including issuing offers of
reinstatement, in relation to the matter set forth on Schedule 6.7(c) that Sellers determine, with



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the assistance of counsel, to be in Sellers’ best interests (subject to Sellers’ obtaining the consent
of Purchaser, such consent not to be unreasonably withheld, delayed or conditioned).

                 (d)     During the Pre-Closing Period, (i) Sellers shall not enter into, adopt,
extend, renew, terminate or materially amend any labor agreement, collective bargaining
agreement or any other labor-related agreement or arrangement with any labor union or
organization with respect to the Employees, except as required by applicable Law, and
(ii) Sellers shall satisfy all pre-Closing legal or contractual requirements to provide notice to, or
to enter into any consultation procedure with, any labor union or organization, which is
representing any Employee, in connection with the transactions contemplated by this Agreement.

               (e)    Through and after the Closing Date, Sellers shall comply with their
COBRA and WARN Act obligations, if any. On or before the Closing Date, Sellers shall provide
a true, complete and correct list, by site of employment, of any and all employees of any Seller
who, within ninety (90) days prior to the Closing Date, have experienced, or will experience, any
employment loss or layoff as defined by the WARN Act. Sellers shall update this list up to and
including the Closing Date.

               (f)    Contemporaneously with the Closing, Sellers shall terminate the
employment of all Employees who have been offered employment with Purchaser or its
Affiliate. Except for the obligations with respect to the Transferred Employees expressly
assumed by Purchaser under Section 2.3, Sellers shall be solely liable for all termination
payments and obligations to such Transferred Employees, including, without limitation, any
severance and other costs and expenses incurred or to be incurred in connection with such
termination, and any accrued or contingent salary, bonus, benefits, vacation time, phantom stock
payments or other amounts.

         6.8    Purchaser’s Access to Sellers’ Records. From and after Sellers’ execution and
delivery of this Agreement, Sellers shall continue to provide Purchaser (or its designated
representatives) reasonable access, upon reasonable advance notice to Sellers, to Sellers’
Employees, books and records, corporate offices and other facilities for the purpose of
conducting such additional due diligence as Purchaser deems appropriate or necessary in order to
facilitate Purchaser’s efforts to consummate the transaction provided for herein. Sellers hereby
covenant and agree to reasonably cooperate with Purchaser in this regard.

       6.9     Notification of Certain Matters.

                (a)     As promptly as reasonably practicable, and in any event no later than noon
New York time on the next Business Day following receipt, Sellers shall give notice to
Purchaser, and Purchaser shall give notice to Sellers, of (i) any notice or other communication
from any Person alleging that the consent of such Person, which is or may be required in
connection with the transactions contemplated by this Agreement or the Ancillary Documents, is
not likely to be obtained prior to Closing, (ii) any written objection or proceeding that challenges
the transactions contemplated hereby or the entry of the approval of the Bankruptcy Court
(iii) any bids or other offers or any other proposals respecting all or any portion of the Acquired
Assets received by Sellers, whether in connection with the Auction or otherwise, and (iv) the
status of matters relating to the completion of the transactions contemplated hereby, including


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promptly furnishing the other with copies of notices or other communications received by Sellers
or Purchaser or by any of their respective Affiliates (as the case may be), from any third party
and/or any Governmental Body with respect to the transactions contemplated by this Agreement.

               (b)     Notwithstanding anything to the contrary contained herein, Purchaser shall
be entitled to remove and leave behind with Sellers, in its sole discretion, any asset of the
Business that would constitute an Acquired Asset (and associated Liabilities therewith), and no
reduction in Purchase Price shall be made as a result of any such removal. Purchaser shall deliver
notice to Sellers and counsel to the Creditors’ Committee of any such removal at least fourteen
(14) days prior to the Closing Date. Subject to Sections 3.1(a)(vi) and 3.2(c), but notwithstanding
any other provision hereof, the Liabilities of Sellers arising under or in connection with, or
otherwise or related to, any assets removed from the Acquired Assets pursuant to this Section
6.9(b) (other than the Removal Amount) shall constitute Excluded Liabilities. In addition, and
without limiting Purchaser’s rights to remove assets from the Acquired Assets or Contracts from
the Assigned Contracts, Purchaser and Sellers shall have the right to modify the Schedules (other
than Schedule 2.6(a) and Schedule 2.1(o)) attached hereto by their mutual written agreement
until two (2) Business Days prior to the Closing Date or such later date as provided in this
Agreement or to which the Parties may otherwise agree.

               (c)     Each Party hereto shall, within two (2) Business Days after the Effective
Date, notify the other party in writing of any fact, change, condition, circumstance or occurrence
or nonoccurrence of any event of which it is aware that causes any of the representations and
warranties of such party to be inaccurate as of the Effective Date, provided that no such notice
shall be deemed to amend or modify the representations and warranties made hereunder or any
Schedules hereto for purposes of Section 8.1, Section 9.1 or otherwise, or limit the remedies
available to any Party hereunder.

                (d)   Notwithstanding anything to the contrary contained herein, Purchaser shall
be entitled to amend Schedule 2.1(o), in its sole discretion, at any time upon notice to Sellers and
counsel to the Creditors’ Committee at any time prior to fourteen (14) days preceding the
Closing Date.

        6.10 Preservation of Records. Sellers (or any subsequently appointed bankruptcy estate
representative, including, but not limited to, a trustee, a creditor trustee or a plan administrator)
and Purchaser agree that each of them shall preserve and keep the books and records and e-mails
and other electronic data held by it relating to the pre-Closing Business for a period commencing
on the Effective Date and ending at such date on which an orderly wind-down of Sellers’
operations has occurred in the reasonable judgment of Purchaser and Sellers and shall make such
books and records (including e-mails and other electronic data) available to the other Parties (and
permit such other Party to make extracts and copies of such books and records at its own
expense) as may be reasonably required by such Party in connection with, among other things,
any insurance Claims by, legal proceedings or Tax audits against or governmental investigations
of Sellers or Purchaser or in order to enable Sellers or Purchaser to comply with their respective
obligations under this Agreement and each other agreement, document or instrument
contemplated hereby or thereby. In the event that Sellers, on the one hand, or Purchaser, on the
other hand, wish to destroy such records during the foregoing period, such Party shall first give
twenty (20) days’ prior written notice to the other Party and to counsel to the Creditors’


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Committee, and the other Party shall have the right at its option and expense, upon prior written
notice given to such Party within that twenty (20) day period, to take possession of the records
within thirty (30) days after the date of such notice.

       6.11 Publicity. Neither Sellers nor Purchaser shall issue any press release or public
announcement concerning this Agreement or the transactions contemplated hereby without
obtaining the prior written approval of the other Party hereto, which approval will not be
unreasonably withheld or delayed, unless, in the reasonable judgment of Purchaser or Sellers, as
the case may be, disclosure is otherwise required by such party by applicable Law or by the
Bankruptcy Court with respect to filings to be made with the Bankruptcy Court in connection
with this Agreement or by the applicable rules of any stock exchange on which Sellers or
Purchaser list securities; provided that the Party intending to make such release shall use its
reasonable best efforts consistent with such applicable Law or Bankruptcy Court requirement to
consult with the other Party with respect to the text thereof; provided, further, after the Closing,
the Purchaser shall no longer be bound by the foregoing.

       6.12 Material Adverse Effect. Sellers shall promptly inform Purchaser in writing of the
occurrence of any event that has had, or is reasonably expected to have, a Material Adverse
Effect or otherwise cause the failure of any of Purchaser’s conditions to Closing set forth in
ARTICLE VIII.

        6.13 No Successor Liability. The Parties intend that, to the fullest extent permitted by
Law (including under Section 363 of the Bankruptcy Code), upon the Closing, Purchaser shall
not be deemed to: (a) be the successor of any Seller, (b) have, de facto, or otherwise, merged
with or into any Seller, (c) be a mere continuation or substantial continuation of any Seller or its
enterprise(s) or (d) be liable for any acts or omissions of any Seller in the conduct of the
Business or arising under or related to the Acquired Assets other than as set forth in this
Agreement. Without limiting the generality of the foregoing, and except as otherwise provided in
this Agreement, the Parties intend that Purchaser shall not be liable for any Encumbrance (other
than Assumed Liabilities and Permitted Encumbrances) against any Seller or any of any Seller’s
predecessors or Affiliates, and Purchaser shall have no successor or vicarious liability of any
kind or character whether known or unknown as of the Closing Date, whether now existing or
hereafter arising, or whether fixed or contingent, with respect to the Business, the Acquired
Assets or any Liabilities of Sellers arising prior to the Closing Date. The Parties agree that the
provisions substantially in the form of this Section 6.13 shall be reflected in the Sale Order.

        6.14 Casualty Loss. Notwithstanding any provision of this Agreement to the contrary,
if, before the Closing, all or any portion of the Acquired Assets is (a) condemned or taken by
eminent domain, or (b) is damaged or destroyed by fire, flood or other casualty, Sellers shall
promptly notify Purchaser promptly in writing of such fact, (i) in the case of condemnation or
taking, Sellers shall promptly assign or pay, as the case may be, any proceeds thereof to
Purchaser at the Closing, and (ii) in the case of fire, flood or other casualty, Sellers shall
promptly assign the insurance proceeds therefrom to Purchaser at Closing. Notwithstanding the
foregoing, the provisions of this Section 6.14 shall not in any way modify Purchaser’s other
rights under this Agreement, including any applicable right to terminate the Agreement if any
condemnation, taking, damage or other destruction resulted in a Material Adverse Effect or



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otherwise cause the failure of any of Purchaser’s conditions to Closing set forth in
ARTICLE VIII.

        6.15 Debtors-in-Possession. From the commencement of the Chapter 11 Cases through
the Closing, Sellers shall continue to operate their business as debtors-in-possession pursuant to
the Bankruptcy Code. Sellers shall not convert or seek to convert the Chapter 11 Cases into a
liquidation proceeding under Chapter 7 of the Bankruptcy Code.

       6.16    Bankruptcy Court Filings.

               (a)     Sellers shall use their reasonable best efforts to cause the Bankruptcy
Court to enter the Sale Order on or prior to July 12, 2019, which Sale Order shall approve a sale
to the Purchaser.

                (b)     Sellers shall use their reasonable best efforts to provide Purchaser for
review reasonably in advance of filing drafts of such material motions, pleadings or other filings
relating to the process of consummating the transactions contemplated by this Agreement and the
operation of Sellers to be submitted to the Bankruptcy Court.

               (c)     In the event an appeal is taken or a stay pending appeal is requested from
the Sale Order, Sellers shall promptly notify Purchaser of such appeal or stay request and shall
provide Purchaser promptly a copy of the related notice of appeal or order of stay. Sellers shall
also provide Purchaser with written notice of any motion or application filed in connection with
any appeal from such orders. Sellers agree to take all action as may be reasonable and
appropriate to defend against such appeal or stay request and Sellers and Purchaser agree to use
their reasonable best efforts to obtain an expedited resolution of such appeal or stay request,
provided that nothing herein shall preclude the parties hereto from consummating the
transactions contemplated hereby, if the Sale Order shall have been entered and has not been
stayed and the Purchaser, in its sole and absolute discretion, waives in writing the condition that
the Sale Order be a Final Order.

              (d)    Sellers and the Purchaser acknowledge that this Agreement and the sale of
the Acquired Assets and the assumption of the Assumed Liabilities are subject to Bankruptcy
Court approval.

                 (e)     After entry of the Sale Order, neither the Purchaser nor Sellers shall take
any action which is intended to, or fail to take any action the intent of which failure to act is to,
result in the reversal, voiding, modification or staying of the Sale Order.

       6.17    [Reserved.].

        6.18 Sale Free and Clear. Sellers acknowledge and agree, and the Sale Order shall be
drafted to provide, without limitation, that (a) on the Closing Date and concurrently with the
Closing, all then-existing or thereafter arising obligations, Liabilities and Encumbrances, against
or created by Sellers, any of their Affiliates, or the bankruptcy estate, to the fullest extent
permitted by Section 363 of the Bankruptcy Code, shall be fully released from and with respect
to the Acquired Assets and (b) the Purchaser is not the successor to any Seller or the bankruptcy
estate by reason of any theory of law or equity, and the Purchaser shall not assume or in any way


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be responsible for any Liability of Sellers, any of their Affiliates and/or the bankruptcy estate,
except as expressly provided in this Agreement. On the Closing Date, the Acquired Assets shall
be transferred to the Purchaser free and clear of all obligations, Liabilities and Encumbrances
(other than Permitted Encumbrances) to the fullest extent permitted by Section 363 of the
Bankruptcy Code.

        6.19 Financing Cooperation. Notwithstanding Section 5.6 and without limiting the
terms thereof, Sellers shall use commercially reasonable efforts to provide, and shall use
commercially reasonable best efforts to cause their respective Representatives to provide, on a
timely basis, such cooperation as is reasonably required and customary in connection with the
arrangement of the Purchaser’s financing arrangements, which cooperation may include using
commercially reasonable efforts to: (a) upon reasonable advance notice, participate in a
reasonable number of due diligence or other sessions with prospective financing sources and
their Representatives, and provide reasonable access to documents and other information in
connection with customary due diligence investigations; (b) reasonably assisting (including
participating in drafting sessions) with the preparation of materials; (c) furnishing the Purchaser
with information required and reasonably requested in writing by the parties acting as lead
arrangers for, or lenders under, any debt financing at least ten (10) Business Days prior to the
Closing Date under applicable “know your customer” and anti-money laundering rules and
regulations; (d) assisting the Purchaser in obtaining accountants’ comfort letters, including
customary “negative assurance” comfort from Sellers’ independent accountants on customary
terms; (e) cooperating with the Purchaser and the Purchaser’s efforts to obtain customary
corporate, facilities and securities ratings; (f) providing and, if applicable, executing customary
documents relating to the repayment of Indebtedness and the release of related encumbrances,
including customary payoff letters and evidence that notice of such repayment has been timely
delivered to the holders of such Indebtedness; (g) satisfying the conditions precedent set forth
in any commitment letters or any definitive documentation relating to any debt financing to the
extent the satisfaction of such conditions requires the cooperation of or is within the control of
Sellers or their respective Affiliates, including causing officers of Sellers and their respective
Affiliates to execute agreements, documents or certificates reasonably requested by the
Purchaser that facilitate the creation, perfection or enforcement of encumbrances securing debt
financing (including original copies of all certificated securities (with transfer powers executed
in blank), control agreements, perfection certificates, landlord consents and access letters) as
are requested by the Purchaser, its Affiliates or their debt financing sources (provided that no
obligation under any such agreement, document or certificate shall be effective until the
Closing); and (h) cooperating with the debt financing sources’ due diligence investigation to
the extent reasonable and not unreasonably interfering with the Business.

        6.20 Cash and Cash Equivalents. On the Closing Date, Sellers shall pay, to the extent
of Cash and Cash Equivalents available immediately prior to the Closing (and, for avoidance of
doubt, not from the Cash Portion) an aggregate amount equal to the Cash and Cash Equivalents
as of the Closing (including the Shortfall Amount, if any) as follows, in order of priority:

               (a)    First, an amount of cash equal to $500,000 (the “Wind-Down Amount”)
into a segregated Orchids bank account (the “Wind-Down Account”) for distribution therefrom
solely in accordance with Section 6.21;



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               (b)     Second, to the DIP Lender, an amount equal to the outstanding balance of
the DIP Facility;

                (c)     Third, to the Persons entitled thereto, the amounts of the cure costs
described in Section 2.3(b) that are designated by Purchaser to Sellers for payment pursuant to
this clause at or as soon as practicable after the Closing; and

              (d)     Fourth, to the Persons entitled thereto, the amounts of the Accounts
Payable described in Sections 2.3(c)(i) and 2.3(c)(iii) that are designated by Purchaser to Sellers
for payment pursuant to this clause at or as soon as practicable after the Closing.

        6.21 Wind-Down Account. From and after the Closing, the Wind-Down Amount
deposited into the Wind-Down Account shall be held in trust by the Sellers, free and clear of any
and all Encumbrances, for the benefit of Persons entitled to be paid priority claims,
administrative expenses and other costs relating to the post-Closing administration and wind-
down of Sellers’ estates, including, without limitation, confirmation of a liquidating plan for the
Sellers, in accordance with the Wind-Down Budget pursuant to the terms of the Sale Order or
other Order of the Bankruptcy Court.

       6.22 Customers and Suppliers. Upon Purchaser’s request, Sellers shall cooperate with
Purchaser in facilitating communications between Purchaser and any Material Customer or
Material Supplier prior to Closing.

       6.23 Acquired Avoidance Actions. Purchaser shall not assert any Claims in respect of
Acquired Avoidance Actions. This Section 6.23 may be enforced by any Person against whom
any such Claim may have been brought but for the prohibition in this Section 6.23. The
Purchaser covenants that it will not sell, assign or transfer the Acquired Avoidance Actions, and
the covenants contained in this Section 6.23 shall survive the Closing for a period of six (6) years
from the Closing Date.

                                         ARTICLE VII

                               COVENANTS OF PURCHASER

       7.1     Employee Matters.

               (a)    Purchaser shall, or shall cause its designated Affiliate or Affiliates to,
extend offers of employment to each Employee who has not been terminated or otherwise left
the employ of Sellers prior to the Closing Date (or, with respect to each Leave Employee, at such
other time as described below in this Section 7.1(a)), provided that, Purchaser may, in its sole
discretion, exclude any Employee or Employees from the group of Employees to whom
Purchaser is required to extend an offer of employment by notice to Orchids no later than
fourteen (14) days prior to Closing (the Employees to whom Purchaser extends an offer of
employment, the “Offer Employees”). Purchaser may provide in each offer of employment to an
Offer Employee that such offer of employment is subject to such Offer Employee’s compliance
with and completion of Purchaser’s standard hiring practices and policies. All such individuals
who accept such offers of employment by the Closing Date, and commence such employment


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immediately after the Closing, with Purchaser or its Affiliates are hereinafter referred to as the
“Transferred Employees”. With respect to each Offer Employee who is not actively at work on
the Closing Date due to a leave of absence (other than a leave expected to last for less than two
(2) weeks) approved by any Seller (each a “Leave Employee”), Purchaser may, or may cause its
Affiliate to, provide such Offer Employee an offer of employment if, and at such time that, such
Offer Employee is willing and able to return to active employment if within six (6) months
following the Closing Date, or such longer period of time required by applicable Law, and upon
commencing employment with Purchaser or its Affiliate, any such Offer Employee shall be
treated as a Transferred Employee. After the Closing, Purchaser intends to adopt an incentive plan
applicable to certain employees with respect to the time period from and after the Closing to the
end of 2019 and to be based upon achieving certain performance objectives and other factors.

               (b)     Subject to Purchaser’s right to terminate any Transferred Employees,
Purchaser shall provide, or shall cause one of its Affiliates to provide, for a period of one (1) year
from and after the Closing Date, each Transferred Employee with a base salary or wage rate, as
applicable, that is equal to the base salary or wage rate provided to such Transferred Employees
as of the Effective Date. For purposes of eligibility, vesting, and participation (excluding with
respect to benefit accrual, retiree welfare benefits and defined benefit pension benefits) under
any Purchaser plans and programs providing employee benefits to Transferred Employees after
the Closing Date (the “Post-Closing Plans”), Purchaser shall use reasonable best efforts to credit
each Transferred Employee with his or her years of service with Sellers before the Closing Date
to the same extent as such Transferred Employee was entitled, before the Closing Date, to credit
for such service under the comparable Benefit Plans in which such Transferred Employees
participated immediately prior to the Closing (such Seller plans, the “Sellers Benefit Plans”),
except to the extent such credit would result in a duplication of benefits. Notwithstanding the
foregoing, Purchaser, or its applicable Affiliate, may permit or require the Transferred
Employees to continue to participate in the Assumed Plans. To the extent a Transferred
Employee is covered by a collective bargaining agreement following the Closing Date, Purchaser
shall provide the benefits contemplated under this Section 7.1(b) in accordance with the
applicable collective bargaining agreement.

               (c)     For purposes of each Post-Closing Plan providing medical, dental,
hospital, pharmaceutical or vision benefits to any Transferred Employee, Purchaser shall use
commercially reasonable efforts to cause to be waived all pre-existing condition exclusions and
actively-at-work requirements of such Post-Closing Plan for such Transferred Employee and his
or her covered dependents (unless such exclusions or requirements were applicable under Sellers
Benefit Plans). In addition, Purchaser shall use reasonable efforts to cause any co-payments,
deductible and other eligible expenses incurred by such Transferred Employee and/or his or her
covered dependents under any Sellers Benefit Plan providing, medical, dental, hospital,
pharmaceutical or vision benefits during the plan year ending on the Closing Date to be credited
for purposes of satisfying all deductible, coinsurance and maximum out-of-pocket requirements
applicable to such Transferred Employee and his or her covered dependents for the applicable
plan year of each comparable Post-Closing Plan in which he or she participates.

               (d)   Purchaser shall assume and honor all vacation days, sick leave and other
paid-time-off accrued or earned, but not yet taken, by each Transferred Employee as of the
Closing Date.


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                (e)    Sellers shall be responsible for the payment of any severance payment or
benefits that become due to any current or former employee, officer, director, member, partner or
independent contractor as a result of the termination of such individual by any Seller or any
ERISA Affiliate thereof. Sellers shall be responsible for all legally mandated health care
continuation coverage for its, and its Affiliates’, current and former employees (and their
qualified beneficiaries) who had or have a loss of coverage due to a “qualifying event” (within
the meaning of Section 603 of ERISA) which occurred or occurs on or prior to the Closing Date,
including, without limitation, any loss of coverage that results directly or indirectly from the
transactions contemplated by this Agreement. Purchaser or its Affiliates shall assume and be
responsible for any severance benefits for any Transferred Employee who terminates
employment with Purchaser or such Affiliate after the Closing Date, to the extent such
Transferred Employee is entitled to severance benefits under a Post-Closing Plan or Assumed
Plan.

                (f)     Purchaser shall assume the Benefit Plans, as the case may be, identified by
Purchaser and listed on Schedule 7.1(f) (collectively, the “Assumed Plans”); provided, that
Purchaser may elect to treat any such Assumed Plan as an Excluded Asset and/or Excluded
Liability upon notice to Orchids no later than two (2) Business Days prior to Closing; provided,
further, that Purchaser shall not delete, and shall therefore assume, those Benefit Plans so
designated under the heading “To Be Assumed, Not Deleted”. Purchaser, on the one hand, and
Sellers, on the other, shall take such actions as are necessary and reasonably requested by the
other Party to cause Purchaser to assume sponsorship of the Assumed Plans as of the Closing and
to effect the transfer of all assets and benefit liabilities of the Assumed Plans together with all
related trust, insurance policies and administrative services agreements, effective as soon as
practicable following the Closing.

                (g)    On or before the Closing Date, Purchaser or one of its Affiliates shall,
subject to the right of exclusion contained in Section 7.1(a), offer employment and/or retention
arrangements to each of the Employees listed on Schedule 7.1(g) on the terms set forth on such
schedule (excluding the terms set forth under the “Buyer KERP” and “Buyer Consulting
Agreement” columns).

              (h)     Notwithstanding any provision to the contrary herein, on and following
the Closing Date, Purchaser may provide benefits (including any 401(k) plans) to the Transferred
Employees acceptable to the Purchaser in its sole discretion.

              (i)     On and following the Effective Date, Sellers and Purchaser shall
reasonably cooperate in all matters reasonably necessary to effect the transactions contemplated
by this Section 7.1, including exchanging information and data relating to workers’
compensation, employee benefits and employee benefit plan coverage, and in obtaining any
governmental approvals required hereunder, except as would result in the violation of any
applicable Law, including without limitation, any Law relating to the safeguarding of data
privacy.

               (j)    The provisions of this Section 7.1 are for the sole benefit of the Parties to
this Agreement only and shall not be construed to grant any rights, as a third party beneficiary or
otherwise, to any person who is not a Party to this Agreement, nor shall any provision of this


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Agreement be deemed to be the adoption of, or an amendment to, any employee benefit plan, as
that term is defined in Section 3(3) of ERISA, or otherwise to limit the right of Purchaser or
Sellers to amend, modify or terminate any such employee benefit plan. In addition, nothing
contained herein shall be construed to (i) prohibit any amendments to or termination of any
employee benefit plans or (ii) prohibit the termination or change in terms of employment of any
employee (including any Transferred Employee) as permitted under applicable Law. Nothing
herein, expressed or implied, shall confer upon any employee (including any Transferred
Employee) any rights or remedies (including, without limitation, any right to employment or
continued employment for any specified period) of any nature or kind whatsoever, under or by
reason of any provision of this Agreement.

        7.2     Reasonable Access to Records and Certain Personnel. Following consummation
of the Closing, so long as such access does not unreasonably interfere with Purchaser’s business
operations, Purchaser shall permit Sellers’ employees, agents, counsel and other professionals
employed in the Chapter 11 Cases, or otherwise retained by Sellers, reasonable access to the
financial and other books and records relating to the Acquired Assets or the Business (whether in
documentary or data form) for the purposes of facilitating the continuing administration of the
Chapter 11 Cases, preparing Tax Returns or responding to Tax related inquiries, and other such
administrative activities, which access shall include the right of such professionals to copy, at
Sellers’ expense, such documents and records as it may request in furtherance of the purposes
described above, subject in all respects to the provisions of Section 6.5 hereof. Purchaser may, in
its sole discretion, move any or all of the books and records relating to the Acquired Assets
and/or the Business to a location of its designation; provided, however, if Purchaser moves any
such documents or records from their present location, Sellers have the right to require Purchaser
to copy and deliver to Sellers or their professionals such documents and records as they may
request, but only to the extent Sellers or any such professional (a) furnishes Purchaser with
reasonably detailed written descriptions of the materials to be so copied and (b) Sellers advance
to Purchaser the costs and expenses thereof. The Parties acknowledge that Sellers shall have the
right to retain any documents and records provided to it by Purchaser, subject in all respects to
the provisions of Section 6.5 hereof. Following the Closing, Purchaser shall provide Sellers and
such of Sellers’ professionals as Sellers shall have from time to time designated, with reasonable
access to former management of the Business to the extent such persons are employed by
Purchaser at the relevant time during regular business hours to assist Sellers as set forth in this
Section 7.2, provided again that such access does not unreasonably interfere with Purchaser’s
business operations. Purchaser shall not dispose of any such documents and records except as
shall be consistent with applicable Law; provided, further, Purchaser shall provide Sellers with
reasonable advance written notice prior to the disposal of any such documents or records,
together with the opportunity for Sellers to preserve such documents or records at Sellers’ cost.

       7.3     Payment of Source Loan. At Closing (and in addition to the payment of the Cash
Portion), Purchaser shall pay in full all obligations of Orchids under the Source Loan.

                                        ARTICLE VIII

           CONDITIONS PRECEDENT TO OBLIGATIONS OF PURCHASER

       The obligations of Purchaser to consummate the Closing are subject to satisfaction (or, to


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the extent permitted by applicable Law, waiver by Purchaser) of the following conditions
precedent on or before the Closing Date.

         8.1    Representations and Warranties True as of Both Effective Date and Closing Date.
Each of the representations and warranties of Sellers (a) contained herein (other than as set forth
in clause (c) below) that are not qualified by “materiality” or “Material Adverse Effect” shall be
true and correct in all respects on and as of the Effective Date other than as would not reasonably
be expected to have, individually or in the aggregate, a Material Adverse Effect (except for such
representations and warranties that specifically relate to an earlier date, which shall be true and
correct in all material respects as of such earlier date) and on and as of the Closing Date with the
same force and effect as though made on and as of the Closing Date, (b) contained herein (other
than as set forth in clause (c) below) that are qualified by “materiality” or “Material Adverse
Effect” shall be true and correct in all respects on and as of the Effective Date (except for such
representations and warranties that specifically relate to an earlier date, which shall be true and
correct in all respects as of such earlier date) and on and as of the Closing Date with the same
force and effect as though made on and as of the Closing Date, and (c) contained in Section 4.1
(first sentence only), Section 4.2 and Section 4.5 shall be true and correct in all respects on and
as of the Effective Date (except for such representations and warranties that specifically relate to
an earlier date, which shall be true and correct in all respects as of such earlier date) and on and
as of the Closing Date with the same force and effect as though made on and as of the Closing
Date. Sellers shall also have performed or complied in all material respects with all of their
covenants and obligations hereunder which are required to be performed or complied with at or
prior to Closing.

     8.2      HSR Act. Any applicable waiting period (and any extension thereof) under the
HSR Act shall have expired or early termination thereof shall have been granted.

       8.3     No Court Orders. No court or other Governmental Body shall have issued,
enacted, entered, promulgated or enforced any Law or Order (that is final and non-appealable
and that has not been vacated, withdrawn or overturned) restraining, enjoining or otherwise
prohibiting the transactions contemplated by this Agreement.

       8.4    No Material Adverse Effect. Since the Effective Date, there shall not have been a
Material Adverse Effect.

       8.5     Ordinary Course Operations. From and after the Effective Date, Sellers shall have
continued to operate the Business in the Ordinary Course of Business in accordance with the
terms of this Agreement.

        8.6    Delivery of Acquired Assets. Each of the deliveries required to be made to
Purchaser pursuant to Section 10.2 shall have been so delivered and at Closing, Sellers shall
deliver possession of all Acquired Assets to Purchaser.

       8.7     Bankruptcy Court Approval. The Sale Order (a) shall have been entered by the
Bankruptcy Court and (b) shall not have been appealed or be subject to any pending appeal as of
the Closing Date, and no stay with respect thereto (including any stay under Bankruptcy Rule
6004(h)) shall be in effect as of the Closing Date.



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        8.8     Lease/Contract Assumption and Assignment. The Sale Order shall approve and
authorize the assumption and assignment of the Assigned Contracts over which the Bankruptcy
Court has jurisdiction. The Sale Order shall also provide that, and if and to the extent necessary
the Assigned Contracts shall be deemed modified to provide that (a) all the Assigned Contracts
are in full force and effect, (b) the assumption and assignment shall be free and clear of any
Claims of defaults, (c) Sellers shall be responsible for curing any and all defaults which may
exist at the time of assignment and restoring any deficiencies in Lease Deposits under any
Assigned Contract regarding any Assumed Leased Real Property, (d) the Assigned Contracts
regarding any Assumed Leased Real Property shall be transferred free and clear of all Liens,
Claims and Encumbrances, (e) all references in any Assigned Contract regarding any Assumed
Leased Real Property to such tradenames or “Tenant” or “Lessee” shall thereafter mean and refer
to Purchaser, (f) Purchaser may change its signs and perform alterations and remodeling to the
extent permitted in the applicable lease or as may be consistent with Purchaser’s method of
conduct of business under its tradenames and (g) the assumption and assignment contemplated
hereunder are otherwise permitted.

        8.9     Consents; Permits. To the extent not otherwise deemed consented to, approved,
licensed, permitted, ordered or authorized by entry of the Sale Order or otherwise as a result of
the Chapter 11 Cases, Sellers shall have received (and there shall be in full force and effect), in
each case in form and substance satisfactory to Purchaser, the material consents, approvals,
licenses, orders and other authorizations of, and shall have made (and there shall be in full force
and effect), to the extent required by Law, the filings, registrations, qualifications and
declarations with, any Person pursuant to any applicable Law or pursuant to any agreement,
order or decree to which any Seller is a party or to which it is subject, required in connection
with the transactions contemplated by this Agreement and the sale of the Acquired Assets,
including, without limitation, assignment of the Assigned Contracts regarding any Assumed
Leased Real Property and all third-party consents required for the sale, assignment, assumption
and/or delivery of the Acquired Assets or Assumed Liabilities of Orchids SC and delivery of
Orchids’ Fund Loan Agreement, dated as of December 29, 2015, by and between USBCDC
Investment Fund 158, LLC and Orchids, to Purchaser (or the applicable Designated Purchaer in
the case of the Acquired Assets and Assumed Liabilities of Orchids SC) hereunder, in all cases
on the same economic terms as exist per the terms of such agreements on the Effective Date
(including, for the avoidance of doubt, the consent of RDP 27 LLC, USBCDE SUB-CDE 146,
LLC, USBCDC Investment Fund 158, LLC and U.S. Bank National Association). Purchaser (or
the applicable Designated Purchaser) shall have received (and there shall be in full force and
effect), in each case in form and substance satisfactory to Purchaser, either by transfer or re-
issuance, all Permits required to operate the Business and Acquired Assets consistent in all
respects with historical operations, including all those set forth on Schedule 2.1(n).

        8.10 Corporate Documents. Sellers shall have delivered to Purchaser copies of the
resolutions of Sellers’ board of directors or similar governing body, as applicable, evidencing the
approval of this Agreement, the Chapter 11 Cases and the transactions contemplated hereby.

       8.11 Release of Liens. Purchaser shall have received such documents or instruments
as may be required, in Purchaser’s reasonable discretion, to demonstrate that, effective as of the
Closing Date, (a) the Acquired Assets are released from any and all Liens and (b) the Acquired



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Subsidiaries are released from any and all Liens and/or Claims related to or arising under the
Prepetition Credit Agreements.

        8.12 Title Policy. Purchaser shall have received policies of title insurance in form and
substance, and issued by a title company, reasonably satisfactory to Purchaser insuring the title
of Purchaser to the Acquired Owned Real Property, subject only to Permitted Encumbrances (the
“Title Policies”).

       8.13    [Reserved.].

       8.14    [Reserved.].

       8.15    [Reserved.].

       8.16    [Reserved.].

       8.17    [Reserved.].

       8.18    [Reserved.].

        8.19 Rejection of Employment and Retention Agreements. No later than one day prior
to the Closing, all employment agreements and retention agreements to which any Seller is a
party, including, for the avoidance of doubt, all the items listed on Schedule 8.19, shall have
been rejected pursuant to the Chapter 11 Cases.

       8.20 Mexican Antitrust Approval. Receipt of Mexican Antitrust Approval shall have
been obtained, if required.

                                           ARTICLE IX

              CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLERS

        The obligations of Sellers to consummate the Closing are subject to satisfaction (or, to
the extent permitted by applicable Law, waiver by Sellers) of the following conditions precedent
on or before the Closing Date:

        9.1     Representations and Warranties True as of Both Effective Date and Closing Date.
The representations and warranties of Purchaser (a) contained herein that are not qualified by
“materiality” or “material adverse effect” shall be true and correct in all material respects on and
as of the Effective Date, and shall also be true in all material respects on and as of the Closing
Date (except for representations and warranties which specifically relate to an earlier date, which
shall be true and correct in all material respects as of such earlier date) with the same force and
effect as though made by Purchaser on and as of the Closing Date, and (b) contained herein that
are qualified by “materiality” or “material adverse effect” shall be true and correct in all respects
on and as of the Effective Date, and on and as of the Closing Date with the same force and effect
as though made on and as of the Closing Date (except for representations and warranties which
specifically relate to an earlier date, which shall be true and correct in all material respects as of
such earlier date), in each case, except where the failure of such representations and warranties to


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be so true and correct has not had, and would not reasonably be expected to have, individually or
in the aggregate, a material adverse effect on Purchaser’s ability to consummate the transactions
contemplated by this Agreement. Purchaser shall also have performed or complied in all material
respects with all of its covenants and obligations hereunder which are to be completed or
complied with at or prior to Closing.

     9.2      HSR Act. Any applicable waiting period (and any extension thereof) under the
HSR Act shall have expired or early termination thereof shall have been granted.

       9.3     No Court Orders. No court or other Governmental Body shall have issued,
enacted, entered, promulgated or enforced any Law or Order (that is final and non-appealable
and that has not been vacated, withdrawn or overturned) restraining, enjoining or otherwise
prohibiting the transactions contemplated by this Agreement.

        9.4     Bankruptcy Condition. The Sale Order shall have been entered by the Bankruptcy
Court and no stay with respect thereto (including any stay under Bankruptcy Rule 6004(h)) shall
be in effect as of the Closing Date.

        9.5    Corporate Documents. Purchaser shall have delivered to Sellers copies of the
resolutions of Purchaser’s board of directors evidencing the approval of this Agreement and the
transactions contemplated hereby.

       9.6     Mexican Antitrust Approval. Receipt of Mexican Antitrust Approval shall have
been obtained, if required.

                                           ARTICLE X

                                            CLOSING

        10.1 Closing. Unless otherwise mutually agreed by the Parties, the closing of the
purchase and sale of the Acquired Assets, the payment of the Purchase Price, the assumption of
the Assumed Liabilities and the consummation of the other transactions contemplated by this
Agreement (the “Closing”) shall take place on the second (2nd) Business Day following full
satisfaction or due waiver (by the Party entitled to the benefit of such condition) of the closing
conditions set forth in ARTICLE VIII and ARTICLE IX (other than conditions that by their
terms or nature are to be satisfied at the Closing, but subject to the satisfaction or waiver of those
conditions at the Closing), or at such other place and time as the Parties may agree, provided that
the Purchaser shall not be required to consummate the Closing prior to 21 days after the Sale
Order is entered.

        10.2 Deliveries by Sellers. At or prior to the Closing, Sellers will deliver, in addition to
the other documents contemplated by this Agreement, the following to Purchaser:

               (a)     a bill of sale in the form of Exhibit A duly executed by Sellers;

             (b)    an assignment and assumption agreement in the form of Exhibit B (the
“Assignment and Assumption Agreement”) duly executed by Sellers;


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               (c)    a certified copy of the Sale Order;

               (d)     copies of all instruments, certificates, documents and other filings (if
applicable) necessary to release the Acquired Assets from all Encumbrances, including any
applicable UCC termination statements and releases of mortgages, all in form and substance
reasonably satisfactory to Purchaser;

               (e)     copies of all instruments, certificates, documents and other filings (if
applicable) necessary to release the Acquired Subsidiaries from any and all Liens and/or Claims
related to or arising under the Prepetition Credit Agreements, all in form and substance
reasonably satisfactory to Purchaser;

                 (f)   copies of the waivers, consents and approvals for the Assigned Contracts,
where such waivers, consents and approvals are required to operate the Business in the ordinary
course, all in form and substance reasonably satisfactory to Purchaser;

               (g)     an officer’s certificate, dated as of the Closing Date, executed by a duly
authorized officer of each Seller certifying that the conditions set forth in Section 8.1 have been
satisfied;

               (h)     a copy of the resolutions adopted by the board of directors (or similar
governing body) of each Seller evidencing the authorization of the execution and delivery of this
Agreement and the consummation of the transactions contemplated hereby, certified by an
authorized officer of each Seller;

              (i)     an instrument of assumption and assignment of the Assigned Contracts
regarding Assumed Leased Real Property substantially in the form of Exhibit C (the
“Assignment and Assumption of Leases”), duly executed by each Seller, in form for recordation
with the appropriate public land records to the extent the underlying Lease is of record;

                (j)     an Intellectual Property Assignment and Assumption Agreement
substantially in the form of Exhibit D (the “IP Assignment and Assumption Agreement”), duly
executed by each Seller;

               (k)     possession of each Owned Real Property, together with duly executed and
acknowledged special warranty (or jurisdictional equivalent) deeds for each Owned Real
Property conveying the Owned Real Property subject only to Permitted Encumbrances, and any
existing surveys, legal descriptions and title policies that are in the possession of Sellers;

               (l)    possession of the Acquired Assets and the Business;

                (m)    stock powers or similar instruments of transfer, duly executed by Orchids,
transferring all of the capital stock or other equity interests of Orchids Mexico DE Holdings,
LLC to Purchaser (it being understood that such instruments shall address the requirements
under applicable Law local to the jurisdiction of organization of Orchids Mexico DE Holdings,
LLC necessary to effect and make enforceable the transfer to Purchaser of the legal and
beneficial title to such capital stock or other equity interests), whereby Purchaser shall have
acquired directly or indirectly all of the Acquired Subsidiaries;


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             (n)     a certificate duly executed by each Seller, in the form prescribed under
Treasury Regulation Section 1.1445-2(b)(2)(iv);

                (o)     such other bills of sale, deeds, endorsements, assignments and other good
and sufficient instruments of conveyance and transfer, in form and substance reasonably
satisfactory to Purchaser, as Purchaser may reasonably request to vest in Purchaser all of Sellers’
right, title and interest of Sellers in, to or under any or all the Acquired Assets, including all
Owned Real Property;

               (p)     such ordinary and customary documents (including any factually accurate
affidavits) as may be required by any title company or title insurance underwriter to enable
Purchaser to obtain the Title Policies;

                (q)     the most recent final Phase I environmental site assessment reports and
any Phase II environmental site assessments (or similar reports) for the Acquired Owned Real
Property and Assumed Leased Real Property, to the extent in existence, and any other documents
identified in clause (e) of Section 4.19; and

               (r)     such other documents as Purchaser may reasonably request that are not
inconsistent with the terms of this Agreement and customary for a transaction of this nature and
necessary to evidence or consummate the transactions contemplated by this Agreement.

       10.3       Deliveries by Purchaser. At the Closing, Purchaser will deliver the following:

                  (a)    the Cash Portion, in accordance with Section 3.2;

                  (b)    the Assignment and Assumption Agreement duly executed by Purchaser;

                  (c)    the Assignment and Assumption of Leases duly executed by Purchaser;

                  (d)    the IP Assignment and Assumption Agreement, executed by Purchaser;

                  (e)    satisfactory evidence of payment of the Cure Amount in accordance with
Section 2.3(b);

               (f)    an officer’s certificate, dated as of the Closing Date, executed by a duly
authorized officer of Purchaser certifying that the conditions set forth in Section 9.1 have been
satisfied; and

               (g)     such other documents as Sellers may reasonably request that are not
inconsistent with the terms of this Agreement and customary for a transaction of this nature and
necessary to evidence or consummate the transactions contemplated by this Agreement.




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                                        ARTICLE XI

                                      TERMINATION

       11.1 Termination of Agreement. This Agreement and the transactions contemplated
hereby may (at the option of the Party having the right to do so or by operation of this
Agreement) be terminated at any time on or prior to the Closing Date:

             (a)     Mutual Consent. By mutual written consent of Purchaser and Sellers.

             (b)     Termination by Purchaser or Sellers.

                     (i)     By Purchaser or Sellers, if the Bankruptcy Court or other court of
      competent jurisdiction or a governmental, quasi-governmental, regulatory or
      administrative department, agency, commission or authority shall have issued an order,
      decree or ruling or taken any other Action (which order, decree, ruling or Action, Sellers,
      upon request by the Purchaser, shall use reasonable best efforts to lift or dissolve), in
      each case restraining, enjoining or otherwise prohibiting the consummation of the
      transactions contemplated by this Agreement or attempting to do the same; provided,
      however, that the right to terminate this Agreement pursuant to this Section 11.1(b)(i)
      shall not be available to Purchaser or Sellers if the Purchaser or Sellers, respectively,
      breach of any of their respective representations, warranties, covenants or agreements
      contained herein and such breach results in such ruling or Order;

                     (ii)   by Purchaser or Sellers, if the transactions contemplated hereby
      shall not have been consummated on or prior to September 30, 2019 (which may be
      extended by 60 days by the Purchaser in order to satisfy the conditions set forth in
      Section 8.2 and/or Section 8.9); provided, however, that such right to terminate this
      Agreement shall not be available to any Party whose failure to fulfill any of its covenants
      or obligations under this Agreement has been the cause of, or resulted in, the failure of
      the transactions contemplated hereby to be consummated on or before such date; or

                   (iii) by Purchaser or Sellers, prior to the entry of the Sale Order if the
      Bankruptcy Court enters an Order approving an Alternative Transaction.

             (c)     Termination by Purchaser.

                      (i)    By Purchaser, if a breach of any representation, warranty, covenant
      or agreement on the part of Sellers set forth in this Agreement shall have occurred that
      would cause any of the conditions set forth in ARTICLE VIII not to be satisfied, and
      such breach is incapable of being cured or, if capable of being cured, Sellers have failed
      to cure such breach within ten (10) days of receipt of written notification thereof or which
      by its nature or timing cannot be cured within such time period;

                   (ii)    by Purchaser, if (A) the Bid Procedures Order has been amended,
      supplemented or otherwise modified in any manner adverse to the Purchaser, (B) the
      Bankruptcy Court issues an order granting leave to any Person to commence an appeal of


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       the Bid Procedures Order, or (C) following its entry, the Bid Procedures Order shall fail
       to be in full force and effect or shall have been stayed, reversed, modified or amended in
       any respect without the prior written consent of the Purchaser;

                      (iii) by Purchaser, if the DIP Lenders declare either a default or event
       of default under the DIP Facility;

                       (iv)   by Purchaser, if the Chapter 11 Cases are dismissed or converted to
       a liquidation proceeding under Chapter 7 of the Bankruptcy Code;

                      (v)     by Purchaser, if the Bankruptcy Court enters any Order
       inconsistent with the Bid Procedures Order, the Sale Order or the Acquisition;

                      (vi)   by Purchaser, if any creditor of any Seller obtains a final and
       unstayed Order of the Bankruptcy Court granting relief from the stay to foreclose on any
       portion of the Acquired Assets in excess of $100,000, in the aggregate;

                      (vii)   [Reserved.];

                      (viii) by Purchaser, if the Bankruptcy Court has not entered the Sale
       Order approving the Acquisition by Purchaser on or prior to July 16, 2019, or if such Sale
       Order has been entered by such date but is stayed or stayed pending appeal or has been
       reversed or vacated, or if such Sale Order has been entered by such date but has been
       amended, supplemented or otherwise modified in a manner adverse to Purchaser and
       without the prior written consent of Purchaser, or if such Sale Order has been entered by
       such date but any Seller or any other Person takes any Action seeking to void or modify
       such Sale Order;

                      (ix)    [Reserved.];

                      (x)     [Reserved.]; or

                      (xi)    by Purchaser, if a Material Adverse Effect occurs.

               (d)    Termination by Sellers. By Sellers, if a breach of any representation,
warranty, covenant or agreement on the part of Purchaser set forth in this Agreement shall have
occurred that would cause any of the conditions set forth in ARTICLE IX not to be satisfied, and
such breach is incapable of being cured or, if capable of being cured, Purchaser has failed to cure
such breach within ten (10) days of receipt of written notification thereof or which by its nature
or timing cannot be cured within such time period.

        11.2 Procedure and Effect of Termination. If this Agreement is terminated pursuant to
Section 11.1, written notice thereof shall forthwith be given to the other Parties to this
Agreement and all further obligations of the Parties under this Agreement shall terminate;
provided, however, that the Parties shall, in all events, remain bound by and continue to be
subject to the provisions set forth in this ARTICLE XI.

       11.3    [Reserved.].


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        11.4 Breach by Purchaser. If termination of this Agreement is due solely to a material
breach by Purchaser pursuant to Section 11.1(d) hereof, Sellers, as their sole remedy, shall be
entitled to liquidated damages in the amount of the Deposit (plus interest thereon). The Parties
hereby agree that the foregoing dollar amount is a fair and reasonable estimate of the total
detriment that Sellers would suffer in the event of Purchaser’s default and failure to complete the
transaction hereunder.

       11.5 Deposit. In the event of the termination of this Agreement solely pursuant to
Sections 11.1(a), 11.1(b), or 11.1(c), Orchids shall direct the Escrow Agent to return the Deposit
(together with any accrued interest thereon) to Purchaser. In the event of the termination of this
Agreement solely pursuant to Section 11.1(d), Orchids shall direct the Escrow Agent to pay the
Deposit (together with any accrued interest thereon) to Sellers pursuant to Section 11.4 hereof.

                                         ARTICLE XII

                                      MISCELLANEOUS

      12.1 Expenses. Except as otherwise provided herein, each Party hereto shall bear its
own expenses with respect to the transactions contemplated hereby.

        12.2 Survival of Representations and Warranties; Survival of Confidentiality. The
Parties agree that the representations and warranties contained in this Agreement shall expire
upon the Closing Date. Except as otherwise provided herein, the Parties agree that the covenants
contained in this Agreement to be performed at or after the Closing shall survive in accordance
with the terms of the particular covenant or until fully performed.

        12.3 Amendment; Waiver. This Agreement may be amended, supplemented or
changed, and any provision hereof may be waived, only by written instrument making specific
reference to this Agreement signed by the Party against whom enforcement of any such
amendment, supplement, modification or waiver is sought; provided that, notwithstanding the
foregoing, the Acquired Assets, Assigned Contracts and the Schedules hereto may be amended
in accordance with Section 2.6 and Section 6.9(b). No action taken pursuant to this Agreement,
including any investigation by or on behalf of any Party, shall be deemed to constitute a waiver
by the Party taking such action of compliance with any representation, warranty, condition,
covenant or agreement contained herein. The waiver by any Party of a breach of any provision of
this Agreement shall not operate or be construed as a further or continuing waiver of such breach
or as a waiver of any other or subsequent breach. No failure on the part of any Party to exercise,
and no delay in exercising, any right, power or remedy hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of such right, power or remedy by such Party
preclude any other or further exercise thereof or the exercise of any other right, power or remedy.
All remedies hereunder are cumulative and are not exclusive of any other remedies provided by
applicable Law.

       12.4 Notices. Any notice, request, instruction or other document to be given hereunder
by a Party hereto shall be in writing and shall be effective (i) when received if given in person or
sent by email, or (ii) when delivered by a nationally known commercial courier service (such as



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Fed Ex), in each such case, if not done on a Business Day, then on the next succeeding Business
Day:

              (A)    If to Sellers, addressed as follows:
                     Orchids Paper Products Company
                     201 Summit View Dr.
                     Suite 110
                     Brentwood, TN 37027
                     Attention: Jeffrey S. Schoen
                     Email: jsschoen@orchidspaper.com

              With a copy (which shall not constitute notice) to:

                     Polsinelli PC
                     150 N. Riverside Plaza
                     Suite 3000
                     Chicago, IL 60606
                     Attention: Donald E. Figliulo
                     Attention: Jerry L. Switzer
                     Email: dfigliulo@polsinelli.com
                     Email: jswitzer@polsinelli.com

              (B)    If to Purchaser, addressed as follows:
                     c/o Cascades Tissue Group, a division of Cascades Canada ULC
                     77, boulevard Marie-Victorin
                     Candiac, Québec J5R 1C2
                     Attention: Jean-David Tardif, President and Chief Operating Officer
                     Tel: (450) 461-8603
                     E-mail: jean-david_tardif@cascades.com

                             and
                     Attn: Pierre Brochu, Vice President, Legal Affairs
                     Tel: (450) 444-3409
                     E-mail: pbrochu@cascades.com

              With a copy (which shall not constitute notice) to:

                     K&L Gates LLP
                     599 Lexington Avenue
                     New York, NY 10022
                     Attn: Sandy K. Feldman, Esq.
                     Tel: (212) 536-4089
                     E-mail: sandy.feldman@klgates.com

                             and




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                       K&L Gates LLP
                       State Street Financial Center, One Lincoln Street
                       Boston, MA 02111-2950
                       Attn.: James A. Wright III, Esq.
                       Tel: (617) 261-3193
                       E-Mail: james.wright@klgates.com

or to such other individual or address as a Party hereto may designate for itself by notice given as
herein provided.

       12.5 Effect of Investigations. Any due diligence review, audit or other investigation or
inquiry undertaken or performed by or on behalf of Purchaser shall not limit, qualify, modify or
amend the representations, warranties and covenants of, and indemnities by, Sellers made or
undertaken pursuant to this Agreement, irrespective of the knowledge and information received
(or which should have been received) therefrom by Purchaser.

       12.6    Counterparts; Electronic Signatures.

              (a)   This Agreement may be executed simultaneously in counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument.

                (b)     The exchange of copies of this Agreement and of signature pages by
facsimile transmission (whether directly from one facsimile device to another by means of a dial-
up connection or whether mediated by the worldwide web), by electronic mail in “portable
document format” (“.pdf”) form, or by any other electronic means intended to preserve the
original graphic and pictorial appearance of a document, or by combination of such means, shall
constitute effective execution and delivery of this Agreement as to the Parties and may be used in
lieu of the original Agreement for all purposes. Signatures of the Parties transmitted
electronically shall be deemed to be their original signatures for all purposes.

       12.7 Headings. The headings preceding the text of Articles and Sections of this
Agreement and the Schedules thereto are for convenience only and shall not be deemed part of
this Agreement.

      12.8 Applicable Law and Jurisdiction. THIS AGREEMENT (AND ANY
ANCILLARY DOCUMENT) SHALL BE GOVERNED BY AND CONSTRUED AND
ENFORCED IN ACCORDANCE WITH THE LAWS OF THE STATE OF DELAWARE
APPLICABLE TO AGREEMENTS MADE AND TO BE PERFORMED WHOLLY WITHIN
SUCH JURISDICTION. PURCHASER AND SELLERS FURTHER AGREE THAT THE
BANKRUPTCY COURT SHALL HAVE JURISDICTION OVER ALL DISPUTES AND
OTHER MATTERS RELATING TO (a) THE INTERPRETATION AND ENFORCEMENT OF
THIS AGREEMENT OR ANY ANCILLARY DOCUMENT, (b) THE ACQUIRED ASSETS
AND/OR ASSUMED LIABILITIES AND PURCHASER EXPRESSLY CONSENTS TO AND
AGREES NOT TO CONTEST SUCH JURISDICTION AND/OR (c) ANY DISPUTES
RELATED TO PURCHASER’S ASSUMPTION AND PAYMENT OF THE PRE-CLOSING




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LIABILITIES ASSOCIATED WITH ACCOUNTS PAYABLE PURSUANT TO SECTION
2.3(c).

        12.9 Binding Nature; Assignment. This Agreement shall be binding upon and inure to
the benefit of the Parties hereto and their respective successors and permitted assigns, but neither
this Agreement nor any of the rights, interest or obligations hereunder shall be assigned by any
of the Parties hereto without prior written consent of the other Parties, provided that, Purchaser
may grant a security interest in its rights and interests hereunder to its third party lender(s).
Nothing contained herein, express or implied, is intended to confer on any Person other than the
Parties hereto or their successors and assigns, any rights, remedies, obligations or liabilities
under or by reason of this Agreement.

        12.10 Designated Purchasers. In connection with the Closing, notwithstanding Section
12.9 or anything to the contrary contained herein, Purchaser shall be entitled to designate, in
accordance with the terms of this paragraph, one or more Subsidiaries or Affiliates of Purchaser
to (a) purchase specified Acquired Assets (including specified Assigned Contracts) and pay the
corresponding Purchase Price amount and Cure Amount, (b) assume specified Assumed
Liabilities, (c) employ specified Transferred Employees on and after the Closing Date,
(d) perform any of the other covenants and agreements hereunder to be performed by Purchaser
and (e) be entitled to the rights and benefits afforded to Purchaser hereunder (any such
Subsidiary or Affiliate of Purchaser that shall be designated in accordance with this clause, a
“Designated Purchaser”). Upon any such designation of a Designated Purchaser, Purchaser shall
nevertheless remain jointly and severally responsible to Sellers with respect to the payment of
the corresponding Purchase Price, Cure Amount, the specified Assumed Liabilities and
employment of the specified Transferred Employees and, from and after such designation,
Purchaser shall continue to have Liability or responsibility therefor. Without limiting the
provision of the immediately preceding sentence, any reference to Purchaser made in this
Agreement in respect of any right, obligation, purchase, assumption or employment referred to in
this paragraph shall be deemed a reference to the appropriate Designated Purchaser, if any, with
respect to the applicable obligation or right. All obligations of Purchaser and any Designated
Purchaser shall be joint and several. For the avoidance of doubt, no designation of a Designated
Purchaser hereunder shall expand or otherwise affect any limitation on Purchaser’s obligations
hereunder, it being understood that such limitations shall apply to the aggregate Liabilities of
Purchaser and any Designated Purchaser(s) hereunder. The above designations shall be made by
Purchaser by way of a written notice to be delivered to Sellers in no event later than two (2)
Business Days prior to Closing. In addition, the Parties agree to modify any Closing deliverables
in accordance with the foregoing designation. Any Designated Purchasers are intended third
party beneficiaries of this Agreement, and this Agreement may be enforced by such Designated
Purchasers.

         12.11 No Third Party Beneficiaries. Except as otherwise provided in Section 12.10 and
Section 6.23, this Agreement is solely for the benefit of the Parties hereto and their respective
affiliates and no provision of this Agreement shall be deemed to confer upon third parties any
remedy, Claim, liability, reimbursement, Claim of Action or other right.




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       12.12 Tax Matters.

               (a)    Any sales, use, purchase, transfer, franchise, deed, fixed asset, stamp,
documentary stamp, use or similar fees or other Taxes, governmental charges and recording
charges (including any interest and penalty thereon) which may be payable by reason of the sale
of the Acquired Assets or the assumption of the Assumed Liabilities under this Agreement or the
transactions contemplated hereby (the “Transfer Taxes”) shall be borne by Purchaser to the
extent not exempt under the Bankruptcy Code, as applicable to the transfer of the Acquired
Assets pursuant to this Agreement. Purchaser shall properly file on a timely basis all necessary
Tax Returns and other documentation with respect to any Transfer Tax and provide to Sellers
evidence of payment of all Transfer Taxes.

               (b)     In the case of any taxable period that begins before, and ends after, the
Closing Date (a “Straddle Period”), (i) Taxes imposed on the Acquired Assets that are based
upon or related to income or receipts or imposed on a transaction basis (including all related
items of income, gain, deduction or credit) will be deemed equal to the amount that would be
payable if the Tax year or period ended on the Closing Date, and (ii) any real property, personal
property, ad valorem and similar Taxes allocable to the portion of such Straddle Period ending
with the end of the day on the Closing Date shall be equal to the amount of such Taxes for the
entire Straddle Period multiplied by a fraction, the numerator of which is the number of days
during the Straddle Period that is in the Pre-Closing Tax Period and the denominator of which is
the number of days in the entire Straddle Period, in each of (i) and (ii) such amounts shall be the
responsibility of Sellers (and, for the avoidance of doubt, such amounts shall be an Excluded
Liability for purposes of clause (ii) of Section 2.4(d)), provided, however, that in any event
Purchaser shall pay the Property Tax Amount pursuant to Section 3.2.

                (c)     Purchaser shall prepare and file (or cause to be prepared and filed) all Tax
Returns in respect of the Acquired Assets required to be filed after the Closing Date. Prior to
filing any such Tax Returns that relate to a taxable period or portion thereof ending on or prior to
the Closing Date, Purchaser shall provide a draft thereof to Sellers for Sellers’ review, comment
and approval (such approval not to be unreasonably withheld or delayed) at least fifteen (15)
days before the due date of such Tax Returns, unless otherwise required by applicable Law.
Purchaser shall consider in good faith any comments provided by Sellers to such Tax Returns,
and Purchaser shall make any revisions to such Tax Returns as are reasonably requested by
Sellers. To the extent any Taxes reflected on any such Tax Return are an Excluded Liability,
Sellers shall pay to Purchaser the amount of such liability within ten (10) days of receiving
notice from Purchaser that such Tax Return has been filed or that Purchaser has paid such
liability, except to the extent such Taxes were paid by Sellers to the applicable Governmental
Body prior to the filing of such Tax Return.

                (d)   Cooperation on Tax Matters. Purchaser shall make available to Sellers,
and Sellers shall make available to Purchaser, (i) such records, personnel and advisors as any
such Party may require for the preparation of any Tax Returns required to be filed by Sellers or
Purchaser, as the case may be, and (ii) such records, personnel and advisors as Sellers or
Purchaser may require for the defense of any audit, examination, administrative appeal, or
litigation of any Tax Return in which Sellers or Purchaser was included. Sellers shall cooperate
with Purchaser, and shall make available to Purchaser such records, personnel and advisors as is


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reasonably necessary for Purchaser, in determining the Tax attributes of Sellers and their
Subsidiaries and whether to consummate the Closing as a transaction treated as a reorganization
under Section 368 of the code or a taxable sale under Section 1001 of the Code for U.S. federal
income tax purposes.

                 (e)    Allocation of Purchase Price. As soon as reasonably practicable and in no
event later than sixty (60) days after the Closing Date, Purchaser shall provide Sellers with a
draft allocation of the Purchase Price for federal income tax purposes, including any liabilities
properly included therein among the Acquired Assets and the agreements provided for herein, for
federal, state and local income tax purposes (the “Initial Allocation”). Within forty-five (45) days
of the receipt of the Initial Allocation, Sellers shall deliver a written notice (the “Objection
Notice”) to Purchaser, setting forth in reasonable detail those items in the Initial Allocation that
Sellers disputes. Sellers may make reasonable inquiries of Purchaser and its accountants and
employees relating to the Initial Allocation, and Purchaser shall use reasonable efforts to cause
any such accountants and employees to cooperate with, and provide such requested information
to, Sellers in a timely manner. If prior to the conclusion of such forty-five (45)-day period,
Sellers notify Purchaser in writing that they will not provide any Objection Notice or if Sellers
do not deliver an Objection Notice within such forty-five (45)-day period, then Purchaser’s
proposed Initial Allocation shall be deemed final, conclusive and binding upon each of the
Parties hereto. Within thirty (30) days of Sellers’ delivery of the Objection Notice, Sellers and
Purchaser shall attempt to resolve in good faith any disputed items, and failing such resolution,
the unresolved disputed items shall be referred for final binding resolution to an Arbitrating
Accountant. The fees and expenses of the Arbitrating Accountant shall be paid 50% by
Purchaser and 50% by Sellers. Such determination by the Arbitrating Accountant shall be (i) in
writing, (ii) furnished to Purchaser and Sellers as soon as practicable (and in no event later than
thirty (30) days after the items in dispute have been referred to the Arbitrating Accountant),
(iii) made in accordance with the principles set forth in this Section 12.12(e), and (iv) non-
appealable and incontestable by Purchaser and Sellers. As used herein, the “Allocation” means
the allocation of the Purchase Price, the Assumed Liabilities and other related items among the
Acquired Assets and the agreements provided for herein as finally agreed between Purchaser
and Sellers or ultimately determined by the Arbitrating Accountant, as applicable, in accordance
with this Section 12.12(e). The Allocation shall be prepared in accordance with Section 1060 of
the Code and the Treasury Regulations thereunder (and any similar provision of state, local or
foreign Law, as appropriate). Purchaser and Sellers shall each report the federal, state and local
income and other Tax consequences of the transactions contemplated hereby in a manner
consistent with the Allocation, including, if applicable, the preparation and filing of Forms 8594
under Section 1060 of the Code (or any successor form or successor provision of any future Tax
Law) with their respective federal income Tax Returns for the taxable year which includes the
Closing Date, and neither will take any position inconsistent with the Allocation unless
otherwise required under applicable Law. Sellers shall provide Purchaser and Purchaser shall
provide Sellers with a copy of any information required to be furnished to the Secretary of the
Treasury under Code Section 1060.

              (f)    Withholding. Purchaser, and any Person acting on its behalf, shall be
entitled to deduct and withhold from the consideration otherwise payable pursuant to this
Agreement to any Seller or any other Person such amounts as Purchaser is required to deduct and
withhold under the Code, or any Tax law, with respect to the making of such payment; provided


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that Purchaser shall consult with the affected Sellers or other Persons in good faith prior to
making such withholding or deduction and the Parties hereto shall reasonably cooperate to
reduce or eliminate any such amounts. To the extent that amounts are so withheld, such withheld
amounts shall be treated for all purposes of this Agreement as having been paid to Sellers or the
Person in respect of whom such deductions and withholding was made, as the case may be.

       12.13 Construction.

                (a)     The information contained in the Schedules is disclosed solely for the
purposes of this Agreement and may include items or information not required to be disclosed
under this Agreement, and no information contained in any Schedule shall be deemed to be an
admission by any Party hereto to any third Person of any matter whatsoever, including an
admission of any violation of any Laws or breach of any agreement. No information contained in
any Schedule shall be deemed to be material (whether individually or in the aggregate) to the
Business, assets, liabilities, financial position, operations, or results of operations of Sellers nor
shall it be deemed to give rise to circumstances which may result in a Material Adverse Effect, in
each case solely by reason of it being disclosed. Information contained in a Section, subsection
or individual Schedule (or expressly incorporated therein) shall qualify the representations and
warranties made in the identically numbered Section or, if applicable, subsection of this
Agreement and all other representations and warranties made in any other Section, subsection or
Schedule to the extent its applicability to such Section, subsection or Schedule is reasonably
apparent on its face. References to agreements in the Schedules are not intended to be a full
description of such agreements, and all such disclosed agreements should be read in their
entirety, and nothing disclosed in any Schedule is intended to broaden any representation or
warranty contained in ARTICLE IV or ARTICLE V.

              (b)      References in ARTICLE IV or ARTICLE V to documents or other
materials “provided” or “made available” to Purchaser or similar phrases mean that such
documents or other materials were present (and available for viewing by Purchaser and its
Representatives) in the online data room hosted at www.datasiteone.merrillcorp.com on behalf of
Sellers for purposes of the transactions contemplated by this Agreement at least three (3)
Business Days prior to the Effective Date.

        12.14 Entire Understanding. This Agreement, together with the Ancillary Documents,
set forth the entire agreement and understanding of the Parties hereto in respect to the
transactions contemplated hereby, and this Agreement and the Ancillary Documents hereto
supersede all prior agreements, arrangements and understandings relating to the subject matter
hereof. There have been no representations or statements, oral or written, that have been relied
on by any Party hereto, except those expressly set forth in this Agreement or in any Ancillary
Document hereto.

        12.15 Bulk Sales Laws. Each Party hereby waives compliance by the Parties with the
“bulk sales,” “bulk transfers” or similar Laws and all other similar Laws in all applicable
jurisdictions in respect of the transactions contemplated by this Agreement or any Ancillary
Document.




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       12.16 No Presumption Against Drafting Party. Each of the Purchaser and Sellers
acknowledge that each Party to this Agreement has been represented by legal counsel in
connection with this Agreement and the transactions contemplated by this Agreement.
Accordingly, any rule or law or any legal decision that would require interpretation of any
claimed ambiguities in this Agreement against the drafting Party has no application and is
expressly waived.

       12.17 No Punitive Damages. The Parties hereto expressly acknowledge and agree that
no Party hereto shall have any liability under any provision of this Agreement for any punitive
damages relating to the breach or alleged breach of this Agreement.

        12.18 Time of Essence. Time is of the essence with regard to all dates and time periods
set forth or referred to in this Agreement. When calculating the period of time before which,
within which or following which any act is to be done or step taken pursuant to this Agreement,
the date that is the reference date in calculating such period shall be excluded. If the last day of
such period is a non-Business Day, the period in question shall end on the next succeeding
Business Day.

        12.19 Severability. Wherever possible, each provision or portion of any provision of this
Agreement shall be interpreted in such manner as to be effective and valid under applicable Law,
but if any provision or portion of any provision of this Agreement is held to be invalid, illegal or
unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision of portion of any
provision in such jurisdiction, and this Agreement shall be reformed, construed and enforced

        12.20 Broker Commissions. Except as arising pursuant to Section 2.3(h), Purchaser and
Sellers agree that if any Claims for commissions, fees, or other compensation, including, without
limitation, brokerage fees, finders fees, or commissions are ever asserted against Purchaser or
Sellers in connection with the transaction, all such Claims shall be handled and paid by the Party
whose actions form the basis of such Claim.

                               [SIGNATURE PAGES FOLLOW.]




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       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
and delivered on the date first above written

                                             PURCHASER:


                                             Cascades Holding US Inc.


                                             _______________________________________


                                             By: Robert F. Hall
                                             Its: Authorized Signatory




                      [Signature Page to Asset Purchase Agreement]
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                                SELLERS:


                                Orchids Paper Products Company


                                _______________________________________


                                By: Jeffrey S. Schoen
                                Its: President and Chief Executive Officer


                                Orchids Paper Products Company of South
                                Carolina


                                _______________________________________


                                By: Jeffrey S. Schoen
                                Its: President


                                Orchids Lessor SC, LLC


                                _______________________________________


                                By: Jeffrey S. Schoen
                                Its: President




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                       EXHIBIT A

                      BILL OF SALE



                       [See attached]




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                                  FORM OF BILL OF SALE

       This BILL OF SALE (this “Bill of Sale”) is executed as of [•], 2019 and is by Orchids
Paper Products Company, a Delaware corporation, Orchids Paper Products Company of South
Carolina, a Delaware corporation and Orchids Lessor SC, LLC, a South Carolina limited liability
company (collectively, the “Sellers”) in favor of [Cascades Holding US Inc., a Delaware
corporation]1 (“Purchaser”).

    This Bill of Sale is being delivered in connection with the Closing under the Asset Purchase
Agreement dated as of [•], 2019, by and among the Sellers, certain affiliates of the Sellers and
Purchaser (as amended, the “Asset Purchase Agreement”). Capitalized terms used but not
defined in this Bill of Sale have the meanings given such terms in the Asset Purchase
Agreement. [It is acknowledged and agreed that Purchaser is a “Designated Purchaser” as
defined in, and pursuant to, Section 12.10 of the Asset Purchase Agreement.]2

                                                 I.

                                         BILL OF SALE

        In accordance with and subject to the terms of the Asset Purchase Agreement and the
Sale Order, and for the consideration set forth in the Asset Purchase Agreement, the receipt and
sufficiency of which Sellers and Purchaser hereby acknowledge, Sellers do hereby sell, transfer,
assign, convey and deliver to Purchaser, effective as of the Closing, all of Sellers’ rights, titles
and interests in, to and under the Acquired Assets (other than such Acquired Assets transferred
pursuant to any other Conveyance Document), free and clear of all Encumbrances other than
Permitted Encumbrances (as defined in the Asset Purchase Agreement), as provided in Section
2.1 of the Asset Purchase Agreement.

                                                II.

                                      MISCELLANEOUS

        2.1.   Asset Purchase Agreement. This Bill of Sale is expressly made subject to the
terms of the Asset Purchase Agreement. The delivery of this Bill of Sale shall not amend, affect,
enlarge, diminish, supersede, modify, replace, rescind, waive or otherwise impair any of the
representations, warranties, covenants, terms or provisions of the Asset Purchase Agreement or
any of the rights, remedies or obligations of Sellers or Purchaser provided for therein or arising
therefrom in any way, all of which shall remain in full force and effect in accordance with their
terms. The representations, warranties, covenants, terms and provisions contained in the Asset
Purchase Agreement shall not be merged with or into this Bill of Sale but shall survive the
execution and delivery of this Bill of Sale to the extent, and in the manner, set forth in the Asset
Purchase Agreement. In the event of any conflict or inconsistency between the terms of the Asset


1
  Note to Draft: A separate bill of sale will be needed for each Designated Purchaser.
Appropriate changes (e.g. the applicable Seller(s) and Purchaser) to be made to this form.
2
  Note to Draft: To be included as applicable.


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Purchase Agreement and the terms of this Bill of Sale, the terms of the Asset Purchase
Agreement shall control.

       2.2.    Further Assurances.

               (a)     From time to time after the Closing, as and when requested by any Seller
or Purchaser and at such requesting party’s expense, any other such party will, and will cause its
respective Affiliates to, execute and deliver, or cause to be executed and delivered, all such
documents and instruments and will take, or cause to be taken, all such further or other actions as
such requesting party may reasonably deem necessary or desirable to evidence and effectuate the
transactions contemplated by this Bill of Sale.

                (b)     Each Seller hereby irrevocably designates, makes, constitutes and appoints
Purchaser, its successors and permitted assigns, as Seller’s true and lawful attorney (and agent-
in-fact), with full power of substitution, in Seller’s name and stead, on behalf of and for the
benefit of Purchaser, its successors and permitted assigns, to: (i) demand and receive any and all
of the Acquired Assets and to give receipts and releases for and in respect of the Acquired
Assets, or any part thereof, (ii) from time to time to institute and prosecute in Seller’s name, at
the sole expense and for the benefit of Purchaser, its successors and assigns, any and all
proceedings at law, in equity or otherwise, which Purchaser, its successors and assigns, may
deem proper in order to collect, assert or enforce any claim, right or title of any kind in or to any
item of the Acquired Assets, to defend or compromise any and all actions, suits or proceedings in
respect of any item of the Acquired Assets, and to do all such acts and things in relation thereto
as Purchaser shall deem advisable, including, without limitation, for the collection or reduction
to possession of any of the Acquired Assets, (iii) endorse Seller’s name on any payment,
instrument, notice or other similar document or agreement relating to the Acquired Assets for the
period commencing with the date hereof that may come into the possession of Purchaser or
under Purchaser’s control with respect to the Acquired Assets and (iv) to collect the moneys
which become due and payable at any time on or after the date hereof under every Acquired
Asset. Seller acknowledges that the foregoing powers are coupled with an interest and shall be
irrevocable by Sellers.

        2.3.   Incorporation By Reference. The terms set forth in Section 12.3 (Amendment;
Waiver), Section 12.4 (Notices), Section 12.6 (Counterpart; Electronic Signatures), Section 12.8
(Applicable Law and Jurisdiction), Section 12.9 (Binding Nature; Assignment), Section 12.11
(No Third Party Beneficiaries), and Section 12.13 (Construction) of the Asset Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Bill of Sale.

        2.4.    Severability. Whenever possible, each provision or portion of any provision of
this Bill of Sale shall be interpreted in such manner as to be effective and valid under applicable
Law, but if any provision or portion of any provision of this Bill of Sale is held to be invalid,
illegal or unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision or portion of any
provision in such jurisdiction, and this Bill of Sale shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision
had                   never                   been                 contained                 herein.


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IN WITNESS WHEREOF, Sellers have executed this Bill of Sale to be effective as of the
                                Closing.

                                       SELLERS:


                                       Orchids Paper Products Company


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President and Chief Executive Officer


                                       Orchids Paper Products Company of South
                                       Carolina


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President


                                       Orchids Lessor SC, LLC


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President




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                       EXHIBIT B

      ASSIGNMENT AND ASSUMPTION AGREEMENT



                       [See attached]




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              FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT

        This ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”) is
executed as of [•], 2019 by and among Orchids Paper Products Company, a Delaware
corporation, Orchids Paper Products Company of South Carolina, a Delaware corporation,
Orchids Lessor SC, LLC, a South Carolina limited liability company (collectively, the
“Assignors”) and [Cascades Holding US Inc., a Delaware corporation]3 (“Assignee”). Assignors
and Assignee may be referred to herein, individually, as a “Party” and, collectively, as the
“Parties.”

       This Agreement is being delivered in connection with the Closing under the Asset
Purchase Agreement dated as of [•], 2019, by and among the Assignors, certain affiliates of the
Assignors and Assignee (as amended, the “Asset Purchase Agreement”). Capitalized terms used
but not defined in this Agreement have the meanings given such terms in the Asset Purchase
Agreement. [It is acknowledged and agreed that Purchaser is a “Designated Purchaser” as
defined in, and pursuant to, Section 12.10 of the Asset Purchase Agreement.]4

                                                   I.

                              ASSIGNMENT AND ASSUMPTION

        1.1.    Acquired Assets. In accordance with and subject to the terms of the Asset
Purchase Agreement and the Sale Order, and for the consideration set forth in the Asset Purchase
Agreement, the receipt and sufficiency of which Assignors and Assignee hereby acknowledge,
Assignors do hereby sell, transfer, assign, convey and deliver to Assignee, effective as of the
Closing, all of Assignors’ rights, titles and interests in, to and under (a) all equity interests that
any Assignor owns in the Acquired Subsidiaries, (b) the Assigned Contracts and (c) the Permits,
in each case free and clear of all Encumbrances other than Permitted Encumbrances, as provided,
respectively, in Section 2.1(a), Section 2.1(b) and Section 2.1(n) of the Asset Purchase
Agreement (other than such Acquired Assets transferred pursuant to any other Conveyance
Document).

         1.2.    Excluded Assets. Assignors do not, and in no event shall Assignors be deemed to,
sell, transfer, assign, convey or deliver, and Assignors do hereby retain, all right, title and interest
to, in and under only the Excluded Assets, as provided in Section 2.2 of the Asset Purchase
Agreement.

        1.3.   Assumed Liabilities. In accordance with and subject to the terms of the Asset
Purchase Agreement and the Sale Order, effective as of the Closing, Assignee does hereby
assume from Assignors (and from and after the Closing agrees to pay, perform, discharge or
otherwise satisfy in accordance with their respective terms or as may otherwise be agreed
between Assignee and the relevant obligee), and Assignors do hereby irrevocably convey,
transfer and assign to Assignee, the Assumed Liabilities of Assignors only, as provided in

3
  Note to Draft: A separate A&A will be needed for each Designated Purchaser. Appropriate
changes (e.g. the applicable Assignee and Assignor(s)) to be made to this form.
4
  Note to Draft: To be included as applicable.


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Section 2.3 of the Asset Purchase Agreement and other than the Assumed Liabilities that are
conveyed, transferred and assigned pursuant to another Conveyance Document.

        1.4.   Excluded Liabilities. The Parties expressly acknowledge and agree that Assignee
is not a successor to any Assignor and does not assume, and shall not be deemed to have
assumed or be liable or obligated to pay, perform or otherwise discharge or in any other manner
be liable or responsible for the Excluded Liabilities, as provided in Section 2.4 of the Asset
Purchase Agreement.

                                                II.

                                      MISCELLANEOUS

        2.1.    Asset Purchase Agreement. This Agreement is expressly made subject to the
terms of the Asset Purchase Agreement. The delivery of this Agreement shall not amend, affect,
enlarge, diminish, supersede, modify, replace, rescind, waive or otherwise impair any of the
representations, warranties, covenants, terms or provisions of the Asset Purchase Agreement or
any of the rights, remedies or obligations of Assignors or Assignee provided for therein or
arising therefrom in any way, all of which shall remain in full force and effect in accordance with
their terms. The representations, warranties, covenants, terms and provisions contained in the
Asset Purchase Agreement shall not be merged with or into this Agreement but shall survive the
execution and delivery of this Agreement to the extent, and in the manner, set forth in the Asset
Purchase Agreement. In the event of any conflict or inconsistency between the terms of the Asset
Purchase Agreement and the terms of this Agreement, the terms of the Asset Purchase
Agreement shall control.

       2.2.    Further Assurances.

                (a)     From time to time after the Closing, as and when requested by any Party
and at such requesting Party’s expense, any other Party will, and will cause its respective
Affiliates to, execute and deliver, or cause to be executed and delivered, all such documents and
instruments and will take, or cause to be taken, all such further or other actions as such
requesting party may reasonably deem necessary or desirable to evidence and effectuate the
transactions contemplated by this Agreement.

                (b)    Each Assignor hereby irrevocably designates, makes, constitutes and
appoints Assignee, its successors and permitted assigns, as Assignor’s true and lawful attorney
(and agent-in-fact), with full power of substitution, in Assignor’s name and stead, on behalf of
and for the benefit of Assignee, its successors and permitted assigns, to: (i) demand and receive
any and all of the Acquired Assets and Assumed Liabilities and to give receipts and releases for
and in respect of the Acquired Assets and Assumed Liabilities, or any part thereof, (ii) from time
to time to institute and prosecute in Assignor’s name, at the sole expense and for the benefit of
Assignee, its successors and assigns, any and all proceedings at law, in equity or otherwise,
which Assignee, its successors and assigns, may deem proper in order to collect, assert or
enforce any claim, right or title of any kind in or to any item of the Acquired Assets and
Assumed Liabilities, to defend or compromise any and all actions, suits or proceedings in respect
of any item of the Acquired Assets and Assumed Liabilities, and to do all such acts and things in


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relation thereto as Assignee shall deem advisable, including, without limitation, for the collection
or reduction to possession of any of the Acquired Assets and Assumed Liabilities, (iii) endorse
Assignor’s name on any payment, instrument, notice or other similar document or agreement
relating to the Acquired Assets and Assumed Liabilities for the period commencing with the date
hereof that may come into the possession of Assignee or under Assignee’s control with respect to
the Acquired Assets and Assumed Liabilities and (iv) to collect the moneys which become due
and payable at any time on or after the date hereof under each of the Acquired Assets and
Assumed Liabilities. Assignor acknowledges that the foregoing powers are coupled with an
interest and shall be irrevocable by Assignor.

        2.3.   Incorporation By Reference. The terms set forth in Section 12.3 (Amendment;
Waiver), Section 12.4 (Notices), Section 12.6 (Counterpart; Electronic Signatures), Section 12.8
(Applicable Law and Jurisdiction), Section 12.9 (Binding Nature; Assignment), Section 12.11
(No Third Party Beneficiaries), and Section 12.13 (Construction) of the Asset Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Agreement.

        2.4.    Severability. Whenever possible, each provision or portion of any provision of
this Agreement shall be interpreted in such manner as to be effective and valid under applicable
Law, but if any provision or portion of any provision of this Agreement is held to be invalid,
illegal or unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision or portion of any
provision in such jurisdiction, and this Agreement shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision
had never been contained herein.
                                      [Signature Pages Follow]




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     IN WITNESS WHEREOF, Assignors and Assignee have executed this Assignment and
Assumption Agreement to be effective as of the Closing.



                                      ASSIGNORS:



                                       Orchids Paper Products Company


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President and Chief Executive Officer


                                       Orchids Paper Products Company of South
                                       Carolina


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President


                                       Orchids Lessor SC, LLC


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President




               [Signature Page to Assignment and Assumption Agreement]
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                              ASSIGNEE:

                              CASCADES HOLDING US INC.


                              By: ____________________________
                              Name:
                              Title:




      [Signature Page to Assignment and Assumption Agreement]
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                        EXHIBIT C

        ASSIGNMENT AND ASSUMPTION OF LEASES



                       [See attached]




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                      FORM OF ASSIGNMENT AND ASSUMPTION OF LEASES

        This ASSIGNMENT AND ASSUMPTION OF LEASES (this “Agreement”) is executed
as of [•], 2019 by and between Orchids Paper Products Company, a Delaware corporation
(“Assignor”) and [Cascades Holding US Inc., a Delaware corporation]5 (“Assignee”). Assignor
and Assignee may be referred to herein, individually, as a “Party” and, collectively, as the
“Parties.”

       This Agreement is being delivered in connection with the Closing under the Asset
Purchase Agreement dated as of [•], 2019, by and among the Assignor and certain Affiliates of
Assignor, as Sellers, and Assignee, as Purchaser (as amended, the “Asset Purchase Agreement”).
Capitalized terms used but not defined in this Agreement have the meanings given such terms in
the Asset Purchase Agreement. [It is acknowledged and agreed that Assignee is a “Designated
Purchaser” as defined in, and pursuant to, Section 12.10 of the Asset Purchase Agreement.]6

                                                                  I.

                                        ASSIGNMENT AND ASSUMPTION

       1.1.    Acquired Assets. In accordance with and subject to the terms of the Asset
Purchase Agreement and the Sale Order, and for the consideration set forth in the Asset Purchase
Agreement, the receipt and sufficiency of which Assignor and Assignee hereby acknowledge,
Assignor does hereby sell, transfer, assign, convey and deliver to Assignee, effective as of the
Closing, all of Assignor’s right, title and interest in, to and under the Leases set forth on
Schedule 1 attached hereto (as amended, the “Assumed Leases”) and all security deposits and
other deposits delivered in connection with the Assumed Leases (collectively, the “Assumed
Property”), free and clear of all Encumbrances other than Permitted Encumbrances (as defined in
the Asset Purchase Agreement).

        1.2.   Assumed Liabilities. In accordance with and subject to the terms of the Asset
Purchase Agreement and the Sale Order, effective as of the Closing, Assignee does hereby
assume from Assignor (and from and after the Closing agrees to pay, perform, discharge or
otherwise satisfy in accordance with their respective terms or as may otherwise be agreed
between Assignee and the relevant obligee), and Assignor does hereby irrevocably convey,
transfer and assign to Assignee, the Assumed Liabilities of Assignor with respect to the Assumed
Leases, as provided in Section 2.3 of the Asset Purchase Agreement.

        1.3.    Excluded Liabilities. The Parties expressly acknowledge and agree that Assignee
is not a successor to Assignor and does not assume, and shall not be deemed to have assumed or
be liable or obligated to pay, perform or otherwise discharge or in any other manner be liable or
responsible for the Excluded Liabilities, as provided in Section 2.4 of the Asset Purchase
Agreement.




5
    Note to Draft: To be revised if Purchaser designates an Assignee.
6
    Note to Draft: To be included as applicable.


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                                                II.

                                      MISCELLANEOUS

        2.1.   Asset Purchase Agreement. This Agreement is expressly made subject to the
terms of the Asset Purchase Agreement. The delivery of this Agreement shall not amend, affect,
enlarge, diminish, supersede, modify, replace, rescind, waive or otherwise impair any of the
representations, warranties, covenants, terms or provisions of the Asset Purchase Agreement or
any of the rights, remedies or obligations of Assignor or Assignee provided for therein or arising
therefrom in any way, all of which shall remain in full force and effect in accordance with their
terms. The representations, warranties, covenants, terms and provisions contained in the Asset
Purchase Agreement shall not be merged with or into this Agreement but shall survive the
execution and delivery of this Agreement to the extent, and in the manner, set forth in the Asset
Purchase Agreement. In the event of any conflict or inconsistency between the terms of the Asset
Purchase Agreement and the terms of this Agreement, the terms of the Asset Purchase
Agreement shall control.

       2.2.    Further Assurances.

                (a)     From time to time after the Closing, as and when requested by any Party
and at such requesting Party’s expense, any other Party will, and will cause its respective
Affiliates to, execute and deliver, or cause to be executed and delivered, all such documents and
instruments and will take, or cause to be taken, all such further or other actions as such
requesting party may reasonably deem necessary or desirable to evidence and effectuate the
transactions contemplated by this Agreement.

                (b)     Assignor hereby irrevocably designates, makes, constitutes and appoints
Assignee, its successors and permitted assigns, as Assignor’s true and lawful attorney (and
agent-in-fact), with full power of substitution, in Assignor’s name and stead, on behalf of and for
the benefit of Assignee, its successors and permitted assigns, to: (i) demand and receive any and
all of the Assumed Property and Assumed Liabilities and to give receipts and releases for and in
respect of the Assumed Property and Assumed Liabilities, or any part thereof, (ii) from time to
time to institute and prosecute in Assignor’s name, at the sole expense and for the benefit of
Assignee, its successors and assigns, any and all proceedings at law, in equity or otherwise,
which Assignee, its successors and assigns, may deem proper in order to collect, assert or
enforce any claim, right or title of any kind in or to any item of the Assumed Property and
Assumed Liabilities, to defend or compromise any and all actions, suits or proceedings in respect
of any Assumed Property and Assumed Liabilities, and to do all such acts and things in relation
thereto as Assignee shall deem advisable, including, without limitation, for the collection or
reduction to possession of any of the Assumed Property and Assumed Liabilities, (iii) endorse
Assignor’s name on any payment, instrument, notice or other similar document or agreement
relating to the Assumed Property and Assumed Liabilities for the period commencing with the
date hereof that may come into the possession of Assignee or under Assignee’s control with
respect to the Assumed Property and Assumed Liabilities and (iv) to collect the moneys which
become due and payable at any time on or after the date hereof under each of the Assumed
Property and Assumed Liabilities. Assignor acknowledges that the foregoing powers are coupled
with an interest and shall be irrevocable by Assignor.


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        2.3.   Incorporation By Reference. The terms set forth in Section 12.3 (Amendment;
Waiver), Section 12.4 (Notices), Section 12.6 (Counterpart; Electronic Signatures), Section 12.8
(Applicable Law and Jurisdiction), Section 12.9 (Binding Nature; Assignment), Section 12.11
(No Third Party Beneficiaries), and Section 12.13 (Construction) of the Asset Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Agreement.

        2.4.    Severability. Whenever possible, each provision or portion of any provision of
this Agreement shall be interpreted in such manner as to be effective and valid under applicable
Law, but if any provision or portion of any provision of this Agreement is held to be invalid,
illegal or unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision or portion of any
provision in such jurisdiction, and this Agreement shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision
had never been contained herein.
                                      [Signature Pages Follow]




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     IN WITNESS WHEREOF, Assignor and Assignee have executed this Assignment and
Assumption Agreement to be effective as of the Closing.



                                      ASSIGNOR:



                                       Orchids Paper Products Company


                                       __________________________________________


                                       By: Jeffrey S. Schoen
                                       Its: President and Chief Executive Officer




               [Signature Page to Assignment and Assumption Agreement]
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                          ASSIGNEE:

                          CASCADES HOLDING US INC.


                          By: ____________________________
                          Name:
                          Title:
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                    Schedule 1
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                        EXHIBIT D

      IP ASSIGNMENT AND ASSUMPTION AGREEMENT



                       [See attached]




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    INTELLECTUAL PROPERTY ASSIGNMENT AND ASSUMPTION AGREEMENT

        This INTELLECTUAL PROPERTY ASSIGNMENT AND ASSUMPTION
AGREEMENT (this “Agreement”) is executed as of [•], 2019 by and among Orchids Paper
Products Company, a Delaware corporation, Orchids Paper Products Company of South
Carolina, a Delaware corporation, Orchids Lessor SC, LLC, a South Carolina limited liability
company (collectively, the “Assignors”) and [Cascades Holding US Inc., a Delaware
corporation]7 (“Assignee”). Assignors and Assignee may be referred to herein, individually, as a
“Party” and, collectively, as the “Parties.” Capitalized terms used but not defined in this
Agreement have the meanings given such terms in the Asset Purchase Agreement. [It is
acknowledged and agreed that Purchaser is a “Designated Purchaser” as defined in, and pursuant
to, Section 12.10 of the Asset Purchase Agreement.]8

       WHEREAS, Assignors, certain affiliates of Assignors and Assignee have entered into
the Asset Purchase Agreement dated as of [•], 2019 (as amended, the “Asset Purchase
Agreement”), which sets forth, among other things, the terms of the sale, conveyance,
assignment, transfer and delivery from Assignors to Assignee of the Acquired Assets, and
assignment and delegation from Assignors to Assignee of all of the Assumed Liabilities;

       WHEREAS, the Acquired Assets includes all of the Intellectual Property owned or
purported to be owned by Assignors, including without limitation, the Purchased Intellectual
Property (the “Acquired Intellectual Property”); and

      WHEREAS, in connection with the transactions contemplated by the Asset Purchase
Agreement, Assignors have agreed to sell, assign, transfer and convey to Assignee all of
Assignors’ right, title, and interest in and to all the Acquired Intellectual Property.

       NOW, THEREFORE, in consideration of the premises and the covenants and
agreements herein contained, and intending to be legally bound, the Parties hereby agree as
follows:

                                                              I.

                                     ASSIGNMENT AND ASSUMPTION

       1.1.    Conveyance. In accordance with and subject to the terms of the Asset Purchase
Agreement and the Sale Order, and for the consideration set forth in the Asset Purchase
Agreement, the receipt and sufficiency of which Assignors and Assignee hereby acknowledge,
Assignors do hereby sell, transfer, assign, convey and deliver to Assignee, effective as of the
Closing, all of Assignors’ rights, titles and interests in, to and under the Acquired Intellectual
Property, free and clear of all Encumbrances other than Permitted Encumbrances (as defined in
the Asset Purchase Agreement relating to the conveyance of Acquired Assets), as provided in
Section 2.1(p) of the Asset Purchase Agreement.


7
  Note to Draft: A separate A&A will be needed for each Designated Purchaser. Appropriate changes (e.g. the applicable
Assignee and Assignor(s)) to be made to this form.
8
  Note to Draft: To be included as applicable.

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       1.2.  Assumption. In accordance with and subject to the provisions of the Asset
Purchase Agreement and this Agreement, Assignee hereby accepts the sale, assignment, transfer,
conveyance and delivery of the right, title and interest in, to and under the Acquired Intellectual
Property.

        1.3.   Recordation. The Parties agree to reasonably cooperate with each other with
respect to preparing instruments to record Assignee as the owner of the Acquired Intellectual
Property in the United States Patent and Trademark Office and any other applicable foreign
Governmental Body or registrar, in each case in form and substance reasonably acceptable to the
Parties and in accordance with the applicable Laws of the jurisdiction to which such instrument
pertains.

         1.4.    Excluded Assets. Assignors do not, and in no event shall Assignors be deemed to,
sell, transfer, assign, convey or deliver, and Assignors do hereby retain, all right, title and interest
to, in and under only the Excluded Assets, as provided in Section 2.2 of the Asset Purchase
Agreement.

        1.5.    Further Assurances. At any time or from time to time after the Effective Date, the
Assignors shall, at the request of the Assignee, and without further expense to the Assignee:
(i) execute and deliver any further instruments or documents of conveyance and transfer
(including powers of attorney) as the Assignee may reasonably request in order to evidence or
perfect the consummation of the transactions contemplated by this Agreement and (ii) commit
efforts to consummate the sale, conveyance, assignment and transfer of the Acquired Intellectual
Property to the Assignee, including, without limitation, securing any necessary consents from
third parties required for the transfer contemplated by this Agreement.

        1.6.   Incorporation By Reference. The terms set forth in Section 12.3 (Amendment;
Waiver), Section 12.4 (Notices), Section 12.6 (Counterpart; Electronic Signatures), Section 12.8
(Applicable Law and Jurisdiction), Section 12.9 (Binding Nature; Assignment), Section 12.11
(No Third Party Beneficiaries), and Section 12.13 (Construction) of the Asset Purchase
Agreement are incorporated by reference herein, except that, as applicable, any and all references
to “this Agreement” shall mean and refer to this Agreement.

        1.7.    Severability. Whenever possible, each provision or portion of any provision of
this Agreement shall be interpreted in such manner as to be effective and valid under applicable
Law, but if any provision or portion of any provision of this Agreement is held to be invalid,
illegal or unenforceable in any respect under any applicable Law or rule in any jurisdiction, such
invalidity, illegality or unenforceability shall not affect any other provision or portion of any
provision in such jurisdiction, and this Agreement shall be reformed, construed and enforced in
such jurisdiction as if such invalid, illegal or unenforceable provision or portion of any provision
had never been contained herein.


                                      [Signature Pages Follow]




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       IN WITNESS WHEREOF, Assignors and Assignee have executed this Intellectual
Property Assignment and Assumption Agreement to be effective as of the Closing.



                                       ASSIGNORS:



                                        Orchids Paper Products Company


                                        __________________________________________


                                        By: Jeffrey S. Schoen
                                        Its: President and Chief Executive Officer


                                        Orchids Paper Products Company of South
                                        Carolina


                                        __________________________________________


                                        By: Jeffrey S. Schoen
                                        Its: President


                                        Orchids Lessor SC, LLC


                                        __________________________________________


                                        By: Jeffrey S. Schoen
                                        Its: President




                [Signature Page to Assignment and Assumption Agreement]
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                              ASSIGNEE:

                              CASCADES HOLDING US INC.


                              By: ____________________________
                              Name:
                              Title:




      [Signature Page to Assignment and Assumption Agreement]
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                           EXHIBIT E

                    FORM OF SALE ORDER



                    [Revised Sale Order to Come]
